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                                 EXHIBIT A
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                                                                            Twenty-Fifth Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
1 MARCANO MARTINEZ,             04/30/18   Commonwealth of Puerto          9689                $ 125,000.00 MARCANO MARTINEZ,       04/30/18   Commonwealth of Puerto    9808           $ 125,000.00
  ROBERTO                                  Rico                                                             ROBERTO                            Rico
  DIAZ ESPINOSA, JOSE                      17 BK 03283-LTS                                                  DIAZ ESPINOSA, JOSE                17 BK 03283-LTS
  PO BOX 3612                                                                                               PO BOX 3612
  JUNCOS, PR 00777-3612                                                                                     JUNCOS, PR 00777-3612

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 MARIBEL GONZALEZ              04/27/18   Commonwealth of Puerto          7265               $ 150,000.00* MARIBEL GONZALEZ        04/27/18   Commonwealth of Puerto    8720          $ 150,000.00*
  FONTANEZ Y OTROS                         Rico                                                             FONTANEZ Y OTROS                   Rico
  APARTADO 21400                           17 BK 03283-LTS                                                  APARTADO 21400                     17 BK 03283-LTS
  SAN JUAN, PR 00928                                                                                        SAN JUAN, PR 00928

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 MARIN RAMOS, JOSE M.          06/20/18   Commonwealth of Puerto         44771              Undetermined* MARIN RAMOS, JOSE M.     06/20/18   Commonwealth of Puerto    45109        Undetermined*
  URB JESUS M. LAGO                        Rico                                                            URB. JESUS M. LAGO E-               Rico
  E-16                                     17 BK 03283-LTS                                                 16                                  17 BK 03283-LTS
  UTUADO, PR 00641                                                                                         UTUADO, PR 00641

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 MARIN RIOS, LIZETTE           07/05/18   Commonwealth of Puerto         149589             Undetermined* MARIN RIOS, LIZETTE      07/05/18   Commonwealth of Puerto    155090       Undetermined*
  63 CALLE BILBAO                          Rico                                                            JARD. DE BORINQUEN                  Rico
  JARD DE BORINQUEN                        17 BK 03283-LTS                                                 63 CALLE BILBAO                     17 BK 03283-LTS
  AGUADILLA, PR 00603-                                                                                     AGUADILLA, PR 00603
  5674

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 MARQUEZ LOZADA,               05/24/18   Commonwealth of Puerto         28577                 $ 49,848.68 MARQUEZ LOZADA,         05/24/18   Commonwealth of Puerto    32825           $ 49,848.68
  FRANCISCO                                Rico                                                             FRANCISCO                          Rico
  80 CALLE LAUREL, LAS                     17 BK 03283-LTS                                                  80 CALLE LAUREL, LAS               17 BK 03283-LTS
  CAMPINAS III                                                                                              CAMPINAS III
  LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 1 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
6 MARQUEZ SANTOS,                05/24/18   Commonwealth of Puerto         25282              Undetermined* MARQUEZ SANTOS,        05/24/18   Commonwealth of Puerto    28455        Undetermined*
  MARIBEL                                   Rico                                                            MARIBEL                           Rico
  HC 01 BOX 7637                            17 BK 03283-LTS                                                 HC-01 BOX 7637                    17 BK 03283-LTS
  AGUAS BUENAS, PR                                                                                          AGUAS BUENAS, PR
  00703                                                                                                     00703

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
7 MARRERO CARO, JOSE             06/28/18   Commonwealth of Puerto         60849              Undetermined* MARRERO CARO, JOSE     06/28/18   Commonwealth of Puerto    59652        Undetermined*
  A.                                        Rico                                                            A.                                Rico
  P.O.BOX 1653                              17 BK 03283-LTS                                                 P.O. BOX 1653                     17 BK 03283-LTS
  AGUADA, PR 00602                                                                                          AGUADA, PR 00602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 MARRERO CARO, JOSÉ             06/28/18   Commonwealth of Puerto         70363              Undetermined* MARRERO CARO, JOSÉ     06/28/18   Commonwealth of Puerto    71597        Undetermined*
  A.                                        Rico                                                            A.                                Rico
  P.O. BOX 1653                             17 BK 03283-LTS                                                 P.O. BOX 1653                     17 BK 03283-LTS
  AGUADA, PR 00602                                                                                          AGUADA, PR 00602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 MARRERO DEYA,                  02/02/18   Commonwealth of Puerto           428               $ 105,706.83* MARRERO DEYA,         02/02/18   Commonwealth of Puerto     430          $ 105,706.83*
  NAYDA I.                                  Rico                                                             NAYDA I.                         Rico
  URB. VALLE VERDE                          17 BK 03283-LTS                                                  URB. VALLE VERDE                 17 BK 03283-LTS
  AQ-64                                                                                                      AQ-64
  CALLE RIO PORTUGUES                                                                                        CALLE RIO PORTUGUES
  BAYAMON, PR 00961                                                                                          BAYAMON, PR 00961

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 MARRERO OTERO,                04/27/18   Commonwealth of Puerto          9115              Undetermined* MARRERO OTERO,         05/14/18   Commonwealth of Puerto    14730        Undetermined*
   ALEXIS                                   Rico                                                            ALEXIS                            Rico
   HC 7 BOX 21142                           17 BK 03283-LTS                                                 HC 7 BOX 21142                    17 BK 03283-LTS
   MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 2 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
11 MARRERO RAMOS,                06/28/18   Commonwealth of Puerto         63018              Undetermined* MARRERO RAMOS,        06/28/18   Commonwealth of Puerto    73307        Undetermined*
   JUAN J                                   Rico                                                            JUAN J                           Rico
   URB CIUDAD REAL                          17 BK 03283-LTS                                                 URBANIZACIÓN                     17 BK 03283-LTS
   CALLE ALORA 313                                                                                          CIUDAD REAL
   VEGA BAJA, PR 00693                                                                                      CALLE ALORA 313
                                                                                                            VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
12 MARRERO REYES,                06/06/18   Commonwealth of Puerto         49139              Undetermined* MARRERO REYES,        06/06/18   Commonwealth of Puerto    56110        Undetermined*
   ESTEBAN                                  Rico                                                            ESTEBAN                          Rico
   VILLA EL SALVADOR                        17 BK 03283-LTS                                                 A-17 CALLE 1                     17 BK 03283-LTS
   A17 CALLE 1                                                                                              VILLA EL SALVADOR
   SAN JUAN, PR 00921                                                                                       SAN JUAN, PR 00921

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
13 MARRERO REYES,                06/06/18   Commonwealth of Puerto         49140              Undetermined* MARRERO REYES,        06/06/18   Commonwealth of Puerto    56110        Undetermined*
   ESTEBAN                                  Rico                                                            ESTEBAN                          Rico
   VILLA EL SALVADOR                        17 BK 03283-LTS                                                 A-17 CALLE 1                     17 BK 03283-LTS
   A17 CALLE 1                                                                                              VILLA EL SALVADOR
   SAN JUAN, PR 00921                                                                                       SAN JUAN, PR 00921

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 MARTA T BATIZ                 06/29/18   Commonwealth of Puerto         60782                $ 75,000.00* MARTA T BATIZ        06/29/18   Commonwealth of Puerto    68673          $ 75,000.00*
   GRILLASCA                                Rico                                                             GRILLASCA                       Rico
   PO BOX 1024                              17 BK 03283-LTS                                                  PO BOX 1024                     17 BK 03283-LTS
   ADJUNTAS, PR 00601                                                                                        ADJUNTAS, PR 00601

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 MARTA T BATIZ                 06/29/18   Commonwealth of Puerto         68662                $ 75,000.00* MARTA T BATIZ        06/29/18   Commonwealth of Puerto    68673          $ 75,000.00*
   GRILLASCA                                Rico                                                             GRILLASCA                       Rico
   PO BOX 1024                              17 BK 03283-LTS                                                  PO BOX 1024                     17 BK 03283-LTS
   ADJUNTAS, PR 00601                                                                                        ADJUNTAS, PR 00601

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
16 MARTI GONZALEZ,               06/29/18   Commonwealth of Puerto         104702             Undetermined* MARTI GONZALEZ,       06/29/18   Commonwealth of Puerto    127695       Undetermined*
   EVELYN                                   Rico                                                            EVELYN                           Rico
   P.O. BOX 9075                            17 BK 03283-LTS                                                 PO BOX 9075                      17 BK 03283-LTS
   BAYAMON, PR 00960                                                                                        BAYAMON, PR 00960

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 3 of 95
                                      Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                              Desc:
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
17 MARTINEZ ACEVEDO,             07/06/18   Commonwealth of Puerto         121723             Undetermined* MARTINEZ ACEVEDO,        07/06/18   Commonwealth of Puerto    153548       Undetermined*
   MADELIN                                  Rico                                                            MADELIN                             Rico
   HC-02 BOX 6892                           17 BK 03283-LTS                                                 HC 2 BOX 6892                       17 BK 03283-LTS
   LARES, PR 00669                                                                                          LARES, PR 00669

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
18 MARTINEZ ACEVEDO,             07/06/18   Commonwealth of Puerto         148863             Undetermined* MARTINEZ ACEVEDO,        07/06/18   Commonwealth of Puerto    153548       Undetermined*
   MADELIN                                  Rico                                                            MADELIN                             Rico
   HC 2 BOX 6892                            17 BK 03283-LTS                                                 HC 2 BOX 6892                       17 BK 03283-LTS
   LARES, PR 00669                                                                                          LARES, PR 00669

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
19 MARTINEZ ARROYO,              06/26/18   Commonwealth of Puerto         71663              Undetermined* MARTINEZ ARROYO,         06/26/18   Commonwealth of Puerto    98346        Undetermined*
   ANA LILLIAN                              Rico                                                            ANA LILLIAN                         Rico
   URB. SAN JOSE                            17 BK 03283-LTS                                                 URB. SAN JOSE                       17 BK 03283-LTS
   1130 CALLE YUNQUE                                                                                        1130 CALLE YUNQUE
   PONCE, PR 00728-1963                                                                                     PONCE, PR 00728-1963

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 MARTINEZ ARROYO,              06/26/18   Commonwealth of Puerto         94552              Undetermined* MARTINEZ ARROYO,         06/26/18   Commonwealth of Puerto    98261        Undetermined*
   ANA LILLIAN                              Rico                                                            ANA LILLIAN                         Rico
   URB. SAN JOSE                            17 BK 03283-LTS                                                 URB. SAN JOSE                       17 BK 03283-LTS
   1130 CALLE YUNQUE                                                                                        1130 CALLE YUNQUE
   PONCE, PR 00728-1963                                                                                     PONCE, PR 00728-1963

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
21 MARTINEZ AYALA,               06/27/18   Commonwealth of Puerto         55448              Undetermined* MARTINEZ AYALA,          06/30/18   Commonwealth of Puerto    110911       Undetermined*
   NILDA                                    Rico                                                            NILDA                               Rico
   BLQ.193 #21 526 STREET                   17 BK 03283-LTS                                                 BLQ.193 #21 526 STREET              17 BK 03283-LTS
   VILLA CAROLINA                                                                                           VILLA CAROLINA
   CAROLINA, PR 00985-                                                                                      CAROLINA, PR 00985-
   3103                                                                                                     3103

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 MARTINEZ BAEZ,                06/29/18   Commonwealth of Puerto         77175              Undetermined* MARTINEZ BAEZ,           06/29/18   Commonwealth of Puerto    80017        Undetermined*
   HERIBERTO                                Rico                                                            HERIBERTO                           Rico
   PO BOX 98                                17 BK 03283-LTS                                                 PO BOX 98                           17 BK 03283-LTS
   ARROYO, PR 00714                                                                                         ARROYO, PR 00714

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 4 of 95
                                      Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                              Desc:
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
23 MARTINEZ BENEJAN,             05/09/18   Commonwealth of Puerto         12760              Undetermined* MARTINEZ BENEJAN,        05/11/18   Commonwealth of Puerto    12636        Undetermined*
   JOSE L                                   Rico                                                            JOSE L                              Rico
   PO BOX 2400                              17 BK 03283-LTS                                                 500 ROBERTO H.TODD                  17 BK 03283-LTS
   ANASCO, PR 00610                                                                                         P.O.BOX 8000
                                                                                                            SANTURCE, PR 00910

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
24 MARTINEZ CLAUDIO,             06/22/18   Commonwealth of Puerto         85050              Undetermined* MARTINEZ CLAUDIO,        06/22/18   Commonwealth of Puerto    88617        Undetermined*
   ABRAHAM                                  Rico                                                            ABRAHAM                             Rico
   URB. STGO. APOSTOL                       17 BK 03283-LTS                                                 URB. STGO. APOSTOL                  17 BK 03283-LTS
   CALLE I-A-12 BOX 445                                                                                     CALLE I
   SANTA ISABEL, PR 00757                                                                                   A-12 BOX 445
                                                                                                            SANTA ISABEL, PR 00757

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
25 MARTINEZ CLAUDIO,             05/08/18   Commonwealth of Puerto         11490                $ 81,762.78* MARTINEZ CLAUDIO,       05/08/18   Commonwealth of Puerto    12371          $ 81,762.78*
   MARTHA                                   Rico                                                             MARTHA                             Rico
   MANSIONES DE CUIDAD                      17 BK 03283-LTS                                                  MANSIONES DE CUIDAD                17 BK 03283-LTS
   JARDIN                                                                                                    JARDIN
   426 CALLE LERIDA                                                                                          426 CALLE LERICA
   CAGUAS, PR 00727-1418                                                                                     CAGUAS, PR 00727-1418

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
26 MARTINEZ CORDERO,             06/29/18   Commonwealth of Puerto         132193             Undetermined* MARTINEZ CORDERO,        06/29/18   Commonwealth of Puerto    151561       Undetermined*
   IRIS D.                                  Rico                                                            IRIS D.                             Rico
   BOX 691                                  17 BK 03283-LTS                                                 BOX 691                             17 BK 03283-LTS
   VEGA BAJA, PR 00694                                                                                      VEGA BAJA, PR 00694

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
27 MARTINEZ DEL MORAL,           05/25/18   Commonwealth of Puerto         16273              Undetermined* MARTINEZ DEL MORAL,      05/25/18   Commonwealth of Puerto    20504        Undetermined*
   MILAGROS                                 Rico                                                            MILAGROS                            Rico
   PO BOX 8187                              17 BK 03283-LTS                                                 PO BOX 8187                         17 BK 03283-LTS
   HUMACAO, PR 00792-                                                                                       HUMACAO, PR 00792
   8187

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 5 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
28 MARTINEZ FELICIANO,           06/28/18   Commonwealth of Puerto         138957             Undetermined* MARTINEZ FELICIANO,     06/28/18   Commonwealth of Puerto    156884       Undetermined*
   DIONICIO                                 Rico                                                            DIONICIO                           Rico
   HC02 BOX 6244                            17 BK 03283-LTS                                                 HC 02 BOX 6244                     17 BK 03283-LTS
   GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
29 MARTINEZ FELICIANO,           05/02/18   Commonwealth of Puerto         10115              Undetermined* MARTINEZ FELICIANO,     05/02/18   Commonwealth of Puerto    10131        Undetermined*
   MARISEL                                  Rico                                                            MARISEL                            Rico
   BDA NICOLIN PEREZ                        17 BK 03283-LTS                                                 BDA. NICOLIN PEREZ #5              17 BK 03283-LTS
   5 CALLE 13                                                                                               CALLE BERNARDINO
   LAJAS, PR 00667                                                                                          FELICIANO
                                                                                                            LAJAS, PR 00667

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
30 MARTINEZ GONZALEZ,            06/28/18   Commonwealth of Puerto         69529              Undetermined* MARTINEZ GONZALEZ,      06/28/18   Commonwealth of Puerto    70981        Undetermined*
   ADA L                                    Rico                                                            ADA L                              Rico
   PO BOX 890                               17 BK 03283-LTS                                                 PO BOX 890                         17 BK 03283-LTS
   YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
31 MARTINEZ GONZALEZ,            06/28/18   Commonwealth of Puerto         70413              Undetermined* MARTINEZ GONZALEZ,      06/28/18   Commonwealth of Puerto    72427        Undetermined*
   ADA L.                                   Rico                                                            ADA L.                             Rico
   PO BOX 890                               17 BK 03283-LTS                                                 PO BOX 890                         17 BK 03283-LTS
   YABUCOA, PR 00767                                                                                        YABUCOA, PR 00927

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
32 MARTINEZ GONZALEZ,            05/25/18   Commonwealth of Puerto         27790                 $ 49,305.79 MARTINEZ GONZALEZ,     05/25/18   Commonwealth of Puerto    47349           $ 49,305.79
   ELSA                                     Rico                                                             ELSA                              Rico
   VALLE HERMOSO                            17 BK 03283-LTS                                                  SU 68 VALLE HERMOSO               17 BK 03283-LTS
   SU-68                                                                                                     HORMIGUEROS, PR
   HORMIGUEROS, PR                                                                                           00660
   00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 6 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
33 MARTINEZ                      06/27/18   Commonwealth of Puerto         47742                   $ 2,150.00 MARTINEZ               06/29/18   Commonwealth of Puerto    103006           $ 2,150.00
   HERNANDEZ,                               Rico                                                              HERNANDEZ,                        Rico
   ANDERSON                                 17 BK 03283-LTS                                                   ANDERSON                          17 BK 03283-LTS
   126 CALLE ANGELITO                                                                                         126 CALLE ANGELITO
   NIEVES                                                                                                     NIEVES
   AGUADILLA, PR 00603-                                                                                       AGUADILLA, PR 00603-
   5918                                                                                                       5918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
34 MARTINEZ MARTINEZ,            07/06/18   Commonwealth of Puerto         146886             Undetermined* MARTINEZ MARTINEZ,       07/06/18   Commonwealth of Puerto    160062       Undetermined*
   ZAIRY                                    Rico                                                            ZAIRY                               Rico
   HC-01 BOX 3026                           17 BK 03283-LTS                                                 HC01 BOX 3026                       17 BK 03283-LTS
   MAUNABO, PR 00707                                                                                        MAUNABO, PR 00707

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
35 MARTINEZ MENDOZA,             06/29/18   Commonwealth of Puerto         103839                $ 5,000.00* MARTINEZ MENDOZA,       06/29/18   Commonwealth of Puerto    132459          $ 5,000.00*
   MIRIAM                                   Rico                                                             MIRIAM                             Rico
   P.O. BOX 1630                            17 BK 03283-LTS                                                  P.O. BOX 1630                      17 BK 03283-LTS
   B40 CALLE 10                                                                                              B40 CALLE 10
   URB. BRISAS DE                                                                                            URB. BRISAS DE
   ANASCO                                                                                                    ANASCO
   ANASCO, PR 00610                                                                                          ANASCO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
36 MARTINEZ MIRABAL,             05/08/18   Commonwealth of Puerto         12482              Undetermined* MARTINEZ MIRABAL,        05/08/18   Commonwealth of Puerto    12490        Undetermined*
   BEXAIDA                                  Rico                                                            BEXAIDA                             Rico
   HACIENDA LA MATILDE                      17 BK 03283-LTS                                                 HACIENDA LA MATILDE                 17 BK 03283-LTS
   5315 CALLE BAGAZO                                                                                        CALLE BAGAZO 5315
   PONCE, PR 00728-2437                                                                                     PONCE, PR 00728

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
37 MARTINEZ MIRABAL,             05/08/18   Commonwealth of Puerto         12486              Undetermined* MARTINEZ MIRABAL,        05/08/18   Commonwealth of Puerto    12490        Undetermined*
   BEXAIDA                                  Rico                                                            BEXAIDA                             Rico
   URB HACIENDA LA                          17 BK 03283-LTS                                                 HACIENDA LA MATILDE                 17 BK 03283-LTS
   MATILDE                                                                                                  CALLE BAGAZO 5315
   5315 CALLE BAGOZO                                                                                        PONCE, PR 00728
   PONCE, PR 00728-2437

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 7 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
38 MARTINEZ MIRALBAL,            05/08/18   Commonwealth of Puerto         12346              Undetermined* MARTINEZ MIRALBAL,      05/08/18   Commonwealth of Puerto    12488        Undetermined*
   BEXAIDA                                  Rico                                                            BEXAIDA                            Rico
   URB HACIENDA LA                          17 BK 03283-LTS                                                 URB HACIENDA LA                    17 BK 03283-LTS
   MATILDE                                                                                                  MATILDE
   5315 CALLE BAGAZO                                                                                        5315 CALLE BAGAZO
   PONCE, PR 00728-2437                                                                                     PONCE, PR 00728-2437

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
39 MARTINEZ RIVERA,              06/28/18   Commonwealth of Puerto         124967             Undetermined* MARTINEZ RIVERA,        06/28/18   Commonwealth of Puerto    127047       Undetermined*
   GLORIA MA                                Rico                                                            GLORIA MA                          Rico
   BDA OLIMPO                               17 BK 03283-LTS                                                 BDA OLIMPO                         17 BK 03283-LTS
   67 CALLE 1                                                                                               67 CALLE 1
   GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
40 MARTINEZ RIVERA,              06/29/18   Commonwealth of Puerto         143097                  $ 4,200.00 MARTINEZ RIVERA,      06/29/18   Commonwealth of Puerto    151245           $ 4,200.00
   SANDRA                                   Rico                                                              SANDRA                           Rico
   CALLE 100 BUZON 51                       17 BK 03283-LTS                                                   CALLE 100 BUZON 51               17 BK 03283-LTS
   PUEBLO NUEVO                                                                                               PUEBLO NUEVO
   VEGA BAJA, PR 00693                                                                                        VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
41 MARTINEZ RODRIGUEZ,           05/18/18   Commonwealth of Puerto         16137                 $ 43,486.42 MARTINEZ RODRIGUEZ,    05/18/18   Commonwealth of Puerto    16607           $ 43,486.42
   ELIZABETH                                Rico                                                             ELIZABETH                         Rico
   38 CALLE VENEZUELA                       17 BK 03283-LTS                                                  CALLE VENEZUELA NO.               17 BK 03283-LTS
   VEGA BAJA, PR 00693                                                                                       38
                                                                                                             VISTA VERDE
                                                                                                             VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
42 MARTINEZ SALCEDO,             06/06/18   Commonwealth of Puerto         49019              Undetermined* MARTINEZ SALCEDO,       06/06/18   Commonwealth of Puerto    49030        Undetermined*
   ANA C                                    Rico                                                            ANA C                              Rico
   DAGUAO                                   17 BK 03283-LTS                                                 DAGUAO                             17 BK 03283-LTS
   BUZON 544                                                                                                BUZON 544
   NAGUABO, PR 00718                                                                                        NAGUABO, PR 00718

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 8 of 95
                                      Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                             Desc:
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
43 MARTINEZ SANCHEZ,             07/06/18   Commonwealth of Puerto         98431                 $ 18,000.00 MARTINEZ SANCHEZ,      07/06/18   Commonwealth of Puerto    153589          $ 18,000.00
   MILAGROS                                 Rico                                                             MILAGROS                          Rico
   134 CONCEPCION                           17 BK 03283-LTS                                                  134 CONCEPCION                    17 BK 03283-LTS
   GRACIA                                                                                                    GRACIA
   MAYAGÜEZ, PR 00680                                                                                        MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
44 MARTINEZ SANCHEZ,             07/06/18   Commonwealth of Puerto         133037                $ 15,600.00 MARTINEZ SANCHEZ,      07/06/18   Commonwealth of Puerto    139930          $ 15,600.00
   MILAGROS                                 Rico                                                             MILAGROS                          Rico
   134 CONCEPCION                           17 BK 03283-LTS                                                  134 CONCEPCION                    17 BK 03283-LTS
   GRACIA                                                                                                    GRACIA
   MAYAGUEZ, PR 00680                                                                                        MAYAGÜEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
45 MARTINEZ SANCHEZ,             07/06/18   Commonwealth of Puerto         136790                $ 13,200.00 MARTINEZ SANCHEZ,      07/06/18   Commonwealth of Puerto    161133          $ 13,200.00
   MILAGROS                                 Rico                                                             MILAGROS                          Rico
   134 CONCEPCION                           17 BK 03283-LTS                                                  134 CONCEPCION                    17 BK 03283-LTS
   GRACIA                                                                                                    GRACIA
   MAYAGUEZ, PR 00680                                                                                        MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
46 MARTINEZ SANTANA,             05/25/18   Commonwealth of Puerto         17285              Undetermined* MARTINEZ SANTANA,       05/25/18   Commonwealth of Puerto    21415        Undetermined*
   ANA                                      Rico                                                            ANA                                Rico
   HC-04 BOX 4421                           17 BK 03283-LTS                                                 HC 04 BOX 4421                     17 BK 03283-LTS
   LAS PIEDRAS, PR 00771                                                                                    LAS PIEDRAS, PR 00771

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
47 MARTINEZ SANTOS,              06/26/18   Commonwealth of Puerto         40090              Undetermined* MARTINEZ SANTOS,        06/27/18   Commonwealth of Puerto    101597       Undetermined*
   EVELYN                                   Rico                                                            EVELYN                             Rico
   P.O. BOX 2131                            17 BK 03283-LTS                                                 PO BOX 2131                        17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
48 MARTINEZ SANTOS,              06/25/18   Commonwealth of Puerto         49357              Undetermined* MARTINEZ SANTOS,        06/27/18   Commonwealth of Puerto    105670       Undetermined*
   EVELYN                                   Rico                                                            EVELYN                             Rico
   PO BOX 2131                              17 BK 03283-LTS                                                 PO BOX 2131                        17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 9 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
49 MARTINEZ SANTOS,              06/26/18   Commonwealth of Puerto         52249              Undetermined* MARTINEZ SANTOS,         06/27/18   Commonwealth of Puerto    103587       Undetermined*
   EVELYN                                   Rico                                                            EVELYN                              Rico
   PO BOX 2131                              17 BK 03283-LTS                                                 P.O. BOX 2131                       17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
50 MARTINEZ TORRES,              06/11/18   Commonwealth of Puerto         82792                $ 100,000.00 MARTINEZ TORRES,        08/16/18   Commonwealth of Puerto    152451        $ 100,000.00*
   CARMEN                                   Rico                                                             CARMEN                             Rico
   609 AU. TITO CASTRO                      17 BK 03283-LTS                                                  609 AV.TITO CASTO PMB              17 BK 03283-LTS
   PMB 433                                                                                                   433 SUIT 102
   SUIT 102                                                                                                  PONCE, PR 00716
   PONCE, PR 00716

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
51 MARTINEZ TORRES,              06/29/18   Commonwealth of Puerto         66665              Undetermined* MARTINEZ TORRES,         06/29/18   Commonwealth of Puerto    83086        Undetermined*
   ELSA D.                                  Rico                                                            ELSA D.                             Rico
   PO BOX 1077                              17 BK 03283-LTS                                                 PO BOX 1077                         17 BK 03283-LTS
   GURABO, PR 00778-1077                                                                                    GURABO, PR 00778-1077

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
52 MARTINEZ TORRES,              06/29/18   Commonwealth of Puerto         80134              Undetermined* MARTINEZ TORRES,         06/29/18   Commonwealth of Puerto    85367        Undetermined*
   ELSA D.                                  Rico                                                            ELSA D.                             Rico
   DIANI I. RIVERA                          17 BK 03283-LTS                                                 PO BOX 1077                         17 BK 03283-LTS
   MARTINEZ                                                                                                 GURABO, PR 00778
   PO BOX 731
   HUMACAO, PR 00792-
   0731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
53 MARTINEZ TORRES,              06/29/18   Commonwealth of Puerto         81284              Undetermined* MARTINEZ TORRES,         06/29/18   Commonwealth of Puerto    85349        Undetermined*
   ELSA D.                                  Rico                                                            ELSA D.                             Rico
   PO BOX 731                               17 BK 03283-LTS                                                 PO BOX 1077                         17 BK 03283-LTS
   HUMACAO, PR 00792-                                                                                       GURABO, PR 00778-1077
   0731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 10 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
54 MARTINEZ VALIENTE,            04/26/18   Commonwealth of Puerto          9002              Undetermined* MARTINEZ VALIENTE,        04/26/18   Commonwealth of Puerto    9006         Undetermined*
   MERCEDES                                 Rico                                                            MERCEDES                             Rico
   COND ASHFORD APT 10                      17 BK 03283-LTS                                                 890 COND ASHFORD                     17 BK 03283-LTS
   E                                                                                                        APT 10 E
   890 AVE CONDADO                                                                                          CONDADO, PR 00907
   SAN JUAN, PR 00907

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
55 MAS FELICIANO,                07/06/18   Commonwealth of Puerto         158503             Undetermined* MAS FELICIANO,            07/06/18   Commonwealth of Puerto    160597       Undetermined*
   KATIRIA I.                               Rico                                                            KATIRIA I.                           Rico
   HC-02 BOX 5051                           17 BK 03283-LTS                                                 HC 2 BOX 5051                        17 BK 03283-LTS
   GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656-
                                                                                                            9801

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
56 MASA SANCHEZ,                 04/13/18   Commonwealth of Puerto          4965                       $ 128.87 MASA SANCHEZ,         04/13/18   Commonwealth of Puerto    4976              $ 128.87
   BRENDA E                                 Rico                                                                BRENDA E                         Rico
   PO BOX 1265                              17 BK 03283-LTS                                                     PO BOX 1265                      17 BK 03283-LTS
   CANOVANAS, PR 00729                                                                                          CANOVANAS, PR 00729

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
57 MATEO PEREZ, ELSA             05/07/18   Commonwealth of Puerto         12242              Undetermined* MATEO PEREZ, ELSA         05/07/18   Commonwealth of Puerto    13080        Undetermined*
   VILLA DEL CARMEN                         Rico                                                            VILLA DEL CARMEN                     Rico
   4438 AVE CONSTANCIA                      17 BK 03283-LTS                                                 4438 AVE CONSTANCIA                  17 BK 03283-LTS
   PONCE, PR 00716-2208                                                                                     PONCE, PR 00716-2208

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
58 MATEO RIVERA,                 06/29/18   Commonwealth of Puerto         69654              Undetermined* MATEO RIVERA,             06/29/18   Commonwealth of Puerto    78248        Undetermined*
   AWILDA                                   Rico                                                            AWILDA                               Rico
   PO BOX 1187                              17 BK 03283-LTS                                                 PO BOX 1187                          17 BK 03283-LTS
   AIBONITO, PR 00705-1187                                                                                  AIBONITO, PR 00705-1187

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
59 MATIAS CORTES,                06/06/18   Commonwealth of Puerto         60992              Undetermined* MATIAS CORTES,            06/06/18   Commonwealth of Puerto    60997        Undetermined*
   EDUARDO                                  Rico                                                            EDUARDO                              Rico
   RR4 BOX 8244                             17 BK 03283-LTS                                                 RR4 BOX 8244                         17 BK 03283-LTS
   ANASCO, PR 00610                                                                                         ANASCO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 11 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
60 MATIAS GONZALEZ,              06/01/18   Commonwealth of Puerto         78802               $ 125,409.50* MATIAS GONZALEZ,     06/01/18   Commonwealth of Puerto    79458         $ 125,409.50*
   ELSY E                                   Rico                                                             ELSY E                          Rico
   PO BOX. 142374                           17 BK 03283-LTS                                                  PO BOX 142374                   17 BK 03283-LTS
   ARECIBO, PR 00614                                                                                         ARECIBO, PR 00614

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
61 MATIAS ROVIRA,                06/28/18   Commonwealth of Puerto         61634              Undetermined* MATIAS ROVIRA,        06/28/18   Commonwealth of Puerto    63208        Undetermined*
   MARIA                                    Rico                                                            MARIA                            Rico
   HC-02 BOX 12122                          17 BK 03283-LTS                                                 HC02 BOX 12122                   17 BK 03283-LTS
   MOCA, PR 00636                                                                                           MOCA, PR 00636

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
62 MATOS GARCED, LUIS            06/29/18   Commonwealth of Puerto         99223                $ 16,000.00* MATOS GARCED, LUIS   06/29/18   Commonwealth of Puerto    103894          $ 16,000.00
   M.                                       Rico                                                             M.                              Rico
   PO BOX 9795                              17 BK 03283-LTS                                                  P.O. BOX 9795                   17 BK 03283-LTS
   CIDRA, PR 00739                                                                                           CIDRA, PR 00739

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
63 MATOS LEON, NANCY             06/29/18   Commonwealth of Puerto         85426              Undetermined* MATOS LEON, NANCY     06/29/18   Commonwealth of Puerto    87533        Undetermined*
   URB LOS CAOBOS                           Rico                                                            URB LOS CAOBOS                   Rico
   1925 CALLE GUAYABO                       17 BK 03283-LTS                                                 CALLE GUAYABO 1925               17 BK 03283-LTS
   PONCE, PR 00716                                                                                          PONCE, PR 00716

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
64 MATOS RODRIGUEZ,              06/12/18   Commonwealth of Puerto         67663              Undetermined* MATOS RODRIGUEZ,      06/12/18   Commonwealth of Puerto    78627        Undetermined*
   MIRIANN                                  Rico                                                            MIRIANN                          Rico
   338 LAS PIEDRAS BO.                      17 BK 03283-LTS                                                 338 LAS PIEDRAS BO.              17 BK 03283-LTS
   LASADERO                                                                                                 LAVADERO
   HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
65 MATTEI SANTIAGO,              05/15/18   Commonwealth of Puerto         14651                 $ 42,258.60 MATTEI SANTIAGO,     05/15/18   Commonwealth of Puerto    15282           $ 42,258.60
   HELEN                                    Rico                                                             HELEN                           Rico
   PO BOX 800258                            17 BK 03283-LTS                                                  COTTO LAUREL                    17 BK 03283-LTS
   COTO LAUREL, PR 00780                                                                                     P.O. BOX 800258
   -0258                                                                                                     PONCE, PR 00780

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 12 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
66 MATTEI SANTIAGO,              05/15/18   Commonwealth of Puerto         15279                 $ 42,258.60 MATTEI SANTIAGO,       05/15/18   Commonwealth of Puerto    15282           $ 42,258.60
   HELEN                                    Rico                                                             HELEN                             Rico
   P.O. BOX 800258                          17 BK 03283-LTS                                                  COTTO LAUREL                      17 BK 03283-LTS
   COTTO LAUREL                                                                                              P.O. BOX 800258
   PONCE, PR 00780-0258                                                                                      PONCE, PR 00780

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
67 MAYMI HERNANDEZ,              05/29/18   Commonwealth of Puerto         31704              Undetermined* MAYMI HERNANDEZ,        06/28/18   Commonwealth of Puerto    113281       Undetermined*
   ANA I                                    Rico                                                            ANA I                              Rico
   COOP VILLA DE                            17 BK 03283-LTS                                                 COOP VILLA DE                      17 BK 03283-LTS
   NAVARR                                                                                                   NAVARR
   3C URB SANTA JUANITA                                                                                     3C URB SANTA JUANITA
   BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
68 MAYMI HERNANDEZ,              06/28/18   Commonwealth of Puerto         105383             Undetermined* MAYMI HERNANDEZ,        06/28/18   Commonwealth of Puerto    113281       Undetermined*
   ANA I                                    Rico                                                            ANA I                              Rico
   COOP VILLAS DE                           17 BK 03283-LTS                                                 COOP VILLA DE                      17 BK 03283-LTS
   NAVARRA                                                                                                  NAVARR
   APT 3C STA JUANITA                                                                                       3C URB SANTA JUANITA
   BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
69 MAYMI HERNANDEZ,              06/28/18   Commonwealth of Puerto         117736             Undetermined* MAYMI HERNANDEZ,        06/28/18   Commonwealth of Puerto    136204       Undetermined*
   ANA I.                                   Rico                                                            ANA I.                             Rico
   COOP VILLAS DE                           17 BK 03283-LTS                                                 COOP. VILLAS DE                    17 BK 03283-LTS
   NAVARRA                                                                                                  NAVARRA
   APT 3C STA JUANITA                                                                                       APART 3C
   BAYAMON, PR 00956                                                                                        URB. SANTA JUANITA
                                                                                                            BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
70 MAYSONET                      06/08/18   Commonwealth of Puerto         62963              Undetermined* MAYSONET                06/08/18   Commonwealth of Puerto    78942        Undetermined*
   HERNANDEZ, LOIDA                         Rico                                                            HERNANDEZ, LOIDA                   Rico
   8264 CALLE LOS                           17 BK 03283-LTS                                                 PO BOX 227                         17 BK 03283-LTS
   MANGOS                                                                                                   SABANA SECA, PR 00952
   SABANA SECA, PR 00952

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 13 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
71 MAYSONET                      06/08/18   Commonwealth of Puerto         77992              Undetermined* MAYSONET                 06/08/18   Commonwealth of Puerto    78942        Undetermined*
   HERNANDEZ, LOIDA                         Rico                                                            HERNANDEZ, LOIDA                    Rico
   8264 CALLE LOS                           17 BK 03283-LTS                                                 PO BOX 227                          17 BK 03283-LTS
   MANGOS                                                                                                   SABANA SECA, PR 00952
   SABANA SECA, PR 00952

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
72 MEDINA CRESPO,                07/06/18   Commonwealth of Puerto         110063                $ 35,500.00 MEDINA CRESPO,          07/06/18   Commonwealth of Puerto    127390          $ 35,500.00
   ROBERTO                                  Rico                                                             ROBERTO                            Rico
   URB. ESTANCIAS DEL                       17 BK 03283-LTS                                                  J. 13 CALLE 11                     17 BK 03283-LTS
   BOSQUE                                                                                                    URBANIZACION
   J-13 NOGULES 11                                                                                           ESTANCIAS DEL
   CIDRA, PR 00739                                                                                           BOSQUE
                                                                                                             CIDRA, PR 00739

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
73 MEDINA GONZALEZ,              04/06/18   Commonwealth of Puerto          6686              Undetermined* MEDINA GONZALEZ,         04/06/18   Commonwealth of Puerto    7560         Undetermined*
   HERIBERTO                                Rico                                                            HERIBERTO                           Rico
   BUENA VISTA                              17 BK 03283-LTS                                                 URB BUENA VISTA                     17 BK 03283-LTS
   118 CALLE DOCTOR                                                                                         118 GARCIA QUEVEDO
   GARCIA                                                                                                   MAYAGUEZ, PR 00680
   MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
74 MEDINA MEDINA,                05/25/18   Commonwealth of Puerto         21369              Undetermined* MEDINA MEDINA,           05/25/18   Commonwealth of Puerto    21253        Undetermined*
   MARY L                                   Rico                                                            MARY L                              Rico
   HC BOX 5242                              17 BK 03283-LTS                                                 HC 5 BOX 5242                       17 BK 03283-LTS
   YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
75 MEDINA MORENO,                06/13/18   Commonwealth of Puerto         63049                $ 90,000.00* MEDINA MORENO,          06/13/18   Commonwealth of Puerto    66283          $ 90,000.00*
   LITZY                                    Rico                                                             LITZY                              Rico
   HC 05 BOX 5801                           17 BK 03283-LTS                                                  HC 5 BOX 5801                      17 BK 03283-LTS
   JUANA DIAZ, PR 00795                                                                                      JUANA DIAZ, PR 00795-
                                                                                                             9768

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 14 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
76 MEJIAS CORREA, MARIA          06/26/18   Commonwealth of Puerto         97543                   $ 6,000.00 MEJIAS CORREA, MARIA   07/03/18   Commonwealth of Puerto    154065          $ 6,000.00
   REPARTO BONET #13                        Rico                                                              REPARTO BONET #13                 Rico
   AGUADA, PR 00602                         17 BK 03283-LTS                                                   AGUADA, PR 00602                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
77 MEJIAS RODRIGUEZ,             06/28/18   Commonwealth of Puerto         120091                $ 14,400.00 MEJIAS RODRIGUEZ,       06/29/18   Commonwealth of Puerto    165592         $ 14,400.00
   EVELYN                                   Rico                                                             EVELYN                             Rico
   HACINDA BORINGUEN                        17 BK 03283-LTS                                                  HACIENDA BORINQUEN                 17 BK 03283-LTS
   217 ALEMENDRO                                                                                             217 ALMENDRO
   CAGUAS, PR 00725                                                                                          CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
78 MELENDEZ APONTE,              03/11/18   Commonwealth of Puerto          1867                   $ 3,114.00 MELENDEZ APONTE,       03/11/18   Commonwealth of Puerto    1158            $ 3,114.00
   ROBERTO                                  Rico                                                              ROBERTO                           Rico
   54 CALETA DE SAN                         17 BK 03283-LTS                                                   54 CALETA DE SAN                  17 BK 03283-LTS
   JUAN                                                                                                       JUAN
   SAN JUAN, PR 00901                                                                                         SAN JUAN, PR 00901

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
79 MELENDEZ DE JESUS,            05/29/18   Commonwealth of Puerto         37750                 $ 1,500.00* MELENDEZ DE JESUS,      05/29/18   Commonwealth of Puerto    43346          $ 1,500.00*
   JORGE                                    Rico                                                             JORGE                              Rico
   MARGARITA CARRILLO                       17 BK 03283-LTS                                                  LCDA. MARGARITA                    17 BK 03283-LTS
   ITURINO.                                                                                                  CARRILLO ITURINO.
   EDIFICIO LE MANS                                                                                          EDIFICIO LE MANS
   OFICINA 508                                                                                               OFICINA 508
   602 AVENIDA MUÑOZ                                                                                         602 AVENIDA MUÑOZ
   RIVERA                                                                                                    RIVERA
   SAN JUAN, PR 00918                                                                                        SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
80 MELENDEZ DE JESUS,            05/29/18   Commonwealth of Puerto         43308                 $ 1,500.00* MELENDEZ DE JESUS,      05/29/18   Commonwealth of Puerto    43346          $ 1,500.00*
   JORGE                                    Rico                                                             JORGE                              Rico
   MARGARITA CARRILLO                       17 BK 03283-LTS                                                  LCDA. MARGARITA                    17 BK 03283-LTS
   ITURRINO                                                                                                  CARRILLO ITURINO.
   EDIFICIO LE MANS                                                                                          EDIFICIO LE MANS
   OFIC. 508                                                                                                 OFICINA 508
   602 AVENIDA MUNOZ                                                                                         602 AVENIDA MUÑOZ
   RIVERA                                                                                                    RIVERA
   SAN JUAN, PR 00918                                                                                        SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 15 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
81 MELENDEZ LOPEZ,               06/03/18   Commonwealth of Puerto         81440              Undetermined* MELENDEZ LOPEZ,         06/13/18   Commonwealth of Puerto    79604        Undetermined*
   ISMAEL                                   Rico                                                            ISMAEL                             Rico
   PO BOX 659                               17 BK 03283-LTS                                                 PO BOX 659                         17 BK 03283-LTS
   VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
82 MELENDEZ                      06/27/18   Commonwealth of Puerto         57052                   $ 1,500.00 MELENDEZ              06/28/18   Commonwealth of Puerto    67053            $ 1,500.00
   MALDONADO, ERIKA                         Rico                                                              MALDONADO, ERIKA                 Rico
   COND. SANTA MARIA 2                      17 BK 03283-LTS                                                   COND. SANTA MARIA 2              17 BK 03283-LTS
   CALLE/501 MODESTA                                                                                          CALLE 501 MODESTA
   APT 504                                                                                                    APT. 504
   SAN JUAN, PR 00924                                                                                         SAN JUAN, PR 00924

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
83 MELENDEZ MARTINEZ,            06/28/18   Commonwealth of Puerto         103485                $ 1,200.00* MELENDEZ MARTINEZ,     06/28/18   Commonwealth of Puerto    123468          $ 1,200.00*
   ALDA                                     Rico                                                             ALDA                              Rico
   URB. TURABO GARDENS                      17 BK 03283-LTS                                                  X 32 18 TURAHO                    17 BK 03283-LTS
   X-32 CALLE 18                                                                                             GARDENS
   CAGUAS, PR 00727                                                                                          CAGUAS, PR 00727

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
84 MELENDEZ MELENDEZ,            04/13/18   Commonwealth of Puerto          4957              Undetermined* MELENDEZ MELENDEZ,      04/13/18   Commonwealth of Puerto    5509         Undetermined*
   ORLANDO                                  Rico                                                            ORLANDO                            Rico
   HC 44 BOX 13419                          17 BK 03283-LTS                                                 HC 44 BOX 13419                    17 BK 03283-LTS
   CAYEY, PR 00736                                                                                          BO CERCADILLA CARR
                                                                                                            715 KM 5.0
                                                                                                            CAYEY, PR 00736

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
85 MELENDEZ RIVERA,              06/28/18   Commonwealth of Puerto         62927              Undetermined* MELENDEZ RIVERA,        06/29/18   Commonwealth of Puerto    132950       Undetermined*
   JESSICA                                  Rico                                                            JESSICA                            Rico
   P.O. BOX 1086                            17 BK 03283-LTS                                                 P.O. BOX 1086                      17 BK 03283-LTS
   OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 16 of 95
                                      Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                            Desc:
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
86 MELENDEZ RIVERA,              06/28/18   Commonwealth of Puerto         63916              Undetermined* MELENDEZ RIVERA,       06/29/18   Commonwealth of Puerto    132950       Undetermined*
   JESSICA                                  Rico                                                            JESSICA                           Rico
   P.O. BOX 1086                            17 BK 03283-LTS                                                 P.O. BOX 1086                     17 BK 03283-LTS
   OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
87 MELENDEZ                      06/27/18   Commonwealth of Puerto         45381                 $ 66,323.63 MELENDEZ              06/28/18   Commonwealth of Puerto    114103          $ 66,323.63
   VELAZQUEZ, CLARIBEL                      Rico                                                             VELAZQUEZ, CLARIBEL              Rico
   1727 CALLE CUPIDO                        17 BK 03283-LTS                                                  1727 CUPIDO VENUS                17 BK 03283-LTS
   URB. VENUS GARDENS                                                                                        GARDEN
   SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
88 MELENDEZ, ROSA M              05/25/18   Commonwealth of Puerto         33989              Undetermined* MELENDEZ, ROSA M       05/25/18   Commonwealth of Puerto    41269        Undetermined*
   BO VEGA CARR 743                         Rico                                                            BO VEGA CARR 743                  Rico
   BZ 26014 CALLE                           17 BK 03283-LTS                                                 BZ 26014 CALLE                    17 BK 03283-LTS
   GREGORIO RIOS                                                                                            GREGORIO RIOS
   CAYEY, PR 00736                                                                                          CAYEY, PR 00736

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
89 MENDEZ LARACUENTE,            05/24/18   Commonwealth of Puerto         14425              Undetermined* MENDEZ LARACUENTE,     05/24/18   Commonwealth of Puerto    18494        Undetermined*
   RAMON                                    Rico                                                            RAMON                             Rico
   61 CALLE MENDEZ VIGO                     17 BK 03283-LTS                                                 61 CALLE MENDEZ VIGO              17 BK 03283-LTS
   APARTAMENTO 5                                                                                            APARTAMENTO 5
   PONCE, PR 00730                                                                                          PONCE, PR 00730

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
90 MENDEZ MEJIAS,                06/20/18   Commonwealth of Puerto         93213              Undetermined* MENDEZ MEJIAS,         06/20/18   Commonwealth of Puerto    116063       Undetermined*
   MILDRED                                  Rico                                                            MILDRED                           Rico
   RR1 BOX 2709                             17 BK 03283-LTS                                                 500 ROBERTO H.TODD                17 BK 03283-LTS
   CIDRA, PR 00739                                                                                          P.O.BOX 8000
                                                                                                            SANTURCE, PR 00910

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 17 of 95
                                      Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                         Desc:
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
91 MENDEZ MENDEZ,                07/09/18   Commonwealth of Puerto         143816             Undetermined* MENDEZ MENDEZ,      07/09/18   Commonwealth of Puerto    156958       Undetermined*
   CHRISTOVAL                               Rico                                                            CHRISTOVAL                     Rico
   H.C BOX 11465                            17 BK 03283-LTS                                                 HC BOX 11465                   17 BK 03283-LTS
   SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
   00685                                                                                                    00685

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
92 MENDEZ MENDEZ,                07/09/18   Commonwealth of Puerto         150329             Undetermined* MENDEZ MENDEZ,      07/09/18   Commonwealth of Puerto    160918       Undetermined*
   CHRISTOVAL                               Rico                                                            CHRISTOVAL                     Rico
   HC-1 BOX 11465                           17 BK 03283-LTS                                                 HC -1 BOX 11465                17 BK 03283-LTS
   SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
   00685                                                                                                    00685

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
93 MENDEZ MENDEZ,                07/09/18   Commonwealth of Puerto         154593             Undetermined* MENDEZ MENDEZ,      07/09/18   Commonwealth of Puerto    156958       Undetermined*
   CHRISTOVAL                               Rico                                                            CHRISTOVAL                     Rico
   HC 1 BOX 11465                           17 BK 03283-LTS                                                 HC BOX 11465                   17 BK 03283-LTS
   SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
   00685                                                                                                    00685

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
94 MENDEZ MIRANDA,               05/25/18   Commonwealth of Puerto         31094              Undetermined* MENDEZ MIRANDA,     05/25/18   Commonwealth of Puerto    31610        Undetermined*
   SONIA I                                  Rico                                                            SONIA I                        Rico
   PO BOX 248                               17 BK 03283-LTS                                                 PO BOX 248                     17 BK 03283-LTS
   ANASCO, PR 00610                                                                                         ANASCO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
95 MENDEZ MIRANDA,               05/25/18   Commonwealth of Puerto         31608              Undetermined* MENDEZ MIRANDA,     05/25/18   Commonwealth of Puerto    31610        Undetermined*
   SONIA I                                  Rico                                                            SONIA I                        Rico
   52 ESTANCIAS DE                          17 BK 03283-LTS                                                 PO BOX 248                     17 BK 03283-LTS
   SIERRA MAESTRA                                                                                           ANASCO, PR 00610
   ANASCO, PR 00610-9686

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 18 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
96 MENDEZ PEREZ,                  07/02/18   Commonwealth of Puerto         100293             Undetermined* MENDEZ PEREZ,           07/02/18   Commonwealth of Puerto    140762       Undetermined*
   BRUNILDA                                  Rico                                                            BRUNILDA                           Rico
   URB LAS MARGARITAS                        17 BK 03283-LTS                                                 URB LAS MARGARITAS                 17 BK 03283-LTS
   6                                                                                                         6
   ISABELA, PR 00662                                                                                         ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
97 MENDEZ PEREZ,                  07/02/18   Commonwealth of Puerto         124542             Undetermined* MENDEZ PEREZ,           07/02/18   Commonwealth of Puerto    140762       Undetermined*
   BRUNILDA                                  Rico                                                            BRUNILDA                           Rico
   NUM.6                                     17 BK 03283-LTS                                                 URB LAS MARGARITAS                 17 BK 03283-LTS
   URB LAS MARGARITAS                                                                                        6
   ISABELA, PR 00662                                                                                         ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
98 MENDEZ PEREZ,                  07/02/18   Commonwealth of Puerto         129081             Undetermined* MENDEZ PEREZ,           07/02/18   Commonwealth of Puerto    140762       Undetermined*
   BRUNILDA                                  Rico                                                            BRUNILDA                           Rico
   URB LAS MARGARITAS                        17 BK 03283-LTS                                                 URB LAS MARGARITAS                 17 BK 03283-LTS
   #6                                                                                                        6
   ISABELA, PR 00662                                                                                         ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
99 MENDEZ QUINONES,               05/29/18   Commonwealth of Puerto         26170              Undetermined* MENDEZ QUINONES,        06/05/18   Commonwealth of Puerto    58749        Undetermined*
   RAFAEL                                    Rico                                                            RAFAEL                             Rico
   URBANIZACION BRISAS                       17 BK 03283-LTS                                                 URBANIZACION BRISAS                17 BK 03283-LTS
   DE CAMUY I-9                                                                                              DE CAMUY I-9
   CAMUY, PR 00627                                                                                           CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
100 MENDEZ RAMOS,                 06/29/18   Commonwealth of Puerto         142272             Undetermined* MENDEZ RAMOS,           06/29/18   Commonwealth of Puerto    164829       Undetermined*
    WANDA                                    Rico                                                            WANDA                              Rico
    URB. VILLAS DE LAS                       17 BK 03283-LTS                                                 URB. VILLAS DE LAS                 17 BK 03283-LTS
    PRADERAS                                                                                                 PRADEVAS
    CALLE DEL CALIBRI #29                                                                                    CALLE DEL COLIBRI #29
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 19 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
101 MENDEZ RAMOS,                 06/29/18   Commonwealth of Puerto         163863             Undetermined* MENDEZ RAMOS,           06/29/18   Commonwealth of Puerto    164829       Undetermined*
    WANDA                                    Rico                                                            WANDA                              Rico
    URB VILLAS DE LAS                        17 BK 03283-LTS                                                 URB. VILLAS DE LAS                 17 BK 03283-LTS
    PRADERAS                                                                                                 PRADEVAS
    CALLE DEL COLIBRI #29                                                                                    CALLE DEL COLIBRI #29
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
102 MENDEZ SALINAS,               05/11/18   Commonwealth of Puerto         13146              Undetermined* MENDEZ SALINAS,         05/11/18   Commonwealth of Puerto    14691        Undetermined*
    SERGIO                                   Rico                                                            SERGIO                             Rico
    P O BOX 688                              17 BK 03283-LTS                                                 PO BOX 688                         17 BK 03283-LTS
    MOCA, PR 00676-0688                                                                                      CARR 434 SECTOR
                                                                                                             SABANAS
                                                                                                             BO CUCHILLAS
                                                                                                             MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
103 MENDEZ SALINAS,               05/11/18   Commonwealth of Puerto         14683              Undetermined* MENDEZ SALINAS,         05/11/18   Commonwealth of Puerto    14691        Undetermined*
    SERGIO                                   Rico                                                            SERGIO                             Rico
    PO BOX 688                               17 BK 03283-LTS                                                 PO BOX 688                         17 BK 03283-LTS
    MOCA, PR 00676                                                                                           CARR 434 SECTOR
                                                                                                             SABANAS
                                                                                                             BO CUCHILLAS
                                                                                                             MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
104 MENDEZ SANCHEZ,               06/29/18   Commonwealth of Puerto         86243                 $ 30,000.00 MENDEZ SANCHEZ,        06/29/18   Commonwealth of Puerto    162672          $ 30,000.00
    ADRIAN                                   Rico                                                             ADRIAN                            Rico
    12 CALLE 12 NE PUERTO                    17 BK 03283-LTS                                                  1212 CALLE 12 NE                  17 BK 03283-LTS
    NUEVO NE                                                                                                  PUERTO NUEVO NE
    SAN JUAN, PR 00920                                                                                        SAN JUAN, PR 00920

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
105 MERCADO CINTRON,              04/06/18   Commonwealth of Puerto          6692              Undetermined* MERCADO CINTRON,        04/06/18   Commonwealth of Puerto    6759           $ 210,000.00
    MARTHA L                                 Rico                                                            MARTHA L                           Rico
    URB BUENAVENTURA                         17 BK 03283-LTS                                                 URB BUENAVENTURA                   17 BK 03283-LTS
    8024 CALLE NARDO                                                                                         8024 CALLE NARDO
    MAYAGUEZ, PR 00682-                                                                                      MAYAGUEZ, PR 00682-
    1277                                                                                                     1277

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 20 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
106 MERCADO CINTRON,              04/06/18   Commonwealth of Puerto          6697              Undetermined* MERCADO CINTRON,      04/06/18   Commonwealth of Puerto    6759           $ 210,000.00
    MARTHA L                                 Rico                                                            MARTHA L                         Rico
    URB BUENAVENTURA                         17 BK 03283-LTS                                                 URB BUENAVENTURA                 17 BK 03283-LTS
    8024 CALLE NARDO                                                                                         8024 CALLE NARDO
    MAYAGUEZ, PR 00682-                                                                                      MAYAGUEZ, PR 00682-
    1277                                                                                                     1277

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
107 MERCADO CORTES,               06/21/18   Commonwealth of Puerto         76218              Undetermined* MERCADO CORTES,       06/21/18   Commonwealth of Puerto    167792       Undetermined*
    ANEUDI                                   Rico                                                            ANEUDI                           Rico
    HC 58 BOX 14114                          17 BK 03283-LTS                                                 HC 58 BOX 14114                  17 BK 03283-LTS
    BO NARANJO                                                                                               BO NARANJO
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
108 MERCADO LOPEZ,                06/29/18   Commonwealth of Puerto         122851             Undetermined* MERCADO LOPEZ,        06/29/18   Commonwealth of Puerto    127706       Undetermined*
    ROSALINA                                 Rico                                                            ROSALINA                         Rico
    BOX 247                                  17 BK 03283-LTS                                                 BOX 247                          17 BK 03283-LTS
    LA PLATA, PR 00786                                                                                       LA PLATA, PR 00786

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
109 MERCADO MARTINEZ,             06/29/18   Commonwealth of Puerto         142608             Undetermined* MERCADO MARTINEZ,     06/29/18   Commonwealth of Puerto    143966       Undetermined*
    ANA                                      Rico                                                            ANA                              Rico
    URB. MARIA ANTONIA                       17 BK 03283-LTS                                                 CALLE 4 E #660                   17 BK 03283-LTS
    CALLE 4 E #660                                                                                           URB MARIA ANTONIA
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
110 MERCADO MARTINEZ,             06/29/18   Commonwealth of Puerto         142639             Undetermined* MERCADO MARTINEZ,     06/29/18   Commonwealth of Puerto    143966       Undetermined*
    ANA                                      Rico                                                            ANA                              Rico
    CALLE 4 E #660                           17 BK 03283-LTS                                                 CALLE 4 E #660                   17 BK 03283-LTS
    URB MARIA ANTONIA                                                                                        URB MARIA ANTONIA
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 21 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
111 MERCADO MERCADO,              06/29/18   Commonwealth of Puerto         136707             Undetermined* MERCADO MERCADO,     06/29/18   Commonwealth of Puerto    143805       Undetermined*
    REINALDO                                 Rico                                                            REINALDO                        Rico
    HC-60 BOX 29206                          17 BK 03283-LTS                                                 HC-60 BOX 29206                 17 BK 03283-LTS
    CORRETERA #411 K2-1                                                                                      CARRETERA 411, KM
    AGUADA, PR 00602                                                                                         .2.1
                                                                                                             AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
112 MERCADO MIRANDA,              05/04/18   Commonwealth of Puerto          8535              Undetermined* MERCADO MIRANDA,     05/04/18   Commonwealth of Puerto    10635        Undetermined*
    OSVALDO                                  Rico                                                            OSVALDO                         Rico
    COND. SAN ROMUALDO                       17 BK 03283-LTS                                                 COM SAN ROMUALDO                17 BK 03283-LTS
    SUR                                                                                                      SUR
    167 CALLE M                                                                                              167 CALLE M
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
113 MERCADO MIRANDA,              05/04/18   Commonwealth of Puerto          9484              Undetermined* MERCADO MIRANDA,     05/04/18   Commonwealth of Puerto    10635        Undetermined*
    OSVALDO                                  Rico                                                            OSVALDO                         Rico
    COM SAN ROMUALDO                         17 BK 03283-LTS                                                 COM SAN ROMUALDO                17 BK 03283-LTS
    SUR                                                                                                      SUR
    167 CALLE M                                                                                              167 CALLE M
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
114 MERCADO MIRANDA,              05/14/18   Commonwealth of Puerto         11086              Undetermined* MERCADO MIRANDA,     05/14/18   Commonwealth of Puerto    11587        Undetermined*
    YAHAIRA                                  Rico                                                            YAHAIRA                         Rico
    HC 59 BOX 6906                           17 BK 03283-LTS                                                 HC 59 BOX 6906                  17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
115 MERCADO MONTALVO,             06/26/18   Commonwealth of Puerto         39023                   $ 400.00* MERCADO MONTALVO,   06/26/18   Commonwealth of Puerto    52754            $ 400.00*
    MARIBELLE                                Rico                                                             MARIBELLE                      Rico
    PO BOX 140631                            17 BK 03283-LTS                                                  PO BOX 140631                  17 BK 03283-LTS
    CAMUY, PR 00614                                                                                           ARECIBO, PR 00614

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 22 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                            Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
116 MERCADO NUÑEZ,                05/18/18   Commonwealth of Puerto         11752              Undetermined* MERCADO NUÑEZ,         05/18/18   Commonwealth of Puerto    11756        Undetermined*
    ENRIQUE                                  Rico                                                            ENRIQUE                           Rico
    HC 07 BOX 30086                          17 BK 03283-LTS                                                 HC 07 BOX 30086                   17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
117 MERCADO PABON,                07/02/18   Commonwealth of Puerto         80034              Undetermined* MERCADO PABON,         07/02/18   Commonwealth of Puerto    140323       Undetermined*
    VERONICA                                 Rico                                                            VERONICA                          Rico
    HC 1 BOX 7866                            17 BK 03283-LTS                                                 HC 1 BOX 7866                     17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
118 MERCADO PABON,                07/02/18   Commonwealth of Puerto         127792             Undetermined* MERCADO PABON,         07/02/18   Commonwealth of Puerto    140323       Undetermined*
    VERONICA                                 Rico                                                            VERONICA                          Rico
    HC 1 BOX 7866                            17 BK 03283-LTS                                                 HC 1 BOX 7866                     17 BK 03283-LTS
    MISSING ADDRESS                                                                                          SAN GERMAN, PR 00683
    SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
119 MERCADO RODRIGUEZ,            06/29/18   Commonwealth of Puerto         92352                   $ 8,520.00 MERCADO RODRIGUEZ,   07/03/18   Commonwealth of Puerto    163753           $ 8,520.00
    DANIEL                                   Rico                                                              DANIEL                          Rico
    HC 5 BOX 74109                           17 BK 03283-LTS                                                   HC 5 BOX 74109                  17 BK 03283-LTS
    YAUCO, PR 00698                                                                                            YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
120 MERCADO SANCHEZ,              06/08/18   Commonwealth of Puerto         76421              Undetermined* MERCADO SANCHEZ,       06/08/18   Commonwealth of Puerto    80358        Undetermined*
    ROSALY M                                 Rico                                                            ROSALY M                          Rico
    URB ALTAGRACIA                           17 BK 03283-LTS                                                 URB ALTAGRACIA                    17 BK 03283-LTS
    K10 CALLE PALOMA                                                                                         K10 CALLE PALOMA
    TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
121 MERCADO SANTIAGO,             05/29/18   Commonwealth of Puerto         27485              Undetermined* MERCADO SANTIAGO,      05/29/18   Commonwealth of Puerto    41094        Undetermined*
    EVELYN                                   Rico                                                            EVELYN                            Rico
    URB HERMANAS                             17 BK 03283-LTS                                                 URB HERMANAS                      17 BK 03283-LTS
    DAVILA                                                                                                   DAVILA
    E6 CALLE 4                                                                                               E6 CALLE 4
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 23 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                            Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
122 MERCADO SANTIAGO,             05/29/18   Commonwealth of Puerto         29246              Undetermined* MERCADO SANTIAGO,      05/29/18   Commonwealth of Puerto    41094        Undetermined*
    EVELYN                                   Rico                                                            EVELYN                            Rico
    URB HERMANAS                             17 BK 03283-LTS                                                 URB HERMANAS                      17 BK 03283-LTS
    DAVILA                                                                                                   DAVILA
    E6 CALLE 4                                                                                               E6 CALLE 4
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
123 MERCADO VARGAS,               05/25/18   Commonwealth of Puerto         26742              Undetermined* MERCADO VARGAS,        05/25/18   Commonwealth of Puerto    31789        Undetermined*
    CLARIBEL W                               Rico                                                            CLARIBEL W                        Rico
    URB LOS ROBLES                           17 BK 03283-LTS                                                 URB LOS ROBLES                    17 BK 03283-LTS
    198 CALLE LOS ROBLES                                                                                     198 CALLE LOS ROBLES
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
124 MERCED COTTO, LUIS A          06/27/18   Commonwealth of Puerto         106409             Undetermined* MERCED COTTO, LUIS A   06/27/18   Commonwealth of Puerto    117877       Undetermined*
    PO BOX 371354                            Rico                                                            PO BOX 371354                     Rico
    CAYEY, PR 00737-1354                     17 BK 03283-LTS                                                 CAYEY, PR 00737-1354              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
125 MERCED COTTO, LUIS            06/27/18   Commonwealth of Puerto         98822              Undetermined* MERCED COTTO, LUIS     06/27/18   Commonwealth of Puerto    136698       Undetermined*
    A.                                       Rico                                                            A.                                Rico
    PO BOX 371354                            17 BK 03283-LTS                                                 P.O. BOX 371354                   17 BK 03283-LTS
    CAYEY, PR 00737-1354                                                                                     CAYEY, PR 00737-1354

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
126 MERCED FLORES,                06/26/18   Commonwealth of Puerto         91532                 $ 13,500.00 MERCED FLORES,        06/26/18   Commonwealth of Puerto    95337           $ 13,500.00
    CARMEN M.                                Rico                                                             CARMEN M.                        Rico
    HC 7 BOX 33671                           17 BK 03283-LTS                                                  HC 07 BOX 33671                  17 BK 03283-LTS
    CAGUAS, PR 00727                                                                                          CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
127 MERCED FLORES, JOSE           06/26/18   Commonwealth of Puerto         78842                 $ 13,000.00 MERCED FLORES, JOSE   06/26/18   Commonwealth of Puerto    98418           $ 13,000.00
    LUIS                                     Rico                                                             LUIS                             Rico
    PO BOX 5543                              17 BK 03283-LTS                                                  PO BOX 5543                      17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                          CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 24 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                              Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
128 MERCUCCI TORRES,              05/18/18   Commonwealth of Puerto         32672              Undetermined* MERCUCCI TORRES,         05/18/18   Commonwealth of Puerto    36346        Undetermined*
    JOAN                                     Rico                                                            JOAN                                Rico
    ALTURAS DEL CAFETAL                      17 BK 03283-LTS                                                 ALTURAS DEL CAFETAL                 17 BK 03283-LTS
    B6 CALLE CAMELIA                                                                                         B 6 CALLE CAMELIA
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
129 MERCUCCI TORRES,              05/18/18   Commonwealth of Puerto         35396              Undetermined* MERCUCCI TORRES,         05/18/18   Commonwealth of Puerto    36346        Undetermined*
    JOAN                                     Rico                                                            JOAN                                Rico
    ALTURA DEL CAFETAL                       17 BK 03283-LTS                                                 ALTURAS DEL CAFETAL                 17 BK 03283-LTS
    CALLE CAMELIA B-6                                                                                        B 6 CALLE CAMELIA
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
130 MICHELI RUIZ, MANUEL          06/27/18   Commonwealth of Puerto         117410               $ 10,200.00* MICHELI RUIZ, MANUEL    06/27/18   Commonwealth of Puerto    152957          $ 10,200.00
    URB. MARIANI                             Rico                                                             URB MARIANI                        Rico
    CALLE BALDORIOTY                         17 BK 03283-LTS                                                  CALLE BALDORIOTY                   17 BK 03283-LTS
    #1321                                                                                                     1321
    PONCE, PR 00717                                                                                           PONCE, PR 00717-1117

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
131 MILAGROS APONTE,              06/29/18   Commonwealth of Puerto         120397             Undetermined* MILAGROS APONTE,         06/29/18   Commonwealth of Puerto    130608       Undetermined*
    CARMEN                                   Rico                                                            CARMEN                              Rico
    P.O. BOX 9475                            17 BK 03283-LTS                                                 P.O. BOX 9475                       17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
132 MILLAN PABELLON,              05/04/18   Commonwealth of Puerto         10722                $ 80,000.00* MILLAN PABELLON,        05/04/18   Commonwealth of Puerto    10896          $ 80,000.00*
    ROSENDO                                  Rico                                                             ROSENDO                            Rico
    HC 2 BOX 7135                            17 BK 03283-LTS                                                  HC 2 BOX 7135                      17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 25 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
133 MIRACH VEGA, ERIKA           06/29/18   Commonwealth of Puerto         104575             Undetermined* MIRACH VEGA, ERIKA     06/29/18   Commonwealth of Puerto    145174       Undetermined*
    CIUDAD                                  Rico                                                            URB CIUDAD                        Rico
    UNIVERSITARIA                           17 BK 03283-LTS                                                 UNIVERSITARIA                     17 BK 03283-LTS
    O-8 CALLE D OESTE                                                                                       O8 CALLE D OESTE
    TRUJILLO ALTO, PR                                                                                       TRUJILLO ALTO, PR
    00976                                                                                                   00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
134 MIRACH VEGA, ERIKA           06/29/18   Commonwealth of Puerto         128086             Undetermined* MIRACH VEGA, ERIKA     06/29/18   Commonwealth of Puerto    145174       Undetermined*
    URB CIUDAD                              Rico                                                            URB CIUDAD                        Rico
    UNIVERSITARIA                           17 BK 03283-LTS                                                 UNIVERSITARIA                     17 BK 03283-LTS
    O8 CALLE D OESTE                                                                                        O8 CALLE D OESTE
    TRUJILLO ALTO, PR                                                                                       TRUJILLO ALTO, PR
    00976                                                                                                   00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
135 MIRANDA COLON,               06/27/18   Commonwealth of Puerto         105212             Undetermined* MIRANDA COLON,         06/27/18   Commonwealth of Puerto    137196       Undetermined*
    ANGELES DEL CARMEN                      Rico                                                            ANGELES DEL CARMEN                Rico
    1392 SAB IGNACION                       17 BK 03283-LTS                                                 1392 SAN IGNACIO                  17 BK 03283-LTS
    URB.ALTA MESA                                                                                           URB. ALTA MESA
    SAN JUAN, PR 00921                                                                                      SAN JUAN, PR 00921

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
136 MIRANDA COLON,               06/27/18   Commonwealth of Puerto         122968             Undetermined* MIRANDA COLON,         06/27/18   Commonwealth of Puerto    137196       Undetermined*
    ANGELES DEL CARMEN                      Rico                                                            ANGELES DEL CARMEN                Rico
    SAN IGNACIO 1392 ST.                    17 BK 03283-LTS                                                 1392 SAN IGNACIO                  17 BK 03283-LTS
    URB. ALTA MESA                                                                                          URB. ALTA MESA
    SAN JUAN, PR 00921                                                                                      SAN JUAN, PR 00921

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
137 MIRANDA GONZALEZ,            06/27/18   Commonwealth of Puerto         45960              Undetermined* MIRANDA GONZALEZ,      06/29/18   Commonwealth of Puerto    137334       Undetermined*
    FRANCISCO                               Rico                                                            FRANCISCO                         Rico
    URB. LA HACIENDA                        17 BK 03283-LTS                                                 URB. LA HACIENDA                  17 BK 03283-LTS
    CALLE MEDIA LUNA #12                                                                                    CALLE MEDIA LUNA #12
    CAGUAS, PR 00725                                                                                        CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 26 of 95
                                      Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                            Desc:
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
138 MIRANDA GONZALEZ,            06/27/18   Commonwealth of Puerto         54584              Undetermined* MIRANDA GONZALEZ,      06/29/18   Commonwealth of Puerto    147104       Undetermined*
    FRANCISCO                               Rico                                                            FRANCISCO                         Rico
    URB. LA HACIENDA                        17 BK 03283-LTS                                                 URB. LA HACIENDA                  17 BK 03283-LTS
    CALLE MEDIA LUNA #                                                                                      CALLE MEDIA LUNA #12
    12                                                                                                      CAGUAS, PR 00725
    CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
139 MIRANDA GONZALEZ,            06/27/18   Commonwealth of Puerto         56017              Undetermined* MIRANDA GONZALEZ,      06/29/18   Commonwealth of Puerto    152407       Undetermined*
    FRANCISCO                               Rico                                                            FRANCISCO                         Rico
    URB. LA HACIENDA                        17 BK 03283-LTS                                                 URB. LA HACIENDA                  17 BK 03283-LTS
    CALLE MEDIA LUNA #                                                                                      CALLE MEDIA LUNA #12
    12                                                                                                      CAGUAS, PR 00725
    CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
140 MIRANDA GONZALEZ,            06/28/18   Commonwealth of Puerto         58658              Undetermined* MIRANDA GONZALEZ,      06/29/18   Commonwealth of Puerto    150327       Undetermined*
    FRANCISCO                               Rico                                                            FRANCISCO                         Rico
    URB. LA HACIENDA                        17 BK 03283-LTS                                                 URB. LA HACIENDA                  17 BK 03283-LTS
    CALLE MEDIA LUNA #                                                                                      CALLE MEDIA LUNA #12
    12                                                                                                      CAGUAS, PR 00725
    CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
141 MIRANDA GONZALEZ,            06/28/18   Commonwealth of Puerto         59608              Undetermined* MIRANDA GONZALEZ,      06/29/18   Commonwealth of Puerto    141961       Undetermined*
    FRANCISCO                               Rico                                                            FRANCISCO                         Rico
    URB. LA HACIENDA                        17 BK 03283-LTS                                                 URB. LA HACIENDA                  17 BK 03283-LTS
    CALLE MEDIA LUNA #                                                                                      CALLE MEDIA LUNA #12
    12                                                                                                      CAGUAS, PR 00725
    CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
142 MIRANDA GONZALEZ,            05/16/18   Commonwealth of Puerto         15732              Undetermined* MIRANDA GONZALEZ,      05/16/18   Commonwealth of Puerto    15839        Undetermined*
    GOODWIN                                 Rico                                                            GOODWIN                           Rico
    CALLE EL MANGO O 154                    17 BK 03283-LTS                                                 #20 ESTE NENADICH                 17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 27 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
143 MIRANDA GONZALEZ,             05/16/18   Commonwealth of Puerto         11767              Undetermined* MIRANDA GONZALEZ,      05/16/18   Commonwealth of Puerto    15421        Undetermined*
    WALESKA                                  Rico                                                            WALESKA                           Rico
    CALLE NENADICH #20                       17 BK 03283-LTS                                                 20 CALLE NENADICH                 17 BK 03283-LTS
    ESTE                                                                                                     ESTE
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
144 MIRANDA LEON,                 06/26/18   Commonwealth of Puerto         96550              Undetermined* MIRANDA LEON,          06/26/18   Commonwealth of Puerto    102022       Undetermined*
    MOISES                                   Rico                                                            MOISES                            Rico
    JARD DE SANTO                            17 BK 03283-LTS                                                 A23 CALLE 5                       17 BK 03283-LTS
    DOMINGO                                                                                                  JARDINES SANTO
    A 23 CALLE 5                                                                                             DOMINGO
    JUANA DIAZ, PR 00795-                                                                                    JUANA DIAZ, PR 00795
    2631

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
145 MIRANDA LEON,                 06/26/18   Commonwealth of Puerto         97189              Undetermined* MIRANDA LEON,          06/26/18   Commonwealth of Puerto    102022       Undetermined*
    MOISES                                   Rico                                                            MOISES                            Rico
    URB. JARDINES DE                         17 BK 03283-LTS                                                 A23 CALLE 5                       17 BK 03283-LTS
    SANTO DOMINGO                                                                                            JARDINES SANTO
    A23 CALLE 5                                                                                              DOMINGO
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
146 MIRANDA ROSARIO,              05/30/18   Commonwealth of Puerto         38982              Undetermined* MIRANDA ROSARIO,       05/30/18   Commonwealth of Puerto    40658        Undetermined*
    NEYSA                                    Rico                                                            NEYSA                             Rico
    PO BOX 1889                              17 BK 03283-LTS                                                 PO BOX 1889                       17 BK 03283-LTS
    COROZAL, PR 00783                                                                                        COROZAL, PR 00783

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
147 MIRANDA VEGA,                 06/27/18   Commonwealth of Puerto         101886             Undetermined* MIRANDA VEGA,          06/27/18   Commonwealth of Puerto    125141       Undetermined*
    EVELYN                                   Rico                                                            EVELYN                            Rico
    COND. JARDINES DE                        17 BK 03283-LTS                                                 COND JARDINES                     17 BK 03283-LTS
    ALTAMESA B-4                                                                                             ALTAMESA
    1 AVE SAN ALFONSO                                                                                        1AVE SAN ALFONSO
    SAN JUAN, PR 00921                                                                                       APT B4
                                                                                                             SAN JUAN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 28 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
148 MIRANDA VEGA,                 06/27/18   Commonwealth of Puerto         109885             Undetermined* MIRANDA VEGA,              06/27/18   Commonwealth of Puerto    125141       Undetermined*
    EVELYN                                   Rico                                                            EVELYN                                Rico
    APT B-4                                  17 BK 03283-LTS                                                 COND JARDINES                         17 BK 03283-LTS
    1 AVENIDA SAN                                                                                            ALTAMESA
    ALFONSO                                                                                                  1AVE SAN ALFONSO
    SAN JUAN, PR 00921-4612                                                                                  APT B4
                                                                                                             SAN JUAN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
149 MIRANDA, DEBBIE               06/28/18   Commonwealth of Puerto         68012              Undetermined* MIRANDA, DEBBIE            06/28/18   Commonwealth of Puerto    68072        Undetermined*
    RR 11 BOX 4546                           Rico                                                            RR 11 BOX 4546                        Rico
    BAYAMON, PR 00956                        17 BK 03283-LTS                                                 BAYAMON, PR 00956                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
150 MIRO TORRES, ELSA E           05/29/18   Commonwealth of Puerto         24042                 $ 51,110.31 MIRO TORRES, ELSA E       05/29/18   Commonwealth of Puerto    26773          $ 51,110.31*
    URB LA ESPERANZA                         Rico                                                             N-8 CALLE 6                          Rico
    N8 CALLE 6                               17 BK 03283-LTS                                                  URB. LA ESPERANZA                    17 BK 03283-LTS
    VEGA ALTA, PR 00692                                                                                       VEGA ALTA, PR 00692

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
151 MITSUBISHI MOTOR              06/29/18   Commonwealth of Puerto         78451                 $ 44,803.16 MITSUBISHI MOTOR          06/29/18   Commonwealth of Puerto    86768           $ 44,803.16
    SALES OF CARIBBEAN                       Rico                                                             SALES OF CARIBBEAN                   Rico
    INC.                                     17 BK 03283-LTS                                                  INC.                                 17 BK 03283-LTS
    BELK & GROVAS LAW                                                                                         BELK & GROVAS LAW
    OFFICES                                                                                                   OFFICES
    PO BOX 194927                                                                                             PO BOX 194927
    SAN JUAN, PR 00919-4927                                                                                   SAN JUAN, PR 00919-4927

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
152 MIXIE I. VÁZQUEZ              06/27/18   Commonwealth of Puerto         52941               $ 150,000.00* MIXIE I. VÁZQUEZ          06/29/18   Commonwealth of Puerto    107780         $ 150,000.00
    ACEVEDO/EDGARDO M.                       Rico                                                             ACEVEDO/EDGARDO M.                   Rico
    RIVERA VÁZQUEZ                           17 BK 03283-LTS                                                  RIVERA VÁZQUEZ                       17 BK 03283-LTS
    144 PARCEL ESPINAR                                                                                        144 PARCEL ESPINAR
    AGUADA, PR 00602                                                                                          AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 29 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                                 Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
153 MMM HEALTHCARE,               06/29/18   Commonwealth of Puerto         87610               $ 3,396,098.31 MMM HEALTHCARE,           06/29/18   Commonwealth of Puerto    162265       $ 3,396,098.31
    LLC                                      Rico                                                              LLC                                  Rico
    CARLOS VIVALDI                           17 BK 03283-LTS                                                   CARLOS VIVALDI                       17 BK 03283-LTS
    PO BOX 71114                                                                                               PO BOX 71114
    SAN JUAN, PR 00936-8014                                                                                    SAN JUAN, PR 00936-8014

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
154 MMM MULTIHEALTH,              06/29/18   Commonwealth of Puerto         92237               $ 8,882,817.61 MMM MULTIHEALTH,          06/29/18   Commonwealth of Puerto    153940       $ 8,882,817.61
    LLC                                      Rico                                                              LLC                                  Rico
    CARLOS VIVALDI                           17 BK 03283-LTS                                                   CARLOS VIVALDI                       17 BK 03283-LTS
    PO BOX 71114                                                                                               PO BOX 71114
    SAN JUAN, PR 00936-8014                                                                                    SAN JUAN, PR 00936-8014

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
155 MOCTEZUMA                     05/24/18   Commonwealth of Puerto         21146                 $ 16,321.20 MOCTEZUMA                  05/24/18   Commonwealth of Puerto    21985           $ 16,321.20
    VELAZQUEZ, LYDIA                         Rico                                                             VELAZQUEZ, LYDIA                      Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                  MILAGROS ACEVEDO                      17 BK 03283-LTS
    COLON                                                                                                     COLON
    COND COLINA REAL                                                                                          COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                     2000 AVE. F. RINCON
    1405                                                                                                      BOX 1405
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
156 MODESTO SANTIAGO,             06/29/18   Commonwealth of Puerto         78420                 $ 15,000.00 MODESTO SANTIAGO,          07/06/18   Commonwealth of Puerto    120128          $ 15,000.00
    NILKA                                    Rico                                                             NILKA                                 Rico
    URB. VILLAS DE LOIZA                     17 BK 03283-LTS                                                  URB. VILLAS DE LOIZA                  17 BK 03283-LTS
    CALLE 28 QQ-14                                                                                            CALLE 28 QQ-14
    CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
157 MOJICA FONTANEZ,              06/28/18   Commonwealth of Puerto         59029              Undetermined* MOJICA FONTANEZ,            06/28/18   Commonwealth of Puerto    61104        Undetermined*
    RUTH                                     Rico                                                            RUTH                                   Rico
    HC 04 BOX 44841                          17 BK 03283-LTS                                                 HC 04 BOX 44841                        17 BK 03283-LTS
    CAGUAS, PR 00725-9610                                                                                    CAGUAS, PR 00725-9610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 30 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                           Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
158 MOLINA LASALLE,               05/16/18   Commonwealth of Puerto         16706              Undetermined* MOLINA LASALLE,       05/16/18   Commonwealth of Puerto    17199        Undetermined*
    DOMINGO                                  Rico                                                            DOMINGO                          Rico
    HC 05 BOX 107111                         17 BK 03283-LTS                                                 HC 5 BOX 107111                  17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
159 MOLINA MALDONADO,             06/29/18   Commonwealth of Puerto         58947                   $ 6,000.00 MOLINA MALDONADO,   06/29/18   Commonwealth of Puerto    80179            $ 6,000.00
    CARMEN MARIA                             Rico                                                              CARMEN MARIA                   Rico
    COOPERATIVA DE                           17 BK 03283-LTS                                                   COOPERATIVA DE                 17 BK 03283-LTS
    JARDINES DE TRUJILLO                                                                                       JARDINEA DE
    ALTO                                                                                                       TRUJILLO ALTO
    EDIFICIO G505                                                                                              EDIFICIO G 505
    TRUJILLO ALTO, PR                                                                                          TRUJILLO ALTO, PR
    00976                                                                                                      00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
160 MOLINA MARTINEZ,              05/29/18   Commonwealth of Puerto         38014                $ 40,000.00* MOLINA MARTINEZ,     05/29/18   Commonwealth of Puerto    50075          $ 40,000.00*
    JESUS                                    Rico                                                             JESUS                           Rico
    LEONOR RODRIGUEZ                         17 BK 03283-LTS                                                  LEONOR RODRIGUEZ                17 BK 03283-LTS
    RODRIGUEZ                                                                                                 RODRIGUEZ
    URB. CIUDAD                                                                                               URB. CIUDAD
    INTERAMERICANA 684                                                                                        INTERAMERICANA 684
    CALLE MARLIN                                                                                              CALLE MARLIN
    BAYAMÓN, PR 00957                                                                                         BAYAMÓN, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
161 MOLINA MARTINEZ,              05/29/18   Commonwealth of Puerto         39127                $ 40,000.00* MOLINA MARTINEZ,     05/29/18   Commonwealth of Puerto    50075          $ 40,000.00*
    JESUS                                    Rico                                                             JESUS                           Rico
    LEONOR RODRIGUEZ                         17 BK 03283-LTS                                                  LEONOR RODRIGUEZ                17 BK 03283-LTS
    RODRIGUEZ                                                                                                 RODRIGUEZ
    URB. CIUDAD                                                                                               URB. CIUDAD
    INTERAMERICANA 684                                                                                        INTERAMERICANA 684
    CALLE MARLIN                                                                                              CALLE MARLIN
    BAYAMÓN, PR 00957                                                                                         BAYAMÓN, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 31 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
162 MOLINA MARTINEZ,             05/29/18   Commonwealth of Puerto         39914                $ 40,000.00* MOLINA MARTINEZ,      05/29/18   Commonwealth of Puerto    50075          $ 40,000.00*
    JESUS                                   Rico                                                             JESUS                            Rico
    LCDA. LEONOR                            17 BK 03283-LTS                                                  LEONOR RODRIGUEZ                 17 BK 03283-LTS
    RODRIGUEZ                                                                                                RODRIGUEZ
    RODRIGUEZ                                                                                                URB. CIUDAD
    URB. CIUDAD                                                                                              INTERAMERICANA 684
    INTERAMERICANA 684                                                                                       CALLE MARLIN
    CALLE MARLIN                                                                                             BAYAMÓN, PR 00957
    BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
163 MOLINA OTERO,                06/23/18   Commonwealth of Puerto         44650                $ 150,000.00 MOLINA OTERO,         06/23/18   Commonwealth of Puerto    47457         $ 150,000.00*
    MARLYN A.                               Rico                                                             MARLYN A.                        Rico
    115 NORTH RESERVOIR                     17 BK 03283-LTS                                                  115 NORTH RESEVOIR               17 BK 03283-LTS
    ST                                                                                                       ST
    APT. B                                                                                                   APT. # B
    LANCASTER, PA 17602                                                                                      LANCASTER, PA 17602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
164 MOLINA OTERO,                06/26/18   Commonwealth of Puerto         47227               $ 150,000.00* MOLINA OTERO,         06/23/18   Commonwealth of Puerto    47457         $ 150,000.00*
    MARLYN A.                               Rico                                                             MARLYN A.                        Rico
    115 NORTH RESERVOIR                     17 BK 03283-LTS                                                  115 NORTH RESEVOIR               17 BK 03283-LTS
    ST                                                                                                       ST
    APT. B                                                                                                   APT. # B
    LANCASTER, PA 17602                                                                                      LANCASTER, PA 17602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
165 MOLINA OTERO,                06/24/18   Commonwealth of Puerto         47387               $ 150,000.00* MOLINA OTERO,         06/23/18   Commonwealth of Puerto    47457         $ 150,000.00*
    MARLYN A.                               Rico                                                             MARLYN A.                        Rico
    115 NORTH RESERVOIR                     17 BK 03283-LTS                                                  115 NORTH RESEVOIR               17 BK 03283-LTS
    ST APT. B                                                                                                ST
    LANCASTER, PA 17602                                                                                      APT. # B
                                                                                                             LANCASTER, PA 17602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 32 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
166 MOLINA RIVERA,                06/27/18   Commonwealth of Puerto         48152              Undetermined* MOLINA RIVERA,           07/03/18   Commonwealth of Puerto    122093       Undetermined*
    CARLOS R                                 Rico                                                            CARLOS R                            Rico
    URB. SANTA MARTA                         17 BK 03283-LTS                                                 URB. SANTA MARTA                    17 BK 03283-LTS
    D CALLE C-11                                                                                             D CALLE C-11
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
167 MONGE PLAZA,                  06/01/18   Commonwealth of Puerto         30124              Undetermined* MONGE PLAZA,             06/06/18   Commonwealth of Puerto    60392        Undetermined*
    ELIZABETH J.                             Rico                                                            ELIZABETH J.                        Rico
    QUINTAS DE                               17 BK 03283-LTS                                                 #911 CALLE ZAFIRO                   17 BK 03283-LTS
    CANOVANAS 2 CALLE                                                                                        URB. QUINTAS DE
    ZAFIRO 911                                                                                               CANOVANAS 2
    CANOVANAS, PR 00726                                                                                      CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
168 MONROIG MARQUEZ,              07/05/18   Commonwealth of Puerto         132268             Undetermined* MONROIG MARQUEZ,         07/05/18   Commonwealth of Puerto    157197       Undetermined*
    AMARIS                                   Rico                                                            AMARIS                              Rico
    12 RAHOLIZA                              17 BK 03283-LTS                                                 RAHOLIZA #12                        17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
169 MONSERRATE FLECHA,            05/30/18   Commonwealth of Puerto         38359               $ 210,000.00* MONSERRATE FLECHA,      05/30/18   Commonwealth of Puerto    38351         $ 210,000.00*
    ANA I.                                   Rico                                                             ANA I.                             Rico
    LCDO. PABLO LUGO                         17 BK 03283-LTS                                                  PABLO LUGO LEBRÓN                  17 BK 03283-LTS
    LEBRÓN                                                                                                    URB. REPARTO
    URB. REPARTO                                                                                              MENDOZA A-1 P. O. BOX
    MENDOZA                                                                                                   8051
    A-1                                                                                                       HUMACAO, PR 00792-
    P. O. BOX 8051                                                                                            8051
    HUMACAO, PR 00792-
    8051

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
170 MONTALVO FLORES,              07/05/18   Commonwealth of Puerto         155486               $ 14,400.00* MONTALVO FLORES,        07/06/18   Commonwealth of Puerto    134288          $ 14,400.00
    ELIA                                     Rico                                                             ELIA                               Rico
    APARTADO 101                             17 BK 03283-LTS                                                  APARTADO 101                       17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                      SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 33 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
171 MONTALVO ROSA,                05/29/18   Commonwealth of Puerto         36893              Undetermined* MONTALVO ROSA,            05/29/18   Commonwealth of Puerto    39036        Undetermined*
    SILVETTE                                 Rico                                                            SILVETTE                             Rico
    BDA CLAUSELLS                            17 BK 03283-LTS                                                 BDA CLAUSELLS                        17 BK 03283-LTS
    40 CALLE 7                                                                                               40 CALLE 7
    PONCE, PR 00731                                                                                          PONCE, PR 00731

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
172 MONTALVO SANTIAGO,            03/14/18   Commonwealth of Puerto          2778              Undetermined* MONTALVO SANTIAGO,        03/14/18   Commonwealth of Puerto    2930         Undetermined*
    ANA MARIA                                Rico                                                            ANA MARIA                            Rico
    VILLAS DEL PILAR                         17 BK 03283-LTS                                                 VILLAS DEL PILAR                     17 BK 03283-LTS
    B-12 QUEBRADA ARENA                                                                                      CALLE QUEBRADA
    RIO PIEDRAS, PR 00926-                                                                                   ARENAS B-12
    5444                                                                                                     SAN JUAN, PR 00926-5444

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
173 MONTALVO VAZQUEZ,             08/14/18   Commonwealth of Puerto         134386             Undetermined* MONTALVO VAZQUEZ,         08/14/18   Commonwealth of Puerto    163807       Undetermined*
    NILDA                                    Rico                                                            NILDA                                Rico
    CALLE ANGEL                              17 BK 03283-LTS                                                 CALLE ANGEL                          17 BK 03283-LTS
    GREGORIO MARTINEZ                                                                                        GREGORIO MARTINEZ
    106                                                                                                      106
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637-0674                                                                                               00637-0674

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
174 MONTES SANTIAGO,              02/07/18   Commonwealth of Puerto           497                 $ 56,677.39 MONTES SANTIAGO,         02/07/18   Commonwealth of Puerto     510           $ 56,677.39*
    ENIO E                                   Rico                                                             ENIO E                              Rico
    COND. BUENA VISTA                        17 BK 03283-LTS                                                  COND. BUENA VISTA                   17 BK 03283-LTS
    VILLAGE APT. 1431                                                                                         VILLAGE APT. 1431
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
175 MONTES SUAREZ,                07/03/18   Commonwealth of Puerto         116915             Undetermined* MONTES SUAREZ,            07/03/18   Commonwealth of Puerto    153676       Undetermined*
    ILEANA                                   Rico                                                            ILEANA                               Rico
    PO BOX 946                               17 BK 03283-LTS                                                 P O BOX 946                          17 BK 03283-LTS
    MAUNABO, PR 00707-                                                                                       MAUNABO, PR 00707-
    0946                                                                                                     0946

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 34 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
176 MONTIJO VILLALOBOS,           06/29/18   Commonwealth of Puerto         81146              Undetermined* MONTIJO VILLALOBOS,    06/29/18   Commonwealth of Puerto    91839        Undetermined*
    MIRTA R                                  Rico                                                            MIRTA R                           Rico
    MIRTA R MONTIJO                          17 BK 03283-LTS                                                 URB. TAJAOMAR                     17 BK 03283-LTS
    VILLALOBOS                                                                                               CALLE # 1 B-5
    URB. TAJAOMAR                                                                                            MOROVIS, PR 00687
    CALLE#1-B-5
    MOROVIS, PR 00687

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
177 MONTIJO VILLALOBOS,           06/29/18   Commonwealth of Puerto         89529              Undetermined* MONTIJO VILLALOBOS,    06/29/18   Commonwealth of Puerto    91839        Undetermined*
    MIRTA R                                  Rico                                                            MIRTA R                           Rico
    URB. TAJAOMAR                            17 BK 03283-LTS                                                 URB. TAJAOMAR                     17 BK 03283-LTS
    CALLE# 1 B-5                                                                                             CALLE # 1 B-5
    MOROVIS, PR 00687                                                                                        MOROVIS, PR 00687

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
178 MORA NIN, GRACIELYS           05/18/18   Commonwealth of Puerto         33961              Undetermined* MORA NIN, GRACIELYS    05/18/18   Commonwealth of Puerto    35365        Undetermined*
    VALLE VERDE                              Rico                                                            URB VALLE VERDE                   Rico
    C9 CALLE 2                               17 BK 03283-LTS                                                 C-9 CALLE 2                       17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
179 MORALES ALVARADO,             06/28/18   Commonwealth of Puerto         69569              Undetermined* MORALES ALVARADO,      06/29/18   Commonwealth of Puerto    58625        Undetermined*
    MIRIAM L                                 Rico                                                            MIRIAM L                          Rico
    PO BOX 99                                17 BK 03283-LTS                                                 BO. SALTOS CABRAS                 17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       BOX 991
                                                                                                             OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
180 MORALES ALVARADO,             06/29/18   Commonwealth of Puerto         78135              Undetermined* MORALES ALVARADO,      06/29/18   Commonwealth of Puerto    81116        Undetermined*
    MIRIAM L.                                Rico                                                            MIRIAM L.                         Rico
    BO. SALTOS CABRAS                        17 BK 03283-LTS                                                 P.O. BOX 991                      17 BK 03283-LTS
    BOX 991                                                                                                  OROCOVIS, PR 00720
    OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 35 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
181 MORALES ARROYO,               06/22/18   Commonwealth of Puerto         35334              Undetermined* MORALES ARROYO,            06/25/18   Commonwealth of Puerto    90228        Undetermined*
    EMILIA                                   Rico                                                            EMILIA                                Rico
    URB. VILLAS DEL                          17 BK 03283-LTS                                                 URB. VILLAS DEL                       17 BK 03283-LTS
    CAFETAL I                                                                                                CAFETAL I
    CALLE 8 I-35                                                                                             CALLE 8 I-35
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
182 MORALES BONILLA,              05/16/18   Commonwealth of Puerto         13323              Undetermined* MORALES BONILLA,           05/16/18   Commonwealth of Puerto    14077        Undetermined*
    JULIO C                                  Rico                                                            JULIO C                               Rico
    HC-01 BOX 9364                           17 BK 03283-LTS                                                 HC-01 BOX 9364                        17 BK 03283-LTS
    MARICAO, PR 00606                                                                                        MARICAO, PR 00606

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
183 MORALES BONILLA,              05/16/18   Commonwealth of Puerto         13467              Undetermined* MORALES BONILLA,           05/16/18   Commonwealth of Puerto    14554        Undetermined*
    JULIO C                                  Rico                                                            JULIO C                               Rico
    HC-01 BOX 9364                           17 BK 03283-LTS                                                 HC-01 BOX 9364                        17 BK 03283-LTS
    MARICAO, PR 00606                                                                                        MARICAO, PR 00606

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
184 MORALES COLON,                07/02/18   Commonwealth of Puerto         96340              Undetermined* MORALES COLON,             07/03/18   Commonwealth of Puerto    138941       Undetermined*
    CARMEN I.                                Rico                                                            CARMEN I.                             Rico
    B-O 4 CLEARAZA URB                       17 BK 03283-LTS                                                 B-O 4 CLEARAZA URB.                   17 BK 03283-LTS
    SANTA JUANITA                                                                                            SANTA JUANITA
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
185 MORALES CORDOVA,              06/21/18   Commonwealth of Puerto         59813                   $ 400.00* MORALES CORDOVA,          06/21/18   Commonwealth of Puerto    60068            $ 400.00*
    KARIME                                   Rico                                                             KARIME                               Rico
    PO BOX 40177                             17 BK 03283-LTS                                                  PO BOX 40177                         17 BK 03283-LTS
    SAN JUAN, PR 00940-0177                                                                                   SAN JUAN, PR 00940-0177

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 36 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
186 MORALES DIAZ, MARIA           07/05/18   Commonwealth of Puerto         97315              Undetermined* MORALES DIAZ, MARIA    07/05/18   Commonwealth of Puerto    143165       Undetermined*
    DE LOS A                                 Rico                                                            DE LOS A                          Rico
    84 JUPITER                               17 BK 03283-LTS                                                 84 JUPITER                        17 BK 03283-LTS
    WONDERVILLE SAINT                                                                                        WONDERVILLE SAINT
    JUST                                                                                                     JUST
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00976                                                                                                    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
187 MORALES DIAZ,                 07/05/18   Commonwealth of Puerto         145713             Undetermined* MORALES DIAZ,          07/05/18   Commonwealth of Puerto    157684       Undetermined*
    SOLANGEL                                 Rico                                                            SOLANGEL                          Rico
    CALLE A # 12 REPARTO                     17 BK 03283-LTS                                                 12 A REPARTO GARAY                17 BK 03283-LTS
    GARAY                                                                                                    SAINT JUST TRUIJILLO
    SAINT JUST                                                                                               ALTO, PR 00976
    TRUJILLO ALTO, PR
    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
188 MORALES DIAZ,                 07/05/18   Commonwealth of Puerto         146815             Undetermined* MORALES DIAZ,          07/05/18   Commonwealth of Puerto    157684       Undetermined*
    SOLANGEL                                 Rico                                                            SOLANGEL                          Rico
    CALLE A #12                              17 BK 03283-LTS                                                 12 A REPARTO GARAY                17 BK 03283-LTS
    REPARTO GARAY                                                                                            SAINT JUST TRUIJILLO
    SAINT JUST TRUJILLO                                                                                      ALTO, PR 00976
    ALTO, PR 00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
189 MORALES DIAZ,                 07/05/18   Commonwealth of Puerto         154249             Undetermined* MORALES DIAZ,          07/05/18   Commonwealth of Puerto    157684       Undetermined*
    SOLANGEL                                 Rico                                                            SOLANGEL                          Rico
    12-A REPARTO GARAY                       17 BK 03283-LTS                                                 12 A REPARTO GARAY                17 BK 03283-LTS
    SAINT JUST                                                                                               SAINT JUST TRUIJILLO
    TRUJILLO ALTO, PR                                                                                        ALTO, PR 00976
    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 37 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
190 MORALES DIAZ,                 07/05/18   Commonwealth of Puerto         156344             Undetermined* MORALES DIAZ,             07/05/18   Commonwealth of Puerto    157684       Undetermined*
    SOLANGEL                                 Rico                                                            SOLANGEL                             Rico
    12 A REPARTO GARAY                       17 BK 03283-LTS                                                 12 A REPARTO GARAY                   17 BK 03283-LTS
    SAINT JUST                                                                                               SAINT JUST TRUIJILLO
    TRUJILLO ALTO, PR                                                                                        ALTO, PR 00976
    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
191 MORALES DIAZ, SONIA           06/29/18   Commonwealth of Puerto         127317             Undetermined* MORALES DIAZ, SONIA       06/29/18   Commonwealth of Puerto    134862       Undetermined*
    M.                                       Rico                                                            M.                                   Rico
    URB. VILLAS DE                           17 BK 03283-LTS                                                 URB. VILLAS DE                       17 BK 03283-LTS
    PATILLAS                                                                                                 PATILLAS
    5 CALLE CORAL                                                                                            5 CALLE CORAL
    PATILLAS, PR 00723                                                                                       PATILLAS, PR 00723-2653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
192 MORALES GALARZA,              04/16/18   Commonwealth of Puerto          5182              Undetermined* MORALES GALARZA,          04/16/18   Commonwealth of Puerto    7546         Undetermined*
    NORMA                                    Rico                                                            NORMA                                Rico
    PO BOX 41025                             17 BK 03283-LTS                                                 PO BOX 41025                         17 BK 03283-LTS
    SAN JUAN, PR 00917                                                                                       SAN JUAN, PR 00940

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
193 MORALES GALARZA,              04/16/18   Commonwealth of Puerto          7467              Undetermined* MORALES GALARZA,          04/16/18   Commonwealth of Puerto    7546         Undetermined*
    NORMA                                    Rico                                                            NORMA                                Rico
    PO BOX 41025                             17 BK 03283-LTS                                                 PO BOX 41025                         17 BK 03283-LTS
    SAN JUAN, PR 00940                                                                                       SAN JUAN, PR 00940

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
194 MORALES GALARZA,              04/16/18   Commonwealth of Puerto          7472              Undetermined* MORALES GALARZA,          04/16/18   Commonwealth of Puerto    7546         Undetermined*
    NORMA                                    Rico                                                            NORMA                                Rico
    PO BOX 41025                             17 BK 03283-LTS                                                 PO BOX 41025                         17 BK 03283-LTS
    SAN JUAN, PR 00940-1025                                                                                  SAN JUAN, PR 00940

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 38 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
195 MORALES LEHMAN,               05/23/18   Commonwealth of Puerto         18171              Undetermined* MORALES LEHMAN,            05/23/18   Commonwealth of Puerto    18185        Undetermined*
    ANGEL M                                  Rico                                                            ANGEL M                               Rico
    ESTANCIAS DEL GOLF                       17 BK 03283-LTS                                                 419 CALLE MILLITO                     17 BK 03283-LTS
    CLUB                                                                                                     NAVARRO
    419 MILLITO NAVARRO                                                                                      ESTANCIAS DEL GOLF
    PONCE, PR 00730                                                                                          CLUB
                                                                                                             PONCE, PR 00730-0523

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
196 MORALES LLANOS,               06/29/18   Commonwealth of Puerto         125118             Undetermined* MORALES LLANOS,            06/29/18   Commonwealth of Puerto    152891       Undetermined*
    GRICELA                                  Rico                                                            GRICELA                               Rico
    CALLE 5 F-20                             17 BK 03283-LTS                                                 CALLE 5 F-20                          17 BK 03283-LTS
    URB. QUINTAS DE                                                                                          URB. QUINTAS DE
    FAJARDO                                                                                                  FAJARDO
    FAJARDO, PR 00738                                                                                        FAJARDO, PR 00738

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
197 MORALES LOPEZ,                06/28/18   Commonwealth of Puerto         135878             Undetermined* MORALES LOPEZ,             09/17/18   Commonwealth of Puerto    167220       Undetermined*
    ALEXIS G.                                Rico                                                            ALEXIS G.                             Rico
    HC-72 BOX-3708                           17 BK 03283-LTS                                                 HC-72 BOX 3708                        17 BK 03283-LTS
    NARANJITO, PR 00719                                                                                      NARANJITO, PR 00719

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
198 MORALES MARTINEZ,             07/02/18   Commonwealth of Puerto         107852                $ 35,096.00 MORALES MARTINEZ,         07/02/18   Commonwealth of Puerto    120292          $ 35,096.00
    MARIA C.                                 Rico                                                             MARIA C.                             Rico
    PO BOX 31148 65 INF                      17 BK 03283-LTS                                                  P.O. BOX 31148 65 INF                17 BK 03283-LTS
    SAN JUAN, PR 00929-2148                                                                                   SAN JUAN, PR 00929-2148

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
199 MORALES MELENDEZ,             07/02/18   Commonwealth of Puerto         109260             Undetermined* MORALES MELENDEZ,          07/06/18   Commonwealth of Puerto    158498       Undetermined*
    JOSE L.                                  Rico                                                            JOSE L.                               Rico
    RR 4 BUZON 2824                          17 BK 03283-LTS                                                 RR #4 BUZON 2824                      17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 39 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
200 MORALES MELENDEZ,             07/02/18   Commonwealth of Puerto         151285               $ 25,000.00* MORALES MELENDEZ,      07/03/18   Commonwealth of Puerto    134405         $ 25,000.00*
    JOSE L.                                  Rico                                                             JOSE L.                           Rico
    RR 4 # BUZON 2824                        17 BK 03283-LTS                                                  RR #4 BUZON 2824                  17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                         BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
201 MORALES MORALES,              05/08/18   Commonwealth of Puerto         12366                $ 18,837.28* MORALES MORALES,       05/08/18   Commonwealth of Puerto    12829          $ 18,837.28*
    HECTOR M                                 Rico                                                             HECTOR M                          Rico
    PO BOX 1766                              17 BK 03283-LTS                                                  PO BOX 1766                       17 BK 03283-LTS
    CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729-
                                                                                                              1766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
202 MORALES MORALES,              06/28/18   Commonwealth of Puerto         65529              Undetermined* MORALES MORALES,        06/29/18   Commonwealth of Puerto    147146       Undetermined*
    ILDEFONSO                                Rico                                                            ILDEFONSO                          Rico
    PO BOX 63                                17 BK 03283-LTS                                                 PO BOX 63                          17 BK 03283-LTS
    CASTANER, PR 00631                                                                                       CASTANER, PR 00631

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
203 MORALES MURILLO,              06/29/18   Commonwealth of Puerto         125793             Undetermined* MORALES MURILLO,        06/29/18   Commonwealth of Puerto    163025       Undetermined*
    JEANNETTE                                Rico                                                            JEANNETTE                          Rico
    16 CALLE EUSTOQUIO                       17 BK 03283-LTS                                                 16 CEUSTOQUIO                      17 BK 03283-LTS
    TORRES                                                                                                   TORRES
    GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
204 MORALES NEGRÓN,               06/28/18   Commonwealth of Puerto         60430              Undetermined* MORALES NEGRÓN,         06/28/18   Commonwealth of Puerto    69740        Undetermined*
    DELIRIS                                  Rico                                                            DELIRIS                            Rico
    HC-74 BOX 6151                           17 BK 03283-LTS                                                 HC-74 BOX 6151                     17 BK 03283-LTS
    NARANJITO, PR 00719                                                                                      NARANJITO, PR 00719

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
205 MORALES OCANA,                02/09/18   Commonwealth of Puerto           446                 $ 37,638.17 MORALES OCANA,         02/09/18   Commonwealth of Puerto     478            $ 37,638.17
    NILSA IVETTE                             Rico                                                             NILSA IVETTE                      Rico
    D-21 CALLE H URB.                        17 BK 03283-LTS                                                  D-21 CALLE H URB.                 17 BK 03283-LTS
    GOLDEN GATE II                                                                                            GOLDEN GATE II
    CAGUAS, PR 00727                                                                                          CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 40 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
206 MORALES PADILLA,              06/28/18   Commonwealth of Puerto         78178                 $ 11,200.00 MORALES PADILLA,      06/29/18   Commonwealth of Puerto    143709          $ 11,200.00
    YESENIA                                  Rico                                                             YESENIA                          Rico
    HC-04 BOX 7033                           17 BK 03283-LTS                                                  HC-04 BOX 7033                   17 BK 03283-LTS
    COROZAL, PR 00783                                                                                         COROZAL, PR 00783

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
207 MORALES PAGAN,                06/29/18   Commonwealth of Puerto         102372             Undetermined* MORALES PAGAN,         06/29/18   Commonwealth of Puerto    107739       Undetermined*
    YOLANDA                                  Rico                                                            YOLANDA                           Rico
    HC 05 BOX 6772                           17 BK 03283-LTS                                                 HC-05 BOX 6772                    17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
208 MORALES PEREZ,                04/06/18   Commonwealth of Puerto          5292              Undetermined* MORALES PEREZ,         04/09/18   Commonwealth of Puerto    6271         Undetermined*
    EDGARDO                                  Rico                                                            EDGARDO                           Rico
    #3 EXT JARDINES DE                       17 BK 03283-LTS                                                 3 EXT JARD DE AGUADA              17 BK 03283-LTS
    AGUADA                                                                                                   AGUADA, PR 00602
    AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
209 MORALES PEREZ,                06/29/18   Commonwealth of Puerto         79306              Undetermined* MORALES PEREZ,         06/29/18   Commonwealth of Puerto    147976       Undetermined*
    WANDA I.                                 Rico                                                            WANDA I.                          Rico
    PO BOX 63                                17 BK 03283-LTS                                                 PO BOX 63                         17 BK 03283-LTS
    CASTANER, PR 00631                                                                                       CASTANER, PR 00631

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
210 MORALES PINEIRO,              07/02/18   Commonwealth of Puerto         124038             Undetermined* MORALES PINEIRO,       07/02/18   Commonwealth of Puerto    152538       Undetermined*
    CHASITY A.                               Rico                                                            CHASITY A.                        Rico
    URB VALENCIA                             17 BK 03283-LTS                                                 URB. VALENCIA                     17 BK 03283-LTS
    AK 25 CALLE 11                                                                                           AK 25 CALLE 11
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
211 MORALES PINEIRO,              07/02/18   Commonwealth of Puerto         143674             Undetermined* MORALES PINEIRO,       07/02/18   Commonwealth of Puerto    152538       Undetermined*
    CHASITY A.                               Rico                                                            CHASITY A.                        Rico
    URB. VALENCIA                            17 BK 03283-LTS                                                 URB. VALENCIA                     17 BK 03283-LTS
    AK 25 CALLE 11                                                                                           AK 25 CALLE 11
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 41 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
212 MORALES PINEIRO,              07/02/18   Commonwealth of Puerto         148469             Undetermined* MORALES PINEIRO,           07/02/18   Commonwealth of Puerto    152538       Undetermined*
    CHASITY A.                               Rico                                                            CHASITY A.                            Rico
    URB. VALENCIA                            17 BK 03283-LTS                                                 URB. VALENCIA                         17 BK 03283-LTS
    AK 25 CALLE 11                                                                                           AK 25 CALLE 11
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
213 MORALES RAMOS,                06/25/18   Commonwealth of Puerto         88160              Undetermined* MORALES RAMOS,             06/27/18   Commonwealth of Puerto    128089       Undetermined*
    BETHSAIDA                                Rico                                                            BETHSAIDA                             Rico
    2224 CALLE 3 F.L REPTO                   17 BK 03283-LTS                                                 2224 CALLE 3 F1                       17 BK 03283-LTS
    A H. PENUELAS                                                                                            REPARTO ALTURASDE
    PENUELAS, PR 00624                                                                                       PENUELAS1
                                                                                                             PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
214 MORALES RIVERA,               06/28/18   Commonwealth of Puerto         117735                $ 1,800.00* MORALES RIVERA,           06/29/18   Commonwealth of Puerto    82505           $ 1,800.00*
    ABNER A.                                 Rico                                                             ABNER A.                             Rico
    CAR 809 KM7 BO CEDRO                     17 BK 03283-LTS                                                  BO CEDRO ARRIBA SEC.                 17 BK 03283-LTS
    AIRIBA                                                                                                    FEIJOO NARANJITO PR
    NARANJITO, PR 00719                                                                                       CAR 809 KM7
                                                                                                              PO BOX 114
                                                                                                              NARANJITO, PR 00719

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
215 MORALES RIVERA,               06/10/18   Commonwealth of Puerto         25441               $ 150,000.00* MORALES RIVERA,           06/10/18   Commonwealth of Puerto    35454         $ 150,000.00*
    EVELYN                                   Rico                                                             EVELYN                               Rico
    ARNALDO H. ELIAS                         17 BK 03283-LTS                                                  ARNALDO H. ELIAS                     17 BK 03283-LTS
    PO BOX 191841                                                                                             PO BOX 191841
    SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
216 MORALES RIVERA,               06/10/18   Commonwealth of Puerto         35446               $ 150,000.00* MORALES RIVERA,           06/10/18   Commonwealth of Puerto    35454         $ 150,000.00*
    EVELYN                                   Rico                                                             EVELYN                               Rico
    ARNALDO H. ELIAS                         17 BK 03283-LTS                                                  ARNALDO H. ELIAS                     17 BK 03283-LTS
    PO BOX 191841                                                                                             PO BOX 191841
    SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 42 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
217 MORALES RIVERA,               06/28/18   Commonwealth of Puerto         59243                 $ 19,200.00 MORALES RIVERA,           07/06/18   Commonwealth of Puerto    158081          $ 19,200.00
    LILLIAM                                  Rico                                                             LILLIAM                              Rico
    HC 8 BOX 82025                           17 BK 03283-LTS                                                  HC 8 BOX 82025                       17 BK 03283-LTS
    SAN SEBASTIÁN, PR                                                                                         SAN SEBASTIAN, PR
    00685                                                                                                     00685-8820

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
218 MORALES RODRIGUEZ,            05/24/18   Commonwealth of Puerto         20824              Undetermined* MORALES RODRIGUEZ,         05/24/18   Commonwealth of Puerto    24137        Undetermined*
    WILMA L                                  Rico                                                            WILMA L                               Rico
    PO BOX 324                               17 BK 03283-LTS                                                 PO BOX 324                            17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
219 MORALES ROSARIO,              05/24/18   Commonwealth of Puerto         19270                $ 63,266.95* MORALES ROSARIO,          05/25/18   Commonwealth of Puerto    22227          $ 63,266.95*
    ELBA                                     Rico                                                             ELBA                                 Rico
    URB SAN IGNACIO                          17 BK 03283-LTS                                                  URB SAN IGNACIO                      17 BK 03283-LTS
    1794 CALLE SAN                                                                                            1794 CALLE SAN
    ALEJANDRO                                                                                                 ALEJANDRO
    SAN JUAN, PR 00927-6816                                                                                   SAN JUAN, PR 00927-6816

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
220 MORALES ROSARIO,              05/24/18   Commonwealth of Puerto         19868                 $ 63,266.95 MORALES ROSARIO,          05/25/18   Commonwealth of Puerto    22227          $ 63,266.95*
    ELBA                                     Rico                                                             ELBA                                 Rico
    URB SAN IGNACIO                          17 BK 03283-LTS                                                  URB SAN IGNACIO                      17 BK 03283-LTS
    1794 CALLE SAN                                                                                            1794 CALLE SAN
    ALEJANDRO                                                                                                 ALEJANDRO
    SAN JUAN, PR 00927-6816                                                                                   SAN JUAN, PR 00927-6816

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
221 MORALES SANTOS,               06/28/18   Commonwealth of Puerto         60595              Undetermined* MORALES SANTOS,            06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                   Rico                                                            MIRIAM                                Rico
    CALLE 10 INTERIOR                        17 BK 03283-LTS                                                 CALLE 10 INTERIOR                     17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                        H42A PARCELAS VAN
    SCOY                                                                                                     SCOY
    BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 43 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
222 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         61932              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
223 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         63234              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
224 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         63283              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
225 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64479              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
226 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64667              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 44 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
227 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64793              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A                                                                                                    H42A PARCELAS VAN
    PARCELAS VAN SCOY                                                                                       SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
228 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64794              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY BAYAMON, PR                                                                                        SCOY
    00957                                                                                                   BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
229 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64798              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
230 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64805              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
231 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64813              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 45 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
232 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64818              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
233 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64821              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
234 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64823              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY                                                                                                    SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
235 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64832              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A                                                                                                    H42A PARCELAS VAN
    PARCELAS VAN SCOY                                                                                       SCOY
    BAYAMON, PR 00957                                                                                       BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
236 MORALES SANTOS,              06/28/18   Commonwealth of Puerto         64841              Undetermined* MORALES SANTOS,     06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                  Rico                                                            MIRIAM                         Rico
    CALLE 10 INTERIOR                       17 BK 03283-LTS                                                 CALLE 10 INTERIOR              17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                       H42A PARCELAS VAN
    SCOY BAYAMON, PR                                                                                        SCOY
    00957                                                                                                   BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 46 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
237 MORALES SANTOS,               06/28/18   Commonwealth of Puerto         64884              Undetermined* MORALES SANTOS,       06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                   Rico                                                            MIRIAM                           Rico
    CALLE 10 INTERIOR                        17 BK 03283-LTS                                                 CALLE 10 INTERIOR                17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                        H42A PARCELAS VAN
    SCOY                                                                                                     SCOY
    BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
238 MORALES SANTOS,               06/28/18   Commonwealth of Puerto         64929              Undetermined* MORALES SANTOS,       06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                   Rico                                                            MIRIAM                           Rico
    CALLE 10 INTERIOR                        17 BK 03283-LTS                                                 CALLE 10 INTERIOR                17 BK 03283-LTS
    H42A                                                                                                     H42A PARCELAS VAN
    PARCELAS VAN SCOY                                                                                        SCOY
    BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
239 MORALES SANTOS,               06/28/18   Commonwealth of Puerto         65033              Undetermined* MORALES SANTOS,       06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                   Rico                                                            MIRIAM                           Rico
    CALLE 10 INTERIOR                        17 BK 03283-LTS                                                 CALLE 10 INTERIOR                17 BK 03283-LTS
    H42A                                                                                                     H42A PARCELAS VAN
    PARCELAS VAN SCOY                                                                                        SCOY
    BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
240 MORALES SANTOS,               06/28/18   Commonwealth of Puerto         65076              Undetermined* MORALES SANTOS,       06/28/18   Commonwealth of Puerto    65173        Undetermined*
    MIRIAM                                   Rico                                                            MIRIAM                           Rico
    CALLE 10 INTERIOR                        17 BK 03283-LTS                                                 CALLE 10 INTERIOR                17 BK 03283-LTS
    H42A PARCELAS VAN                                                                                        H42A PARCELAS VAN
    SCOY                                                                                                     SCOY
    BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
241 MORALES VELEZ,                06/28/18   Commonwealth of Puerto         114633             Undetermined* MORALES VELEZ,        07/03/18   Commonwealth of Puerto    118896       Undetermined*
    GUSTAVO                                  Rico                                                            GUSTAVO                          Rico
    106 GRUBBS BASE                          17 BK 03283-LTS                                                 106 GRUBBS BASE                  17 BK 03283-LTS
    RAMEY                                                                                                    RAMEY
    AGUADILLA, PR 00603                                                                                      AGUADILLA, PR 00603

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 47 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
242 MORALES, ORLANDO              06/28/18   Commonwealth of Puerto         63590              Undetermined* MORALES, ORLANDO        06/29/18   Commonwealth of Puerto    79107        Undetermined*
    DE-10 CALLE 15A                          Rico                                                            DE-10 CALLE 15A                    Rico
    BAIROA                                   17 BK 03283-LTS                                                 BAIROA                             17 BK 03283-LTS
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
243 MULERO VELEZ,                 06/28/18   Commonwealth of Puerto         46302                 $ 20,000.00 MULERO VELEZ,          07/03/18   Commonwealth of Puerto    135535          $ 20,000.00
    ADILEN                                   Rico                                                             ADILEN                            Rico
    RIVER EDGE HILLS 29                      17 BK 03283-LTS                                                  RIVER EDGE HILLS #29              17 BK 03283-LTS
    CALLE RIO MAMEYES                                                                                         CALLE RIO
    LUQUILLO, PR 00773                                                                                        MAMEYES LUQUILLO,
                                                                                                              PR 00773

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
244 MUNICIPIO DE CABO             06/28/18   Commonwealth of Puerto         59290               $ 6,168,298.00 MUNICIPIO DE CABO     07/03/18   Commonwealth of Puerto    144634       $ 6,168,298.00
    ROJO                                     Rico                                                              ROJO                             Rico
    APARTADO 1308                            17 BK 03283-LTS                                                   MUNICIPIO DE CABO                17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                        ROJO
                                                                                                               APARTADO 1308
                                                                                                               CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
245 MUNICIPIO DE GURABO           06/29/18   Commonwealth of Puerto         115285              $ 1,808,011.86 MUNICIPIO DE GURABO   07/06/18   Commonwealth of Puerto    160259       $ 1,808,011.86
    PO BOX 3020                              Rico                                                              PO BOX 3020                      Rico
    GURABO, PR 00778                         17 BK 03283-LTS                                                   GURABO, PR 00778                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
246 MUNIZ GALARZA, JUAN           05/24/18   Commonwealth of Puerto         35349              Undetermined* MUNIZ GALARZA, JUAN     05/24/18   Commonwealth of Puerto    44103        Undetermined*
    PEDRO ORTIZ ALVAREZ                      Rico                                                            PEDRO ORTIZ ALVAREZ                Rico
    LLC                                      17 BK 03283-LTS                                                 LLC                                17 BK 03283-LTS
    PO BOX 9009                                                                                              P.O. BOX 9009
    PONCE, PR 00732                                                                                          PONCE, PR 00732

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
247 MUNIZ GARCIA,                 06/28/18   Commonwealth of Puerto         75666              Undetermined* MUNIZ GARCIA,           07/05/18   Commonwealth of Puerto    155810       Undetermined*
    MIGDALIA                                 Rico                                                            MIGDALIA                           Rico
    RR 01 BOX 2083                           17 BK 03283-LTS                                                 RR01 BOX 2083                      17 BK 03283-LTS
    ANASCO, PR 00610                                                                                         ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 48 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
248 MUNIZ RIVERA, RAMON           05/29/18   Commonwealth of Puerto         36872              Undetermined* MUNIZ RIVERA, RAMON     05/29/18   Commonwealth of Puerto    38290        Undetermined*
    E                                        Rico                                                            E                                  Rico
    PO BOX 1810 PMB 324                      17 BK 03283-LTS                                                 P.O. BOX 1810 PMB 324              17 BK 03283-LTS
    MAYAGUEZ, PR 00681                                                                                       MAYAGUEZ, PR 00681

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
249 MUNIZ RIVERA, RAMON           05/29/18   Commonwealth of Puerto         38127              Undetermined* MUNIZ RIVERA, RAMON     05/29/18   Commonwealth of Puerto    38290        Undetermined*
    E                                        Rico                                                            E                                  Rico
    PO BOX 1810 PMB 324                      17 BK 03283-LTS                                                 P.O. BOX 1810 PMB 324              17 BK 03283-LTS
    MAYAGUEZ, PR 00681                                                                                       MAYAGUEZ, PR 00681

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
250 MUNIZ RODRIGUEZ,              06/06/18   Commonwealth of Puerto         49010              Undetermined* MUNIZ RODRIGUEZ,        06/06/18   Commonwealth of Puerto    49031        Undetermined*
    EMELY                                    Rico                                                            EMELY                              Rico
    BOX 63                                   17 BK 03283-LTS                                                 BOX 63                             17 BK 03283-LTS
    LAS MARIAS, PR 00670                                                                                     LAS MARIAS, PR 00670

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
251 MUNIZ SOTO, IRMA I.           06/29/18   Commonwealth of Puerto         122625             Undetermined* MUNIZ SOTO, JUAN J      06/29/18   Commonwealth of Puerto    167686       Undetermined*
    P.O.BOX 2452                             Rico                                                            P.O. BOX 1168                      Rico
    MOCA, PR 00676                           17 BK 03283-LTS                                                 MOCA, PR 00676                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
252 MUNIZ SOTO, JUAN J.           06/29/18   Commonwealth of Puerto         142815             Undetermined* MUNIZ SOTO, JUAN J.     06/29/18   Commonwealth of Puerto    144286       Undetermined*
    PO BOX 1168                              Rico                                                            PO BOX 1168                        Rico
    MOCA, PR 00676                           17 BK 03283-LTS                                                 MOCA, PR 00676                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
253 MUNOZ BELTRAN,                05/23/18   Commonwealth of Puerto         24836              Undetermined* MUNOZ BELTRAN,          05/23/18   Commonwealth of Puerto    42385        Undetermined*
    ESTRELLA                                 Rico                                                            ESTRELLA                           Rico
    URB BAIROA                               17 BK 03283-LTS                                                 URB BAIROA                         17 BK 03283-LTS
    CM6 CALLE 8                                                                                              CM6 CALLE 8
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 49 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
254 MUNOZ BELTRAN,                05/23/18   Commonwealth of Puerto         25906              Undetermined* MUNOZ BELTRAN,          05/23/18   Commonwealth of Puerto    42385        Undetermined*
    ESTRELLA                                 Rico                                                            ESTRELLA                           Rico
    CALLE 8 C-M-6                            17 BK 03283-LTS                                                 URB BAIROA                         17 BK 03283-LTS
    URB, BAIROA                                                                                              CM6 CALLE 8
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
255 MUNOZ BELTRAN,                05/23/18   Commonwealth of Puerto         42344              Undetermined* MUNOZ BELTRAN,          05/23/18   Commonwealth of Puerto    42385        Undetermined*
    ESTRELLA                                 Rico                                                            ESTRELLA                           Rico
    URB BAIROA                               17 BK 03283-LTS                                                 URB BAIROA                         17 BK 03283-LTS
    CM6 CALLE 8                                                                                              CM6 CALLE 8
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
256 MUNOZ CEDENO,                 06/21/18   Commonwealth of Puerto         83373              Undetermined* MUNOZ CEDENO,           06/26/18   Commonwealth of Puerto    105110       Undetermined*
    MILTHO LADY                              Rico                                                            MILTHO LADY                        Rico
    21 CALLE ELEGANCIA                       17 BK 03283-LTS                                                 U#1 CALLE ELEGANCIA                17 BK 03283-LTS
    PONCE, PR 00730                                                                                          URB GLENVIEW
                                                                                                             GARDENS
                                                                                                             PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
257 MUNOZ CORDOVA, LUIS           05/29/18   Commonwealth of Puerto         32226              Undetermined* MUNOZ CORDOVA, LUIS     05/29/18   Commonwealth of Puerto    32228        Undetermined*
    HC70 BOX 49125                           Rico                                                            HC 70 BOX 49125                    Rico
    SAN LORENZO, PR 00754                    17 BK 03283-LTS                                                 SAN LORENZO, PR 00754              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
258 MUNOZ DIAZ, VILMA S.          06/28/18   Commonwealth of Puerto         119492             Undetermined* MUNOZ DIAZ, VILMA S.    06/28/18   Commonwealth of Puerto    126662       Undetermined*
    5 TOPACIO VILLA                          Rico                                                            5 TOPACIO VILLA                    Rico
    BLANCA                                   17 BK 03283-LTS                                                 BLANCA                             17 BK 03283-LTS
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
259 MUNOZ GONZALEZ,               06/22/18   Commonwealth of Puerto         89010              Undetermined* MUNOZ GONZALEZ,         06/22/18   Commonwealth of Puerto    165805       Undetermined*
    JOAQUIN                                  Rico                                                            JOAQUIN                            Rico
    PO BOX 1378                              17 BK 03283-LTS                                                 PO BOX 1378                        17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 50 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
260 MUNOZ LORENZO,               06/29/18   Commonwealth of Puerto         138650             Undetermined* MUNOZ LORENZO,        06/29/18   Commonwealth of Puerto    160697       Undetermined*
    EDITH                                   Rico                                                            EDITH                            Rico
    7 REPARTO MINERVA                       17 BK 03283-LTS                                                 #7 REPARTO MINERVA               17 BK 03283-LTS
    AGUADA, PR 00602                                                                                        AGUADA, PR 00602

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
261 MURIEL RODRIGUEZ,            05/29/18   Commonwealth of Puerto         32240              Undetermined* MURIEL RODRIGUEZ,     05/29/18   Commonwealth of Puerto    34054        Undetermined*
    ANTONIA                                 Rico                                                            ANTONIA                          Rico
    URB. RIO CRISTAL                        17 BK 03283-LTS                                                 URB RIO CRISTAL                  17 BK 03283-LTS
    CALLE ROBERTO COLE                                                                                      5301 CALLE ROBERTO
    #5301                                                                                                   COLE
    MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
262 MURIEL RODRIGUEZ,            05/29/18   Commonwealth of Puerto         33838              Undetermined* MURIEL RODRIGUEZ,     05/29/18   Commonwealth of Puerto    34054        Undetermined*
    ANTONIA                                 Rico                                                            ANTONIA                          Rico
    URB. RIO CRISTAL                        17 BK 03283-LTS                                                 URB RIO CRISTAL                  17 BK 03283-LTS
    5301 CALLED ROBERTO                                                                                     5301 CALLE ROBERTO
    COLE                                                                                                    COLE
    MAYAGUEZ, PR 00680                                                                                      MAYAGUEZ, PR 00680

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
263 NATAL TRINIDAD,              06/13/18   Commonwealth of Puerto         39297              Undetermined* NATAL TRINIDAD,       06/13/18   Commonwealth of Puerto    40774        Undetermined*
    MARITZA                                 Rico                                                            MARITZA                          Rico
    VILLA PLAMERAS                          17 BK 03283-LTS                                                 VILLA PALMERAS                   17 BK 03283-LTS
    254 CALLE BARTOLOME                                                                                     254 CALLE BARTOLOME
    LAS CASAS                                                                                               LAS CASAS
    SAN JUAN, PR 00915                                                                                      SAN JUAN, PR 00915

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
264 NAVARRO MIRANDA,             02/06/18   Commonwealth of Puerto           438                 $ 35,323.21 NAVARRO MIRANDA,     02/06/18   Commonwealth of Puerto     450            $ 35,323.21
    GLADYS E.                               Rico                                                             GLADYS E.                       Rico
    2M71 CALLE 56 URB.                      17 BK 03283-LTS                                                  2M71 CALLE 56 URB.              17 BK 03283-LTS
    METROPOLIS                                                                                               METROPOLIS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 51 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
265 NAVARRO TYSON,                07/06/18   Commonwealth of Puerto         131157             Undetermined* NAVARRO TYSON,        07/06/18   Commonwealth of Puerto    131859       Undetermined*
    JEANNETTE                                Rico                                                            JEANNETTE                        Rico
    RIVER VIEW                               17 BK 03283-LTS                                                 URB RIVER VIEW                   17 BK 03283-LTS
    ZJ-37 CALLE 34                                                                                           ZJ37 CALLE A34
    BAYAMON, PR 00961                                                                                        BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
266 NAVEDO BORIA, RUTH            06/28/18   Commonwealth of Puerto         44982              Undetermined* NAVEDO BORIA, RUTH    06/28/18   Commonwealth of Puerto    61073        Undetermined*
    M.                                       Rico                                                            M.                               Rico
    P.O. BOX 1485                            17 BK 03283-LTS                                                 P. O. BOX 1485                   17 BK 03283-LTS
    DORADO, PR 00646                                                                                         DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
267 NAVEDO SERATE,                06/27/18   Commonwealth of Puerto         41570                   $ 8,000.00 NAVEDO SERATE,      06/28/18   Commonwealth of Puerto    100002           $ 8,000.00
    BRENDA                                   Rico                                                              BRENDA                         Rico
    PO BOX 1321                              17 BK 03283-LTS                                                   PO BOX 1321                    17 BK 03283-LTS
    TRUJILLO ALTO, PR                                                                                          TRUJILLO ALTO, PR
    00977                                                                                                      00977

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
268 NAZARIO CHACON,               05/29/18   Commonwealth of Puerto         31527              Undetermined* NAZARIO CHACON,       05/29/18   Commonwealth of Puerto    36947        Undetermined*
    BLANCA                                   Rico                                                            BLANCA                           Rico
    CALLE HORTENCIA                          17 BK 03283-LTS                                                 BO BUENAVENTURA                  17 BK 03283-LTS
    BZN 567                                                                                                  567 CALLE HORTENCIA
    CAROLINA, PR 00987                                                                                       APT 314A
                                                                                                             CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
269 NAZARIO MONTALVO,             06/29/18   Commonwealth of Puerto         124884               $ 12,600.00* NAZARIO MONTALVO,    06/29/18   Commonwealth of Puerto    150521         $ 12,600.00*
    AIDA                                     Rico                                                             AIDA                            Rico
    URB. EL VALLE                            17 BK 03283-LTS                                                  CALLE ROSALES #57               17 BK 03283-LTS
    CALLE ROSALES #57                                                                                         URB EL VALLE
    LAJAS, PR 00667                                                                                           LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 52 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
270 NAZARIO PEREZ,                05/09/18   Commonwealth of Puerto         12502              Undetermined* NAZARIO PEREZ,         05/09/18   Commonwealth of Puerto    12556        Undetermined*
    ZULMA                                    Rico                                                            ZULMA                             Rico
    P/O BOX 2308                             17 BK 03283-LTS                                                 PO BOX 2308                       17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769-9998

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
271 NEGRON MOJICA,                05/08/18   Commonwealth of Puerto         12431              Undetermined* NEGRON MOJICA,         05/08/18   Commonwealth of Puerto    12492        Undetermined*
    MODESTA                                  Rico                                                            MODESTA                           Rico
    TRIBUNAL CIRCUITO                        17 BK 03283-LTS                                                 PARCELA CENTRAL                   17 BK 03283-LTS
    APELACIONES                                                                                              332 CARRETERA 874
    268 AV. LUIS MU-OZ                                                                                       CANOVANAS, PR 00729-
    RIVERA                                                                                                   4487
    SAN JUAN, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
272 NEGRON MOJICA,                05/08/18   Commonwealth of Puerto         12446              Undetermined* NEGRON MOJICA,         05/08/18   Commonwealth of Puerto    12492        Undetermined*
    MODESTA                                  Rico                                                            MODESTA                           Rico
    PARCELA CENTRAL 332                      17 BK 03283-LTS                                                 PARCELA CENTRAL                   17 BK 03283-LTS
    CARR 874                                                                                                 332 CARRETERA 874
    CANOVANAS, PR 00729-                                                                                     CANOVANAS, PR 00729-
    4487                                                                                                     4487

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
273 NEGRON PEREZ, DORIS           06/29/18   Commonwealth of Puerto         142061             Undetermined* NEGRON PEREZ, DORIS    06/29/18   Commonwealth of Puerto    151266       Undetermined*
    PO BOX 1006                              Rico                                                            P.O. BOX 1006                     Rico
    VILLALBA, PR 00766                       17 BK 03283-LTS                                                 VILLALBA, PR 00766                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
274 NEGRON PEREZ, DORIS           06/29/18   Commonwealth of Puerto         144398             Undetermined* NEGRON PEREZ, DORIS    06/29/18   Commonwealth of Puerto    149809       Undetermined*
    PO BOX 1006                              Rico                                                            PO BOX 1006                       Rico
    VILLALBA, PR 00766                       17 BK 03283-LTS                                                 VILLALBA, PR 00766                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
275 NEGRON PEREZ, DORIS           06/29/18   Commonwealth of Puerto         147393             Undetermined* NEGRON PEREZ, DORIS    06/29/18   Commonwealth of Puerto    149495       Undetermined*
    PO BOX 1006                              Rico                                                            PO BOX 1006                       Rico
    VILLALBA, PR 00766                       17 BK 03283-LTS                                                 VILLALBA, PR 00766                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 53 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
276 NEGRON PEREZ, DORIS           06/29/18   Commonwealth of Puerto         151922             Undetermined* NEGRON PEREZ, DORIS       06/29/18   Commonwealth of Puerto    166890       Undetermined*
    PO BOX 1006                              Rico                                                            PO BOX 1006                          Rico
    VILLALBA, PR 00769                       17 BK 03283-LTS                                                 VILLALBA, PR 00769                   17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
277 NEGRON QUILES,                05/25/18   Commonwealth of Puerto         22362              Undetermined* NEGRON QUILES,            05/29/18   Commonwealth of Puerto    23585        Undetermined*
    YOLANDA I                                Rico                                                            YOLANDA I                            Rico
    1294 CALLE JUAN BAIZ                     17 BK 03283-LTS                                                 1294 CALLE JUAN BAIZ                 17 BK 03283-LTS
    APTO. 2308                                                                                               APT 2308
    SAN JUAN, PR 00924-4647                                                                                  SAN JUAN, PR 00924-4647

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
278 NEGRON TORRES, IRIS           06/28/18   Commonwealth of Puerto         113297             Undetermined* NEGRON TORRES, IRIS       06/28/18   Commonwealth of Puerto    154468       Undetermined*
    VIOLETA                                  Rico                                                            VIOLETA                              Rico
    R-2 CALLE 14 URB. STA                    17 BK 03283-LTS                                                 R-2 CALLE 14 URB. STA                17 BK 03283-LTS
    JUANS                                                                                                    JUANA
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
279 NEGRON TORRES, IRIS           06/28/18   Commonwealth of Puerto         116716             Undetermined* NEGRON TORRES, IRIS       06/28/18   Commonwealth of Puerto    154468       Undetermined*
    VIOLETA                                  Rico                                                            VIOLETA                              Rico
    R-2 CALLE 14 URB STA                     17 BK 03283-LTS                                                 R-2 CALLE 14 URB. STA                17 BK 03283-LTS
    JUANA                                                                                                    JUANA
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
280 NEGRON TORRES, IRIS           06/28/18   Commonwealth of Puerto         119628             Undetermined* NEGRON TORRES, IRIS       06/28/18   Commonwealth of Puerto    154468       Undetermined*
    VIOLETA                                  Rico                                                            VIOLETA                              Rico
    R-2 CALLE 14 URB STA.                    17 BK 03283-LTS                                                 R-2 CALLE 14 URB. STA                17 BK 03283-LTS
    JUANA                                                                                                    JUANA
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
281 NEGRON TORRES, IRIS           06/28/18   Commonwealth of Puerto         142960             Undetermined* NEGRON TORRES, IRIS       06/28/18   Commonwealth of Puerto    154468       Undetermined*
    VIOLETA                                  Rico                                                            VIOLETA                              Rico
    R-2 CALLE 14 URB. STA.                   17 BK 03283-LTS                                                 R-2 CALLE 14 URB. STA                17 BK 03283-LTS
    JUANA                                                                                                    JUANA
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 54 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
282 NEGRON VAZQUEZ,               06/29/18   Commonwealth of Puerto         73930                 $ 10,000.00 NEGRON VAZQUEZ,           06/29/18   Commonwealth of Puerto    101656         $ 10,000.00*
    JOSEPH                                   Rico                                                             JOSEPH                               Rico
    OSVALDO TOLEDO                           17 BK 03283-LTS                                                  PO BOX 190938                        17 BK 03283-LTS
    MARTINEZ, ESQ.                                                                                            SAN JUAN, PR 00919-0938
    PO BOX 190938
    SAN JUAN, PR 00919-0938

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
283 NERIS CRUZ, MIGUEL A.         06/19/18   Commonwealth of Puerto         86070              Undetermined* NERIS CRUZ, MIGUEL A.      06/19/18   Commonwealth of Puerto    112896       Undetermined*
    URB. LAS CAMPINAS                        Rico                                                            URB LAS CAMPINAS 2                    Rico
    C/2 BONDAD L-18 BZN.                     17 BK 03283-LTS                                                 111 CALLE BONDAD                      17 BK 03283-LTS
    111                                                                                                      LAS PIEDRAS, PR 00771
    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
284 NEVAREZ RIVERA,               05/29/18   Commonwealth of Puerto         32330              Undetermined* NEVAREZ RIVERA,            06/05/18   Commonwealth of Puerto    47463        Undetermined*
    MARICARMEN                               Rico                                                            MARICARMEN                            Rico
    URB CERROMONTE                           17 BK 03283-LTS                                                 C/2 B-25                              17 BK 03283-LTS
    B25 CALLE 2                                                                                              URB. CERROMONTE
    COROZAL, PR 00783                                                                                        COROZAL, PR 00783

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
285 NEVAREZ RIVERA,               05/29/18   Commonwealth of Puerto         37433              Undetermined* NEVAREZ RIVERA,            06/05/18   Commonwealth of Puerto    47463        Undetermined*
    MARICARMEN                               Rico                                                            MARICARMEN                            Rico
    URB CERROMONTE                           17 BK 03283-LTS                                                 C/2 B-25                              17 BK 03283-LTS
    B 25 CALLE 2                                                                                             URB. CERROMONTE
    COROZAL, PR 00783                                                                                        COROZAL, PR 00783

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
286 NICHOLSON MEDINA,             06/28/18   Commonwealth of Puerto         67261                 $ 75,000.00 NICHOLSON MEDINA,         06/28/18   Commonwealth of Puerto    69253           $ 75,000.00
    KENNETH                                  Rico                                                             KENNETH                              Rico
    MANSIONES DEL                            17 BK 03283-LTS                                                  MANSIONES DEL                        17 BK 03283-LTS
    CARIBE CALLE                                                                                              CARIBE
    TOPACIO #356                                                                                              TOPACIO 356
    HUMACAO, PR 00792                                                                                         HUMACAO, PR 00792

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 55 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
287 NIEVES BAEZ, CARMEN           05/21/18   Commonwealth of Puerto         29068                $ 135,207.00 NIEVES BAEZ, CARMEN   05/21/18   Commonwealth of Puerto    35298          $ 135,207.00
    S                                        Rico                                                             S                                Rico
    PO BOX 841                               17 BK 03283-LTS                                                  PO BOX 841                       17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                         YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
288 NIEVES BURGOS,                06/28/18   Commonwealth of Puerto         124995             Undetermined* NIEVES BURGOS,         06/28/18   Commonwealth of Puerto    135220       Undetermined*
    DARITZA                                  Rico                                                            DARITZA                           Rico
    URB PARQUE ECUESTRE                      17 BK 03283-LTS                                                 URB. PARQUE                       17 BK 03283-LTS
    IMPERIAL S-12                                                                                            ECUESTRE IMPERIAL
    CAROLINA, PR 00987                                                                                       S-12
                                                                                                             CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
289 NIEVES BURGOS,                06/28/18   Commonwealth of Puerto         128969             Undetermined* NIEVES BURGOS,         06/28/18   Commonwealth of Puerto    135220       Undetermined*
    DARITZA                                  Rico                                                            DARITZA                           Rico
    URB. PARQUE                              17 BK 03283-LTS                                                 URB. PARQUE                       17 BK 03283-LTS
    ECUESTRE                                                                                                 ECUESTRE IMPERIAL
    IMPERIAL S-12                                                                                            S-12
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
290 NIEVES BURGOS,                06/28/18   Commonwealth of Puerto         134220             Undetermined* NIEVES BURGOS,         06/28/18   Commonwealth of Puerto    135220       Undetermined*
    DARITZA                                  Rico                                                            DARITZA                           Rico
                                             17 BK 03283-LTS                                                 URB. PARQUE                       17 BK 03283-LTS
                                                                                                             ECUESTRE IMPERIAL
                                                                                                             S-12
                                                                                                             CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
291 NIEVES BURGOS, JORGE          06/28/18   Commonwealth of Puerto         122301             Undetermined* NIEVES BURGOS, JORGE   06/28/18   Commonwealth of Puerto    161954       Undetermined*
    URB JARDINES DE                          Rico                                                            URB JARDINES DE                   Rico
    CAPARRA                                  17 BK 03283-LTS                                                 CAPARRA                           17 BK 03283-LTS
    AC-33 CALLE 43-A                                                                                         AC-33 CALLE 43-A
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 56 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
292 NIEVES BURGOS, JORGE          06/28/18   Commonwealth of Puerto         128432             Undetermined* NIEVES BURGOS, JORGE     06/28/18   Commonwealth of Puerto    161954       Undetermined*
    URB JARDINES DE                          Rico                                                            URB JARDINES DE                     Rico
    CAPARRA                                  17 BK 03283-LTS                                                 CAPARRA                             17 BK 03283-LTS
    AC-33 CALLE 43-A                                                                                         AC-33 CALLE 43-A
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
293 NIEVES DELGADO,               06/28/18   Commonwealth of Puerto         65310                 $ 12,500.00 NIEVES DELGADO,         06/28/18   Commonwealth of Puerto    130952          $ 12,500.00
    ABIGAIL                                  Rico                                                             ABIGAIL                            Rico
    URB. TURABO GARDENS                      17 BK 03283-LTS                                                  URB.TURABO GARDENS                 17 BK 03283-LTS
    R9 31 CALLE G                                                                                             R9 31 CALLE G
    CAGUAS, PR 00727-5938                                                                                     CAGUAS, PR 00727-5938

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
294 NIEVES DELGADO,               06/28/18   Commonwealth of Puerto         66063                 $ 12,500.00 NIEVES DELGADO,         06/28/18   Commonwealth of Puerto    130952          $ 12,500.00
    ABIGAIL                                  Rico                                                             ABIGAIL                            Rico
    URB. TURABO GARDENS                      17 BK 03283-LTS                                                  URB.TURABO GARDENS                 17 BK 03283-LTS
    R9 31 CALLE G                                                                                             R9 31 CALLE G
    CAGUAS, PR 00727-5938                                                                                     CAGUAS, PR 00727-5938

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
295 NIEVES FIGUEROA,              06/29/18   Commonwealth of Puerto         73039              Undetermined* NIEVES FIGUEROA,         06/29/18   Commonwealth of Puerto    83243        Undetermined*
    ISRAEL                                   Rico                                                            ISRAEL                              Rico
    RR 7 BOX 2729                            17 BK 03283-LTS                                                 URB. CAMPOS DEL TOA                 17 BK 03283-LTS
    TOA ALTA, PR 00953                                                                                       AZUCENA D-19
                                                                                                             TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
296 NIEVES FIGUEROA,              06/29/18   Commonwealth of Puerto         85716              Undetermined* NIEVES FIGUEROA,         06/29/18   Commonwealth of Puerto    88877        Undetermined*
    ISRAEL                                   Rico                                                            ISRAEL                              Rico
    URB. CAMPOS DEL TOA                      17 BK 03283-LTS                                                 RR 7 BOX 2729                       17 BK 03283-LTS
    AZUCENA D-19                                                                                             URB. CAMPOS
    TOA ALTA, PR 00953                                                                                       DEL TOA AZUCENA D-19
                                                                                                             TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 57 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
297 NIEVES GARCIA, MARIA          06/27/18   Commonwealth of Puerto         52915              Undetermined* NIEVES GARCIA, MARIA    06/27/18   Commonwealth of Puerto    54916        Undetermined*
    J                                        Rico                                                            J                                  Rico
    HC 3 BOX 6608                            17 BK 03283-LTS                                                 HC 3 BOX 6608                      17 BK 03283-LTS
    CALLE ELEUTERIO                                                                                          CALLE ELEUTERIO
    CLAUDIO                                                                                                  CLAUDIO
    BARRIO ESPINOSA                                                                                          BARRIO ESPINOSA
    MAVITO                                                                                                   MAVITO
    DORADO, PR 00646-9103                                                                                    DORADO, PR 00646-9103

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
298 NIEVES GONZALEZ,              05/21/18   Commonwealth of Puerto         17939              Undetermined* NIEVES GONZALEZ,        05/22/18   Commonwealth of Puerto    20145        Undetermined*
    GLADYS                                   Rico                                                            GLADYS                             Rico
    PO BOX 3283                              17 BK 03283-LTS                                                 PO BOX 3283                        17 BK 03283-LTS
    AGUADILLA, PR 00605                                                                                      AGUADILLA, PR 00605

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
299 NIEVES HERNANDEZ,             06/27/18   Commonwealth of Puerto         53110              Undetermined* NIEVES HERNANDEZ,       06/27/18   Commonwealth of Puerto    53234        Undetermined*
    SARA I.                                  Rico                                                            SARA I.                            Rico
    302 PARQUE DEL SOL                       17 BK 03283-LTS                                                 302 PARQUE DEL SOL                 17 BK 03283-LTS
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
300 NIEVES MULERO, HILDA          07/02/18   Commonwealth of Puerto         118804               $ 34,510.33* NIEVES MULERO, HILDA   07/02/18   Commonwealth of Puerto    132811         $ 34,510.33*
    I.                                       Rico                                                             I.                                Rico
    RR-4 BOX 12630                           17 BK 03283-LTS                                                  RR-4 BOX 12630                    17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                         BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
301 NIEVES MULLER,                05/22/18   Commonwealth of Puerto         28151                 $ 48,827.13 NIEVES MULLER,         05/22/18   Commonwealth of Puerto    31211           $ 48,827.13
    ANGEL                                    Rico                                                             ANGEL                             Rico
    HC 3 BOX 14490                           17 BK 03283-LTS                                                  HC 03 BOX 14490                   17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                          AGUAS BUENAS, PR
    00703-8341                                                                                                00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 58 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                             Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
302 NIEVES MULLER,                05/22/18   Commonwealth of Puerto         29305                 $ 48,827.13 NIEVES MULLER,         05/22/18   Commonwealth of Puerto    31211           $ 48,827.13
    ANGEL                                    Rico                                                             ANGEL                             Rico
    HC 02 BOX 13261                          17 BK 03283-LTS                                                  HC 03 BOX 14490                   17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                          AGUAS BUENAS, PR
    00703                                                                                                     00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
303 NIEVES RODRIGUEZ,             06/28/18   Commonwealth of Puerto         117155                  $ 2,472.91 NIEVES RODRIGUEZ,     06/28/18   Commonwealth of Puerto    130380           $ 2,472.91
    ANA I                                    Rico                                                              ANA I                            Rico
    URB QUINTAS DE                           17 BK 03283-LTS                                                   URB QUINTAS DE                   17 BK 03283-LTS
    VILLAMAR                                                                                                   VILLAMAR
    V24 CALLE AZAFRAN                                                                                          V24 CALLE AZAFRAN
    DORADO, PR 00646                                                                                           DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
304 NIEVES RODRIGUEZ,             06/21/18   Commonwealth of Puerto         76053                $ 200,000.00 NIEVES RODRIGUEZ,      06/21/18   Commonwealth of Puerto    83412          $ 200,000.00
    ENIBET                                   Rico                                                             ENIBET                            Rico
    HC 9 BOX 12167                           17 BK 03283-LTS                                                  HC9 BOX 12167                     17 BK 03283-LTS
    AGUADILLA, PR 00603                                                                                       AGUADILLA, PR 00603

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
305 NIEVES RODRIGUEZ,             07/02/18   Commonwealth of Puerto         140936             Undetermined* NIEVES RODRIGUEZ,       07/03/18   Commonwealth of Puerto    105753       Undetermined*
    EVANGELIO                                Rico                                                            EVANGELIO                          Rico
    BDA. POSARELL-                           17 BK 03283-LTS                                                 PO BOX 53                          17 BK 03283-LTS
    SECTOR LAZOS                                                                                             COMERIO, PR 00782
    P.O. BOX 53
    COMERIO, PR 00782

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
306 NIEVES ROMAN, LUIS            06/27/18   Commonwealth of Puerto         56019              Undetermined* NIEVES ROMAN, LUIS      06/27/18   Commonwealth of Puerto    56200        Undetermined*
    RAUL                                     Rico                                                            RAUL                               Rico
    HC03 BOX 6560                            17 BK 03283-LTS                                                 HC 03 BOX 6560                     17 BK 03283-LTS
    DORADO, PR 00646-9510                                                                                    DORADO, PR 00646-9510

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 59 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                            Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
307 NIEVES ROMAN,                 06/27/18   Commonwealth of Puerto         59200                 $ 11,400.00 NIEVES ROMAN,         07/03/18   Commonwealth of Puerto    154794          $ 11,400.00
    MIRIAM                                   Rico                                                             MIRIAM                           Rico
    PO BOX 67                                17 BK 03283-LTS                                                  PO BOX 67                        17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                         SAN SEBASTIAN, PR
    00685                                                                                                     00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
308 NIEVES SIFRE, YADIRA          05/24/18   Commonwealth of Puerto         29646              Undetermined* NIEVES SIFRE, YADIRA   05/29/18   Commonwealth of Puerto    38730        Undetermined*
    HC 6 BOX 66738                           Rico                                                            BO ESPINAL                        Rico
    AGUADILLA, PR 00603                      17 BK 03283-LTS                                                 113 CALLE B                       17 BK 03283-LTS
                                                                                                             AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
309 NIEVES TORRES,                06/25/18   Commonwealth of Puerto         57091              Undetermined* NIEVES TORRES,         06/25/18   Commonwealth of Puerto    71206        Undetermined*
    ALFREDO                                  Rico                                                            ALFREDO                           Rico
    LAS DELICIAS III                         17 BK 03283-LTS                                                 LAS DELICIAS III                  17 BK 03283-LTS
    3730 CALLE A PEREZ                                                                                       3730 CALLE A PEREZ
    PIERRET                                                                                                  PIERRET
    PONCE, PR 00728-3712                                                                                     PONCE, PR 00728-3712

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
310 NIEVES VILLANUEVA,            05/25/18   Commonwealth of Puerto         28051              Undetermined* NIEVES VILLANUEVA,     05/25/18   Commonwealth of Puerto    47093        Undetermined*
    MERCEDES                                 Rico                                                            MERCEDES                          Rico
    CALLE TITO                               17 BK 03283-LTS                                                 777 C TITO RODRIGUEZ              17 BK 03283-LTS
    RODRIGUEZ                                                                                                BARRIO OBRERO
    #777                                                                                                     SAN JUAN, PR 00915
    BO. OBRERO
    SANTURCE, PR 00915

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
311 NOCEDA GONZALEZ,              06/07/18   Commonwealth of Puerto         61615               $ 500,000.00* NOCEDA GONZALEZ,      06/07/18   Commonwealth of Puerto    69562         $ 500,000.00*
    MARILYN                                  Rico                                                             MARILYN                          Rico
    ATTN: JUAN R.                            17 BK 03283-LTS                                                  JUAN R. RODRIGUEZ                17 BK 03283-LTS
    RODRIGUEZ                                                                                                 PO BOX 7693
    PO BOX 7693                                                                                               PONCE, PR 00732
    PONCE, PR 00732

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 60 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                            Desc:
                                                              Exhibit Exhibit A Page 62 of 96

                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
312 NUNEZ CARABALLO,              07/02/18   Commonwealth of Puerto         68355              Undetermined* NUNEZ CARABALLO,       07/02/18   Commonwealth of Puerto    115852       Undetermined*
    EDWIN                                    Rico                                                            EDWIN                             Rico
    CALLE B A-18                             17 BK 03283-LTS                                                 COLINAS VILLA ROSA                17 BK 03283-LTS
    COLINAS DE VILLA                                                                                         A 18 CALLE B
    ROSA                                                                                                     SABANA GRANDE, PR
    SABANA GRANDE, PR                                                                                        00637
    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
313 NUNEZ CARABALLO,              07/02/18   Commonwealth of Puerto         110755             Undetermined* NUNEZ CARABALLO,       07/02/18   Commonwealth of Puerto    115852       Undetermined*
    EDWIN                                    Rico                                                            EDWIN                             Rico
    COLINAS DE VILLA                         17 BK 03283-LTS                                                 COLINAS VILLA ROSA                17 BK 03283-LTS
    ROSA                                                                                                     A 18 CALLE B
    A18 CALLE B                                                                                              SABANA GRANDE, PR
    SABANA GRANDE, PR                                                                                        00637
    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
314 NUNEZ CARABALLO,              07/02/18   Commonwealth of Puerto         112330             Undetermined* NUNEZ CARABALLO,       07/02/18   Commonwealth of Puerto    115852       Undetermined*
    EDWIN                                    Rico                                                            EDWIN                             Rico
    COLINAS VILLA ROSA                       17 BK 03283-LTS                                                 COLINAS VILLA ROSA                17 BK 03283-LTS
    A 18 CALLE B                                                                                             A 18 CALLE B
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
315 NUNEZ MONTANEZ,               05/21/18   Commonwealth of Puerto         17132              Undetermined* NUNEZ MONTANEZ,        05/21/18   Commonwealth of Puerto    17134        Undetermined*
    ROBERTO                                  Rico                                                            ROBERTO                           Rico
    PO BOX 40022                             17 BK 03283-LTS                                                 PO BOX 40022                      17 BK 03283-LTS
    SAN JUAN, PR 00940                                                                                       SAN JUAN, PR 00940

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
316 NUNEZ RIVERA, MAYRA           06/28/18   Commonwealth of Puerto         61664                 $ 38,000.00 NUNEZ RIVERA, MAYRA   06/28/18   Commonwealth of Puerto    118353          $ 38,000.00
    M                                        Rico                                                             M                                Rico
    PO BOX 7977                              17 BK 03283-LTS                                                  PO BOX 7977                      17 BK 03283-LTS
    CAGUAS, PR 00625                                                                                          CAGUAS, PR 00625

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 61 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                          Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
317 OCANA ALEMAN,                 06/29/18   Commonwealth of Puerto         88989              Undetermined* OCANA ALEMAN,        06/29/18   Commonwealth of Puerto    105081       Undetermined*
    NERCIE                                   Rico                                                            NERCIE                          Rico
    URB. LOMAS DE                            17 BK 03283-LTS                                                 URB LOMAS DE                    17 BK 03283-LTS
    CAROLINA                                                                                                 CAROLINA
    L-2__CALLE MONTE                                                                                         L2 CALLE EL MONTE
    MEMBRILLO                                                                                                MEMBRILLO
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
318 OCASIO ACEVEDO,               06/27/18   Commonwealth of Puerto         54950              Undetermined* OCASIO ACEVEDO,      06/27/18   Commonwealth of Puerto    55459        Undetermined*
    NANCY A.                                 Rico                                                            NANCY A.                        Rico
    HC 6 BOX. 61279                          17 BK 03283-LTS                                                 HC 6 BOX. 61279                 17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
319 OCASIO EMANUELLI,             06/28/18   Commonwealth of Puerto         70952              Undetermined* OCASIO EMANUELLI,    06/28/18   Commonwealth of Puerto    73704        Undetermined*
    CARMEN                                   Rico                                                            CARMEN                          Rico
    EST DE COAMO                             17 BK 03283-LTS                                                 ESTANCIAS DE COAMO              17 BK 03283-LTS
    14 CALLE VALVANERA                                                                                       14 ALLE VALVANERA
    COAMO, PR 00769-3623                                                                                     COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
320 OCASIO FONTANEZ,              05/25/18   Commonwealth of Puerto         22234              Undetermined* OCASIO FONTANEZ,     05/25/18   Commonwealth of Puerto    22949        Undetermined*
    DELILAH                                  Rico                                                            DELILAH                         Rico
    URB VISTAS DEL                           17 BK 03283-LTS                                                 URB. VISTAS DEL                 17 BK 03283-LTS
    CONVENTO                                                                                                 CONVENTO
    CALLE 6 2G-17                                                                                            CALLE 6 # 2G-17
    FAJARDO, PR 00738                                                                                        FAJARDO, PR 00738

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
321 OCASIO FONTANEZ,              05/25/18   Commonwealth of Puerto         22475              Undetermined* OCASIO FONTANEZ,     05/25/18   Commonwealth of Puerto    22949        Undetermined*
    DELILAH                                  Rico                                                            DELILAH                         Rico
    URB. VISTAS DEL                          17 BK 03283-LTS                                                 URB. VISTAS DEL                 17 BK 03283-LTS
    CONVENTO                                                                                                 CONVENTO
    CALLE 6 2G-17                                                                                            CALLE 6 # 2G-17
    FAJARDO, PR 00738                                                                                        FAJARDO, PR 00738

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 62 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                               Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
322 OCASIO GARCÍA,                05/21/18   Commonwealth of Puerto         33567              Undetermined* OCASIO GARCÍA,            05/21/18   Commonwealth of Puerto    33569        Undetermined*
    ROBERTO                                  Rico                                                            ROBERTO                              Rico
    PO BOX 9213                              17 BK 03283-LTS                                                 PO BOX 9213                          17 BK 03283-LTS
    HUMACAO, PR 00726                                                                                        HUMACAO, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
323 OCASIO REILLO, IRIS S.        07/27/18   Commonwealth of Puerto         161648                $ 14,000.00 OCASIO REILLO, IRIS S.   07/27/18   Commonwealth of Puerto    161656          $ 14,000.00
    26980 CARR 113                           Rico                                                             26980 CARR. 113                     Rico
    QUEBRADILLAS, PR                         17 BK 03283-LTS                                                  QUEBRADILLAS, PR                    17 BK 03283-LTS
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
324 OCASIO RIOS, JOSE             06/01/18   Commonwealth of Puerto         34142              Undetermined* OCASIO RIOS, JOSE         06/01/18   Commonwealth of Puerto    35254        Undetermined*
    BO DUQUE PARCELA                         Rico                                                            REPARTO SANTIAGO                     Rico
    187                                      17 BK 03283-LTS                                                 D 21 BOX 337                         17 BK 03283-LTS
    PO BOX 337                                                                                               NAGUABO, PR 00718
    NAGUABO, PR 00718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
325 OCASIO RIVERA,                06/28/18   Commonwealth of Puerto         63855              Undetermined* OCASIO RIVERA,            06/28/18   Commonwealth of Puerto    157290       Undetermined*
    ANGELICA                                 Rico                                                            ANGELICA                             Rico
    PO BOX 373                               17 BK 03283-LTS                                                 PO BOX 373                           17 BK 03283-LTS
    ANGELES, PR 00611                                                                                        ANGELES, PR 00611

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
326 OCASIO RODRIGUEZ,             07/02/18   Commonwealth of Puerto         115739             Undetermined* OCASIO RODRIGUEZ,         07/03/18   Commonwealth of Puerto    109725       Undetermined*
    YAZMIN                                   Rico                                                            YAZMIN                               Rico
    RR #4 BUZON 2824                         17 BK 03283-LTS                                                 RR #4 BUZON 2824                     17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
327 OJEDA ADRIAN,                 05/25/18   Commonwealth of Puerto         35750              Undetermined* OJEDA ADRIAN,             05/25/18   Commonwealth of Puerto    35918        Undetermined*
    LILLIAM                                  Rico                                                            LILLIAM                              Rico
    PO BOX 1499                              17 BK 03283-LTS                                                 BO ESPINO                            17 BK 03283-LTS
    ANASCO, PR 00610                                                                                         CARR 109 INT KM 4.12
                                                                                                             INT
                                                                                                             P O BOX 1499
                                                                                                             ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 63 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
328 OJEDA PAGAN, SARIEL           06/26/18   Commonwealth of Puerto         39970              Undetermined* OJEDA PAGAN, SARIEL     06/26/18   Commonwealth of Puerto    41862        Undetermined*
    PO BOX 560604                            Rico                                                            PO BOX 560604                      Rico
    GUAYANILLA, PR 00656                     17 BK 03283-LTS                                                 GUAYANILLA, PR 00656               17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
329 OLAVARRIA TRUJILLO,           06/26/18   Commonwealth of Puerto         52185              Undetermined* OLAVARRIA TRUJILLO,     06/26/18   Commonwealth of Puerto    52876        Undetermined*
    WALESKA                                  Rico                                                            WALESKA                            Rico
    URB. SAN AUGUSTO                         17 BK 03283-LTS                                                 URB. SAN AUGUSTO                   17 BK 03283-LTS
    CALLE HACIENDA LA                                                                                        CALLE HACIENDA LA
    ELIZA B-18                                                                                               ELIZA B-18
    GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
330 OLIVERA BERMUDEZ,             05/30/18   Commonwealth of Puerto         42705              Undetermined* OLIVERA BERMUDEZ,       05/30/18   Commonwealth of Puerto    42713        Undetermined*
    FRANCISCO                                Rico                                                            FRANCISCO                          Rico
    CDR CUETO 11A                            17 BK 03283-LTS                                                 CALLE # 11 DR. CRETO               17 BK 03283-LTS
    UTUADO, PR 00641                                                                                         UTUADO, PR 00641

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
331 OLIVERAS LEBRON,              05/23/18   Commonwealth of Puerto         20930              Undetermined* OLIVERAS LEBRON,        05/23/18   Commonwealth of Puerto    31587        Undetermined*
    EVELYN                                   Rico                                                            EVELYN                             Rico
    COND VILLA                               17 BK 03283-LTS                                                 VILLA PANAMERICANA                 17 BK 03283-LTS
    PANAMERICANA                                                                                             E/D APT 604
    EDIF D APT 604                                                                                           RIO PIEDRAS, PR 00926
    SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
332 OLIVERO ASTACIO,              05/25/18   Commonwealth of Puerto         23403              $ 1,000,025.00* OLIVERO ASTACIO,      05/25/18   Commonwealth of Puerto    26681        $ 1,000,025.00
    IVONNE                                   Rico                                                              IVONNE                           Rico
    PO BOX 6674                              17 BK 03283-LTS                                                   AMAPOLA 3 O 46                   17 BK 03283-LTS
    SANTA ROSA UNIT                                                                                            LOMAS VERDE
    BAYAMON, PR 00960                                                                                          BAYAMON, PR 00619

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 64 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
333 OLIVIERI SANTANA,             06/28/18   Commonwealth of Puerto         112741             Undetermined* OLIVIERI SANTANA,      06/28/18   Commonwealth of Puerto    116742       Undetermined*
    JUANITA                                  Rico                                                            JUANITA                           Rico
    P.O. BOX 2112                            17 BK 03283-LTS                                                 PO BOX 2112                       17 BK 03283-LTS
    CAROLINA, PR 00984-                                                                                      CAROLINA, PR 00984
    2112

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
334 OMEGA ENGINEERING,            05/28/18   Commonwealth of Puerto         24858               $ 7,020,682.11 OMEGA ENGINEERING,   05/29/18   Commonwealth of Puerto    35979        $ 7,020,682.11
    LLC                                      Rico                                                              LLC                             Rico
    OSCAR I RIVERA                           17 BK 03283-LTS                                                   OSCAR I. RIVERA                 17 BK 03283-LTS
    PO BOX 331180                                                                                              PO BOX 331180
    MIAMI, FL 33233-1180                                                                                       MIAMI, FL 33233

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
335 OQUENDO CRUZ,                 06/28/18   Commonwealth of Puerto         123162             Undetermined* OQUENDO CRUZ,          06/29/18   Commonwealth of Puerto    152587       Undetermined*
    CARMEN                                   Rico                                                            CARMEN                            Rico
    L#3 11 ROYAL TOWN                        17 BK 03283-LTS                                                 L#3 11 ROYAL TOWN                 17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
336 OQUENDO OQUENDO,              06/28/18   Commonwealth of Puerto         59173              Undetermined* OQUENDO OQUENDO,       06/28/18   Commonwealth of Puerto    60985        Undetermined*
    CANDIDA R                                Rico                                                            CANDIDA R                         Rico
    HC-02 BOX 6968                           17 BK 03283-LTS                                                 HC 2 BOX 6968                     17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601-
                                                                                                             9668

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
337 OQUENDO VIZCAYA,              05/14/18   Commonwealth of Puerto         11085              Undetermined* OQUENDO VIZCAYA,       05/14/18   Commonwealth of Puerto    14726        Undetermined*
    PEDRO                                    Rico                                                            PEDRO                             Rico
    PO BOX 40022                             17 BK 03283-LTS                                                 PO BOX 40022                      17 BK 03283-LTS
    SAN JUAN, PR 00940                                                                                       SAN JUAN, PR 00940

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
338 OQUENDO VIZCAYA,              05/14/18   Commonwealth of Puerto         14443              Undetermined* OQUENDO VIZCAYA,       05/14/18   Commonwealth of Puerto    14726        Undetermined*
    PEDRO                                    Rico                                                            PEDRO                             Rico
    PO BOX 40022                             17 BK 03283-LTS                                                 PO BOX 40022                      17 BK 03283-LTS
    SAN JUAN, PR 00940                                                                                       SAN JUAN, PR 00940

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 65 of 95
                                      Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                             Desc:
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
339 ORABONA OCASIO,              06/29/18   Commonwealth of Puerto         75416                 $ 16,800.00 ORABONA OCASIO,        07/02/18   Commonwealth of Puerto    112490          $ 16,800.00
    ESTHER                                  Rico                                                             ESTHER                            Rico
    2780 BANKSTONE DRIVE                    17 BK 03283-LTS                                                  2780 BANKSTONE DR.                17 BK 03283-LTS
    APT 160                                                                                                  APT 160
    MARIETTA, GA 30064                                                                                       MARIETTA, GA 30064

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
340 ORAMA BORRERO,               05/25/18   Commonwealth of Puerto         26550              Undetermined* ORAMA BORRERO,          05/25/18   Commonwealth of Puerto    35526        Undetermined*
    YARLIN                                  Rico                                                            YARLIN                             Rico
    HC 1 BOX 4021                           17 BK 03283-LTS                                                 HC-01 4021 CALLEJONES              17 BK 03283-LTS
    CALLE JONES                                                                                             LARES, PR 00669
    LARES, PR 00669

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
341 ORAMA BORRERO,               05/25/18   Commonwealth of Puerto         26577              Undetermined* ORAMA BORRERO,          05/25/18   Commonwealth of Puerto    35526        Undetermined*
    YARLIN                                  Rico                                                            YARLIN                             Rico
    BO CALLEJONES                           17 BK 03283-LTS                                                 HC-01 4021 CALLEJONES              17 BK 03283-LTS
    HC 1 BOX 4021                                                                                           LARES, PR 00669
    LARES, PR 00669

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
342 ORAMA RIVERA,                05/25/18   Commonwealth of Puerto         28665              Undetermined* ORAMA RIVERA,           05/25/18   Commonwealth of Puerto    39445        Undetermined*
    KATHERINE                               Rico                                                            KATHERINE                          Rico
    HC 02 BOX 6080                          17 BK 03283-LTS                                                 HC02 BOX 6080                      17 BK 03283-LTS
    BO. SABANA GRANDE                                                                                       UTUADO, PR 00641
    UTUADO, PR 00641

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
343 ORELLANA PAGAN,              06/28/18   Commonwealth of Puerto         65564                 $ 18,000.00 ORELLANA PAGAN,        06/29/18   Commonwealth of Puerto    148347         $ 18,000.00*
    YOLANDA                                 Rico                                                             YOLANDA                           Rico
    URB PROMISED LAND                       17 BK 03283-LTS                                                  19 CALLE TEL AVIV                 17 BK 03283-LTS
    19 CALLE TELAVIV                                                                                         PROMISED LAND
    NAGUABO, PR 00718-                                                                                       NAGUABO, PR 00718
    2839

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 66 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                              Desc:
                                                              Exhibit Exhibit A Page 68 of 96

                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
344 ORSINI RECIO, WANDA           06/05/18   Commonwealth of Puerto         47821                 $ 70,076.08 ORSINI RECIO, WANDA     06/05/18   Commonwealth of Puerto    47824           $ 70,076.08
    L.                                       Rico                                                             L.                                 Rico
    RR 1 BOX 921                             17 BK 03283-LTS                                                  RR 1 BUZON 921                     17 BK 03283-LTS
    AÑASCO, PR 00610                                                                                          BARRIO PLAYA
                                                                                                              AÑASCO, PR 00610-9742

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
345 ORTA INFANTE,                 07/05/18   Commonwealth of Puerto         43871                $ 20,000.00* ORTA INFANTE,           07/05/18   Commonwealth of Puerto    156292         $ 20,000.00*
    HAYDEE                                   Rico                                                             HAYDEE                             Rico
    PO BOX 221                               17 BK 03283-LTS                                                  P.O. BOX 221                       17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                         SAN SEBASTIAN, PR
    00685-0221                                                                                                00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
346 ORTIZ ACOSTA, HILDA           05/15/18   Commonwealth of Puerto         14767              Undetermined* ORTIZ ACOSTA, HILDA      05/21/18   Commonwealth of Puerto    23643        Undetermined*
    URB. SANTA MARIA                         Rico                                                            URB SANTA MARIA                     Rico
    CALLE 4 E-22                             17 BK 03283-LTS                                                 E22 CALLE 4                         17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
347 ORTIZ ACOSTA, HILDA           05/15/18   Commonwealth of Puerto         15728              Undetermined* ORTIZ ACOSTA, HILDA      05/21/18   Commonwealth of Puerto    23643        Undetermined*
    E-22 CALLE 4                             Rico                                                            URB SANTA MARIA                     Rico
    SAN GERMAN, PR 00683                     17 BK 03283-LTS                                                 E22 CALLE 4                         17 BK 03283-LTS
                                                                                                             SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
348 ORTIZ ACOSTA, HILDA           05/15/18   Commonwealth of Puerto         19560              Undetermined* ORTIZ ACOSTA, HILDA      05/21/18   Commonwealth of Puerto    23643        Undetermined*
    URB SANTA MARIA                          Rico                                                            URB SANTA MARIA                     Rico
    E22 CALLE 4                              17 BK 03283-LTS                                                 E22 CALLE 4                         17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
349 ORTIZ ACOSTA, HILDA           05/15/18   Commonwealth of Puerto         21645              Undetermined* ORTIZ ACOSTA, HILDA      05/21/18   Commonwealth of Puerto    23643        Undetermined*
    URB SANTA MARIA                          Rico                                                            URB SANTA MARIA                     Rico
    E 22 CALLE 4                             17 BK 03283-LTS                                                 E22 CALLE 4                         17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 67 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                             Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
350 ORTIZ BARBOSA,                06/27/18   Commonwealth of Puerto         53017              Undetermined* ORTIZ BARBOSA,          06/29/18   Commonwealth of Puerto    75740        Undetermined*
    SAMUEL                                   Rico                                                            SAMUEL                             Rico
    PO BOX 1339                              17 BK 03283-LTS                                                 P.O. BOX 1339                      17 BK 03283-LTS
    JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
351 ORTIZ COTTO, SIXTA            06/29/18   Commonwealth of Puerto         144040             Undetermined* ORTIZ COTTO, SIXTA      06/29/18   Commonwealth of Puerto    150806       Undetermined*
    P.O. BOX 250                             Rico                                                            PO BOX 250                         Rico
    SECTOR ARANA                             17 BK 03283-LTS                                                 AGUAS BUENAS, PR                   17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                         00703
    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
352 ORTIZ CRUZ, HECTOR            06/29/18   Commonwealth of Puerto         112169             Undetermined* ORTIZ CRUZ, HECTOR      06/29/18   Commonwealth of Puerto    129056       Undetermined*
    BO. BOTIJAS #2 CARR                      Rico                                                            BO. BOTIJAS #2 CARR                Rico
    156 KM 3.3                               17 BK 03283-LTS                                                 KM 3.3                             17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
353 ORTIZ ESPINOSA, LUZ E         06/26/18   Commonwealth of Puerto         93291              Undetermined* ORTIZ ESPINOSA, LUZ E   06/26/18   Commonwealth of Puerto    95359        Undetermined*
    URB LAS CAMPINAS II                      Rico                                                            URB LAS CAMPINAS II                Rico
    15 CALLE PAZ                             17 BK 03283-LTS                                                 15 CALLE PAZ                       17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
354 ORTIZ FIGUEROA,               05/24/18   Commonwealth of Puerto         25536              Undetermined* ORTIZ FIGUEROA,         05/24/18   Commonwealth of Puerto    28626        Undetermined*
    MARCEL                                   Rico                                                            MARCEL                             Rico
    URB. VILLA                               17 BK 03283-LTS                                                 PO BOX 1507                        17 BK 03283-LTS
    BORINQUEN CALLE/                                                                                         CAGUAS, PR 00726
    CASABE G-43
    CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
355 ORTIZ FIGUEROA,               05/24/18   Commonwealth of Puerto         26897              Undetermined* ORTIZ FIGUEROA,         05/24/18   Commonwealth of Puerto    28626        Undetermined*
    MARCEL                                   Rico                                                            MARCEL                             Rico
    PO BOX 1507                              17 BK 03283-LTS                                                 PO BOX 1507                        17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 68 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                                Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
356 ORTIZ FIGUEROA,               05/24/18   Commonwealth of Puerto         28416              Undetermined* ORTIZ FIGUEROA,            05/24/18   Commonwealth of Puerto    28626        Undetermined*
    MARCEL                                   Rico                                                            MARCEL                                Rico
    PO BOX 1507                              17 BK 03283-LTS                                                 PO BOX 1507                           17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
357 ORTIZ FIGUEROA,               05/24/18   Commonwealth of Puerto         28561              Undetermined* ORTIZ FIGUEROA,            05/24/18   Commonwealth of Puerto    28626        Undetermined*
    MARCEL                                   Rico                                                            MARCEL                                Rico
    PO BOX 1507                              17 BK 03283-LTS                                                 PO BOX 1507                           17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
358 ORTIZ GARCIA,                 05/29/18   Commonwealth of Puerto         38276                 $ 8,400.00* ORTIZ GARCIA,             05/29/18   Commonwealth of Puerto    40810           $ 8,400.00*
    MILAGROS                                 Rico                                                             MILAGROS                             Rico
    HC 01 BOX 6382                           17 BK 03283-LTS                                                  HC-01-6382                           17 BK 03283-LTS
    ARROYO, PR 00714                                                                                          ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
359 ORTIZ GUILBE, ROSA            05/25/18   Commonwealth of Puerto         24736                       $ 66.24 ORTIZ GUILBE, ROSA      05/25/18   Commonwealth of Puerto    25087               $ 66.24
    MILAGROS ACEVEDO                         Rico                                                               MILAGROS ACEVEDO                   Rico
    COLON                                    17 BK 03283-LTS                                                    COLON                              17 BK 03283-LTS
    COND COLINA REAL                                                                                            COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                       2000 AVE F RINCON BOX
    1405                                                                                                        1405
    SAN JUAN, PR 00926                                                                                          SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
360 ORTIZ LAUREANO,               06/28/18   Commonwealth of Puerto         63332              Undetermined* ORTIZ LAUREANO,            06/28/18   Commonwealth of Puerto    64179        Undetermined*
    EDWARD                                   Rico                                                            EDWARD                                Rico
    HC 64 BUZON 8106                         17 BK 03283-LTS                                                 HC 64 BUZON 8106                      17 BK 03283-LTS
    PATILLAS, PR 00723                                                                                       PATILLAS, PR 00723

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 69 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
361 ORTIZ LEGRAND, LUIS           03/26/18   Commonwealth of Puerto          2747               $ 500,000.00* ORTIZ LEGRAND, LUIS       03/26/18   Commonwealth of Puerto    4773          $ 500,000.00*
    GABRIEL                                  Rico                                                             GABRIEL                              Rico
    JAIME F. AGRAIT                          17 BK 03283-LTS                                                  BLANCA AGRAIT                        17 BK 03283-LTS
    LLADO                                                                                                     LLADO
    PO BOX 195193                                                                                             PO BOX 195193
    SAN JUAN, PR 00919-5193                                                                                   SAN JUAN, PR 00919-5193

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
362 ORTIZ LOPEZ,                  06/03/18   Commonwealth of Puerto         19154                $ 983,850.00 ORTIZ LOPEZ,              06/03/18   Commonwealth of Puerto    30700          $ 983,850.00
    ZAHAMARA                                 Rico                                                             ZAHAMARA                             Rico
    CARIOCA                                  17 BK 03283-LTS                                                  URB,CARIOCA CALLE                    17 BK 03283-LTS
    C/BALDORIOTY F-10                                                                                         BALDORIOTY F-10
    GUAYAMA, PR 00784                                                                                         GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
363 ORTIZ MALAVE, JOSE A.         07/09/18   Commonwealth of Puerto         148539             Undetermined* ORTIZ MALAVE, JOSE A.      07/09/18   Commonwealth of Puerto    161010       Undetermined*
    R.R. - 1 BOX 10634                       Rico                                                            RR-1 BOX 10634                        Rico
    BO. OROCOVIS                             17 BK 03283-LTS                                                 OROCOVIS, PR 00720                    17 BK 03283-LTS
    OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
364 ORTIZ MARTE, NELDA I.         07/06/18   Commonwealth of Puerto         115351             Undetermined* ORTIZ MARTE, NELDA I.      07/06/18   Commonwealth of Puerto    115876       Undetermined*
    HC 2 BOX 8503                            Rico                                                            HC 2 BOX 8503                         Rico
    BOX 8503                                 17 BK 03283-LTS                                                 YABUCOA, PR 00767-                    17 BK 03283-LTS
    YABUCOA, PR 00767-                                                                                       9506
    9506

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
365 ORTIZ NAZARIO,                06/05/18   Commonwealth of Puerto         48308              Undetermined* ORTIZ NAZARIO,             06/06/18   Commonwealth of Puerto    64859        Undetermined*
    CARLOS R.                                Rico                                                            CARLOS R.                             Rico
    20 CALLE J                               17 BK 03283-LTS                                                 CALLE J # 20                          17 BK 03283-LTS
    ENSENADA, PR 00647                                                                                       ENSENADA, PR 00647

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
366 ORTIZ OCASIO, WANDA           06/28/18   Commonwealth of Puerto         161735             Undetermined* ORTIZ OCASIO, WANDA        06/29/18   Commonwealth of Puerto    81878        Undetermined*
    IVETTE                                   Rico                                                            IVETTE                                Rico
    PO BOX 1299                              17 BK 03283-LTS                                                 PO BOX 1299                           17 BK 03283-LTS
    PATILLAS, PR 00723-1299                                                                                  PATILLAS, PR 00723-1299

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 70 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
367 ORTIZ ORTIZ, IDALIA           06/06/18   Commonwealth of Puerto         49292              Undetermined* ORTIZ ORTIZ, IDALIA      06/06/18   Commonwealth of Puerto    167533       Undetermined*
    PO BOX 1628                              Rico                                                            PO BOX 1628                         Rico
    GUAYAMA, PR 00785-                       17 BK 03283-LTS                                                 GUAYAMA, PR 00785-                  17 BK 03283-LTS
    1628                                                                                                     1628

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
368 ORTIZ PEREZ, DENNISSE         06/27/18   Commonwealth of Puerto         56923              Undetermined* ORTIZ PEREZ, DENNISSE    07/06/18   Commonwealth of Puerto    146702       Undetermined*
    L                                        Rico                                                            L                                   Rico
    10201 STEVEN DR                          17 BK 03283-LTS                                                 10201 STEVEN DR                     17 BK 03283-LTS
    POLK CITY, FL 33868-                                                                                     URB ALAMAR
    8956                                                                                                     POLK CITY, FL 33868

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
369 ORTIZ RAMOS, CARMEN           10/24/18   Commonwealth of Puerto         167824                $ 10,000.00 ORTIZ RAMOS, CARMEN     10/24/18   Commonwealth of Puerto    167825          $ 10,000.00
    D.                                       Rico                                                             D.                                 Rico
    CALLE RAMON PAWER                        17 BK 03283-LTS                                                  CALLE RAMON PAWER                  17 BK 03283-LTS
    3039                                                                                                      3039
    MAYAGUEZ, PR 00682                                                                                        MAYAGUEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
370 ORTIZ RENTAS, JESSICA         05/17/18   Commonwealth of Puerto         16230                $ 33,438.07* ORTIZ RENTAS, JESSICA   05/17/18   Commonwealth of Puerto    16236          $ 33,438.07*
    METROPOLIS                               Rico                                                             9770 VILLAS DE CIUDAD              Rico
    HI15 CALLE 1                             17 BK 03283-LTS                                                  JARDIN                             17 BK 03283-LTS
    CAROLINA, PR 00987                                                                                        CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
371 ORTIZ REYES, DOUGLAS          04/09/18   Commonwealth of Puerto          5084              Undetermined* ORTIZ REYES, DOUGLAS     04/09/18   Commonwealth of Puerto    5854         Undetermined*
    P                                        Rico                                                            P                                   Rico
    HC 3 BOX 10171                           17 BK 03283-LTS                                                 HC3 BOX 10171                       17 BK 03283-LTS
    COMERIO, PR 00782                                                                                        COMERIO, PR 00782

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
372 ORTIZ RIVERA, CHERLY          06/29/18   Commonwealth of Puerto         113729             Undetermined* ORTIZ RIVERA, CHERLY     06/29/18   Commonwealth of Puerto    141614       Undetermined*
    EXT SAN JOSE E-18                        Rico                                                            EXT. SAN JOSE E-18                  Rico
    AIBONITO, PR 00705                       17 BK 03283-LTS                                                 AIBONITO, PR 00705                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 71 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
373 ORTIZ RODRIGUEZ,              06/28/18   Commonwealth of Puerto         111928                $ 9,600.00* ORTIZ RODRIGUEZ,       06/28/18   Commonwealth of Puerto    121091          $ 9,600.00*
    HILDA                                    Rico                                                             HILDA                             Rico
    PO BOX 952                               17 BK 03283-LTS                                                  PO BOX 952                        17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                      SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
374 ORTIZ RODRIGUEZ,              07/20/18   Commonwealth of Puerto         132557               $ 19,200.00* ORTIZ RODRIGUEZ,       07/20/18   Commonwealth of Puerto    133905          $ 19,200.00
    MARIA DEL CARMEN                         Rico                                                             MARIA DEL CARMEN                  Rico
    PO BOX 631                               17 BK 03283-LTS                                                  PO BOX 631                        17 BK 03283-LTS
    LAJAS, PR 00667-0631                                                                                      LAJAS, PR 00667-0631

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
375 ORTIZ ROSADO, ANA E.          06/28/18   Commonwealth of Puerto         57568              Undetermined* ORTIZ ROSADO, ANA E.    07/03/18   Commonwealth of Puerto    139800       Undetermined*
    P.O. BOX 1826                            Rico                                                            P.O. BOX 1826                      Rico
    COAMO, PR 00769                          17 BK 03283-LTS                                                 MANSIONES DE COAMO                 17 BK 03283-LTS
                                                                                                             CALLE REAL B-10
                                                                                                             COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
376 ORTIZ RUIZ, MERIDA            06/28/18   Commonwealth of Puerto         60416              Undetermined* ORTIZ RUIZ, MERIDA      06/29/18   Commonwealth of Puerto    83681        Undetermined*
    URB. VILLA                               Rico                                                            URB. VILLA                         Rico
    GUADALUPE                                17 BK 03283-LTS                                                 GUADALUPE                          17 BK 03283-LTS
    CALLE 18 BB-11                                                                                           CALLE 18 BB-11
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
377 ORTIZ RUIZ, MERIDA            06/29/18   Commonwealth of Puerto         77482              Undetermined* ORTIZ RUIZ, MERIDA      06/29/18   Commonwealth of Puerto    83681        Undetermined*
    URB. VILLA                               Rico                                                            URB. VILLA                         Rico
    GUADALUPE                                17 BK 03283-LTS                                                 GUADALUPE                          17 BK 03283-LTS
    CALLE 18 BB-11                                                                                           CALLE 18 BB-11
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 72 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                                Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
378 ORTIZ SANABRIA, LUIS          06/25/18   Commonwealth of Puerto         48458               $ 475,000.00* ORTIZ SANABRIA, LUIS      06/25/18   Commonwealth of Puerto    48594         $ 475,000.00*
    M.                                       Rico                                                             M.                                   Rico
    FERMIN ARRAIZA                           17 BK 03283-LTS                                                  LCDO. FERMIN                         17 BK 03283-LTS
    NAVAS                                                                                                     ARRAIZA NAVAS
    PO BOX 194876                                                                                             P.O. BOX 194876
    SAN JUAN, PR 00919-4876                                                                                   SAN JUAN, PR 00919-4876

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
379 ORTIZ SANCHEZ,                05/25/18   Commonwealth of Puerto         31881              Undetermined* ORTIZ SANCHEZ,             05/25/18   Commonwealth of Puerto    33420        Undetermined*
    REBECA                                   Rico                                                            REBECA                                Rico
    P O BOX 279                              17 BK 03283-LTS                                                 PO BOX 279                            17 BK 03283-LTS
    BARCELONETA, PR                                                                                          BARCELONETA, PR
    00617                                                                                                    00617

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
380 ORTIZ SANTIAGO,               05/25/18   Commonwealth of Puerto         39935              Undetermined* ORTIZ SANTIAGO,            05/30/18   Commonwealth of Puerto    44747        Undetermined*
    CARMEN                                   Rico                                                            CARMEN                                Rico
    URB CIUDAD MASSO                         17 BK 03283-LTS                                                 URB CIUDAD MASSO                      17 BK 03283-LTS
    7 J6                                                                                                     J 6 CALLE 7
    SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
381 ORTIZ SANTIAGO,               06/06/18   Commonwealth of Puerto         51251              Undetermined* ORTIZ SANTIAGO,            06/06/18   Commonwealth of Puerto    51262        Undetermined*
    JORGE I.                                 Rico                                                            JORGE I.                              Rico
    PO BOX 8675                              17 BK 03283-LTS                                                 PO BOX 8675                           17 BK 03283-LTS
    HUMACAO, PR 00792-                                                                                       HUMACAO, PR 00792
    8675

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
382 ORTIZ TORRES, ERIC R          04/16/18   Commonwealth of Puerto          7313              Undetermined* ORTIZ TORRES, ERIC R       04/16/18   Commonwealth of Puerto    7452         Undetermined*
    URB. PROVINCIAS DEL                      Rico                                                            113 URB PROVINCIAS                    Rico
    RIO 1 #113                               17 BK 03283-LTS                                                 DEL RIO 1                             17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 73 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                                Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
383 ORTIZ VAZQUEZ,                07/02/18   Commonwealth of Puerto         114806             Undetermined* ORTIZ VAZQUEZ,             07/03/18   Commonwealth of Puerto    123334       Undetermined*
    BENITA                                   Rico                                                            BENITA                                Rico
    BDA. PASARELL-                           17 BK 03283-LTS                                                 PO BOX 53                             17 BK 03283-LTS
    SECTOR LAZOS                                                                                             COMERIO, PR 00782
    PO BOX 53
    COMERIO, PR 00782

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
384 ORTIZ VELEZ, BRENDA           05/25/18   Commonwealth of Puerto         27040              Undetermined* ORTIZ VELEZ, BRENDA        05/29/18   Commonwealth of Puerto    40089        Undetermined*
    LA MONTA A                               Rico                                                            45 ROBERTO CLEMENTE                   Rico
    45 CALLE ROBERTO                         17 BK 03283-LTS                                                 ENSENADA, PR 00647                    17 BK 03283-LTS
    CLEMENTE
    ENSENADA, PR 00647

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
385 ORTIZ VELEZ, BRENDA           05/29/18   Commonwealth of Puerto         40838              Undetermined* ORTIZ VELEZ, BRENDA        05/29/18   Commonwealth of Puerto    40089        Undetermined*
    LA MONTANA                               Rico                                                            45 ROBERTO CLEMENTE                   Rico
    45 CALLE ROBERTO                         17 BK 03283-LTS                                                 ENSENADA, PR 00647                    17 BK 03283-LTS
    CLEMENTE
    ENSENADA, PR 00647

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
386 ORTIZ ZAYAS, ISANDER          06/21/18   Commonwealth of Puerto         58304                   $ 400.00* ORTIZ ZAYAS, ISANDER      06/21/18   Commonwealth of Puerto    59812            $ 400.00*
    PO BOX 40177                             Rico                                                             PO BOX 40177                         Rico
    SAN JUAN, PR 00940-0177                  17 BK 03283-LTS                                                  SAN JUAN, PR 00940-0177              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
387 OSTOLAZA MUNOZ,               05/15/18   Commonwealth of Puerto         19922              Undetermined* OSTOLAZA MUNOZ,            05/15/18   Commonwealth of Puerto    22887        Undetermined*
    ERMELINDO                                Rico                                                            ERMELINDO                             Rico
    PO BOX 75                                17 BK 03283-LTS                                                 BO FELICIA 36                         17 BK 03283-LTS
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
388 OSTOLAZA MUNOZ,               05/15/18   Commonwealth of Puerto         21042              Undetermined* OSTOLAZA MUNOZ,            05/15/18   Commonwealth of Puerto    22887        Undetermined*
    ERMELINDO                                Rico                                                            ERMELINDO                             Rico
    PO BOX 75                                17 BK 03283-LTS                                                 BO FELICIA 36                         17 BK 03283-LTS
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 74 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                            Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
389 OTERO MUNIZ,                  06/29/18   Commonwealth of Puerto         79517              Undetermined* OTERO MUNIZ,           06/29/18   Commonwealth of Puerto    145005       Undetermined*
    OSVALDO                                  Rico                                                            OSVALDO                           Rico
    HC 02 BOX 22402                          17 BK 03283-LTS                                                 HC 02 BOX 22402                   17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
390 OTERO MUNIZ,                  06/29/18   Commonwealth of Puerto         131646             Undetermined* OTERO MUNIZ,           06/29/18   Commonwealth of Puerto    145005       Undetermined*
    OSVALDO                                  Rico                                                            OSVALDO                           Rico
    HC 02 BOX 22402                          17 BK 03283-LTS                                                 HC 02 BOX 22402                   17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
391 OTERO RIVERA,                 07/05/18   Commonwealth of Puerto         145519             Undetermined* OTERO RIVERA,          07/05/18   Commonwealth of Puerto    156444       Undetermined*
    AWILDA                                   Rico                                                            AWILDA                            Rico
    URB. ALTURAS DE                          17 BK 03283-LTS                                                 URB. ALTURAS DE                   17 BK 03283-LTS
    VEGA BAJA AA-DD#15                                                                                       VEGA BAJA
    VEGA BAJA, PR 00693                                                                                      AA-DD#15
                                                                                                             VEGA BAJA, PR 00693

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
392 OUTEK CARIBBEAN               06/25/18   Commonwealth of Puerto         37516                   $ 3,879.85 OUTEK CARIBBEAN      07/02/18   Commonwealth of Puerto    152821           $ 3,879.85
    DISTRIBUTORS, INC.                       Rico                                                              DISTRIBUTORS, INC.              Rico
    1605 AVE JESUS T.                        17 BK 03283-LTS                                                   1605 AVE JESUS T.               17 BK 03283-LTS
    PIÑERO                                                                                                     PIÑERO
    SAN JUAN, PR 00921                                                                                         SAN JUAN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
393 OUTEK CARIBBEAN               07/02/18   Commonwealth of Puerto         141192                  $ 3,879.85 OUTEK CARIBBEAN      07/02/18   Commonwealth of Puerto    152821           $ 3,879.85
    DISTRIBUTORS, INC.                       Rico                                                              DISTRIBUTORS, INC.              Rico
    1605 AVE JESUS T.                        17 BK 03283-LTS                                                   1605 AVE JESUS T.               17 BK 03283-LTS
    PIÑERO                                                                                                     PIÑERO
    SAN JUAN, PR 00921                                                                                         SAN JUAN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 75 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
394 OYOLA CRUZ, CARMEN            05/29/18   Commonwealth of Puerto         37891                 $ 29,040.00 OYOLA CRUZ, CARMEN        05/29/18   Commonwealth of Puerto    43330           $ 29,040.00
    J.                                       Rico                                                             J.                                   Rico
    PASEO DE SAN                             17 BK 03283-LTS                                                  PASEO DE SAN                         17 BK 03283-LTS
    LORENZO                                                                                                   LORENZO
    405 CALLE ESMERALDA                                                                                       405 C/ESMERALDA
    SAN LORENZO, PR 00754                                                                                     SAN LORENZO, PR 00754
    -9939

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
395 OYOLA CRUZ, MILDRED           06/29/18   Commonwealth of Puerto         87874              Undetermined* OYOLA CRUZ, MILDRED        07/05/18   Commonwealth of Puerto    111282       Undetermined*
    APARTADO 141853                          Rico                                                            APARTADO 141853                       Rico
    ARECIBO, PR 00614                        17 BK 03283-LTS                                                 ARECIBO, PR 00614                     17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
396 P.D.C.M ASSOCIATES,           05/26/18   Commonwealth of Puerto         30402                $ 437,284.26 P.D.C.M ASSOCIATES,       05/27/18   Commonwealth of Puerto    27682          $ 437,284.26
    S.E.                                     Rico                                                             S.E.                                 Rico
    PO BOX 190858                            17 BK 03283-LTS                                                  PO BOX 190858                        17 BK 03283-LTS
    SAN JUAN, PR 00919-0858                                                                                   SAN JUAN, PR 00919-0858

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
397 P.D.C.M. ASSOCIATES,          05/28/18   Commonwealth of Puerto         27103                $ 214,604.27 P.D.C.M. ASSOCIATES,      05/28/18   Commonwealth of Puerto    29610          $ 214,604.27
    S.E.                                     Rico                                                             S.E.                                 Rico
    PO BOX 190858                            17 BK 03283-LTS                                                  PO BOX 190858                        17 BK 03283-LTS
    SAN JUAN, PR 00919-0858                                                                                   SAN JUAN, PR 00919-0858

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
398 PABON BERNARD,                05/18/18   Commonwealth of Puerto         16579                $ 156,960.00 PABON BERNARD,            05/18/18   Commonwealth of Puerto    16839          $ 156,960.00
    JORGE                                    Rico                                                             JORGE                                Rico
    URB. JESUS M. LAGO                       17 BK 03283-LTS                                                  URB. JESUS M. LAGO J -               17 BK 03283-LTS
    J-12                                                                                                      12
    CALLE BERTA ROIG                                                                                          UTUADO, PR 00641
    UTUADO, PR 00641-2418

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 76 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                             Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
399 PABON BERNARD,                05/18/18   Commonwealth of Puerto         16218                $ 156,960.00 PABON BERNARD,         05/18/18   Commonwealth of Puerto    16863          $ 156,960.00
    JORGE A                                  Rico                                                             JORGE A                           Rico
    J 12 URB JESUS MARIA                     17 BK 03283-LTS                                                  J 12 URB JESUS MARIA              17 BK 03283-LTS
    LAGO                                                                                                      LAGO
    UTUADO, PR 00641                                                                                          UTUADO, PR 00641

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
400 PABON PEREZ, CARMEN           06/28/18   Commonwealth of Puerto         72345              Undetermined* PABON PEREZ, CARMEN     06/29/18   Commonwealth of Puerto    75948        Undetermined*
    DELIA                                    Rico                                                            DELIA                              Rico
    C-11 CALLE 28 VILLA                      17 BK 03283-LTS                                                 CARMEN D PABON                     17 BK 03283-LTS
    DEL REY 5                                                                                                PEREZ
    CAGUAS, PR 00727                                                                                         CALLE 28 C-11 VILLA
                                                                                                             DEL REY 5
                                                                                                             CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
401 PACHECO FIGUEROA,             06/28/18   Commonwealth of Puerto         59354                 $ 15,000.00 PACHECO FIGUEROA,      07/03/18   Commonwealth of Puerto    116629          $ 15,000.00
    ROSA M                                   Rico                                                             ROSA M                            Rico
    CALLE 25 Y 1331 URB.                     17 BK 03283-LTS                                                  CALLE 25 Y 1331 URB.              17 BK 03283-LTS
    ALTURAS DE RIO                                                                                            ALTURAS DE RIO
    GRANDE                                                                                                    GRANDE
    RIO GRANDE, PR 00745                                                                                      RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
402 PACHECO GUADALUPE,            06/29/18   Commonwealth of Puerto         109836             Undetermined* PACHECO GUADALUPE,      06/29/18   Commonwealth of Puerto    124689       Undetermined*
    MELVIN                                   Rico                                                            MELVIN                             Rico
    PO BOX 670                               17 BK 03283-LTS                                                 P.O. BOX 670                       17 BK 03283-LTS
    PENUELAS, PR 00624                                                                                       PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
403 PACHECO VALEDÓN,              06/29/18   Commonwealth of Puerto         64528              Undetermined* PACHECO VALEDÓN,        06/29/18   Commonwealth of Puerto    99242        Undetermined*
    ANGEL LUIS                               Rico                                                            ANGEL LUIS                         Rico
    URB. SAN CARLOS A9                       17 BK 03283-LTS                                                 URB. SAN CARLOS A9                 17 BK 03283-LTS
    CÍRCULO SAN JOSÉ                                                                                         CÍRCULO SAN JOSÉ
    AGUADILLA, PR 00603-                                                                                     AGUADILLA, PR 00603
    5881

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 77 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
404 PADILLA CANCEL,               05/29/18   Commonwealth of Puerto         32838              Undetermined* PADILLA CANCEL,          05/29/18   Commonwealth of Puerto    33629        Undetermined*
    ELDA M.                                  Rico                                                            ELDA M.                             Rico
    PO BOX 2975                              17 BK 03283-LTS                                                 PO BOX 2975                         17 BK 03283-LTS
    MAYAGUEZ, PR 00681                                                                                       MAYAGUEZ, PR 00681

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
405 PADILLA CRUZ, NADINA          06/25/18   Commonwealth of Puerto         71479              Undetermined* PADILLA CRUZ, NADINA     06/25/18   Commonwealth of Puerto    90969        Undetermined*
    686 E CARRCOZ                            Rico                                                            686 E CARR 102                      Rico
    CABO ROJO, PR 00623                      17 BK 03283-LTS                                                 CABO ROJO, PR 00623                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
406 PADILLA QUINONES,             06/29/18   Commonwealth of Puerto         77406              Undetermined* PADILLA QUINONES,        07/03/18   Commonwealth of Puerto    88886        Undetermined*
    BENIGNO                                  Rico                                                            BENIGNO                             Rico
    HC 2 BOX 10414                           17 BK 03283-LTS                                                 HC 2 BOX 10414                      17 BK 03283-LTS
    YAUCO, PR 00698-9746                                                                                     YAUCO, PR 00698-9746

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
407 PADILLA TORRES, ELIO          06/28/18   Commonwealth of Puerto         114914                      $ 0.00 PADILLA TORRES, ELIO   06/28/18   Commonwealth of Puerto    125590       Undetermined*
    J.                                       Rico                                                              J.                                Rico
    VALLE DE TIERRAS                         17 BK 03283-LTS                                                   URB VALLE DE TIERRA               17 BK 03283-LTS
    NUEVAS                                                                                                     NUEVAS
    11 CALLE CAOBA                                                                                             #11 CALLE CAOBA
    MANATI, PR 00674                                                                                           MANATI, PR 00674

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
408 PADILLA VALLE,                05/29/18   Commonwealth of Puerto         24279              Undetermined* PADILLA VALLE,           05/29/18   Commonwealth of Puerto    37442        Undetermined*
    EILEEN                                   Rico                                                            EILEEN                              Rico
    PUERTO REAL                              17 BK 03283-LTS                                                 CALLE 1 #581                        17 BK 03283-LTS
    581 CALLE 1                                                                                              PUERTO REAL
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
409 PADILLA VALLE,                05/29/18   Commonwealth of Puerto         36795              Undetermined* PADILLA VALLE,           05/29/18   Commonwealth of Puerto    37442        Undetermined*
    EILEEN                                   Rico                                                            EILEEN                              Rico
    PUERTO REAL                              17 BK 03283-LTS                                                 CALLE 1 #581                        17 BK 03283-LTS
    581 CALLE 1                                                                                              PUERTO REAL
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 78 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
410 PADILLA VELEZ,                05/25/18   Commonwealth of Puerto         25646              $ 1,485,600.00* PADILLA VELEZ,        05/29/18   Commonwealth of Puerto    37951        $ 1,485,600.00*
    ANIBAL                                   Rico                                                              ANIBAL                           Rico
    LUIS A FERNANDEZ                         17 BK 03283-LTS                                                   LUIS A FERNANDEZ                 17 BK 03283-LTS
    DOMENECH                                                                                                   DOMENECH
    PO BOX 1768                                                                                                PO BOX 1768
    CABO ROJO, PR 00623                                                                                        CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
411 PADILLA VELEZ,                05/29/18   Commonwealth of Puerto         33556              $ 1,485,600.00* PADILLA VELEZ,        05/29/18   Commonwealth of Puerto    37951        $ 1,485,600.00*
    ANIBAL                                   Rico                                                              ANIBAL                           Rico
    LUIS A FERNANDEZ                         17 BK 03283-LTS                                                   LUIS A FERNANDEZ                 17 BK 03283-LTS
    DOMENECH                                                                                                   DOMENECH
    PO BOX 1768                                                                                                PO BOX 1768
    CABO ROJO, PR 00623                                                                                        CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
412 PADILLA VELEZ,                05/25/18   Commonwealth of Puerto         44465              $ 1,485,600.00* PADILLA VELEZ,        05/29/18   Commonwealth of Puerto    37951        $ 1,485,600.00*
    ANIBAL                                   Rico                                                              ANIBAL                           Rico
    LUIS A FERNANDEZ                         17 BK 03283-LTS                                                   LUIS A FERNANDEZ                 17 BK 03283-LTS
    DOMENECH                                                                                                   DOMENECH
    PO BOX 1768                                                                                                PO BOX 1768
    CABO ROJO, PR 00623                                                                                        CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
413 PADILLA VELEZ, JESUS          05/25/18   Commonwealth of Puerto         27269               $ 150,000.00* PADILLA VELEZ, JESUS   05/29/18   Commonwealth of Puerto    46398         $ 150,000.00*
    LCDO. LUIS A                             Rico                                                             PO BOX 1768                       Rico
    FERNANDEZ                                17 BK 03283-LTS                                                  CABO ROJO, PR 00623               17 BK 03283-LTS
    DOMENECH
    PO BOX 1768
    CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
414 PADILLA VELEZ, JESUS          05/29/18   Commonwealth of Puerto         32259               $ 150,000.00* PADILLA VELEZ, JESUS   05/29/18   Commonwealth of Puerto    46398         $ 150,000.00*
    LCDO. LUIS A                             Rico                                                             PO BOX 1768                       Rico
    FERNANDEZ                                17 BK 03283-LTS                                                  CABO ROJO, PR 00623               17 BK 03283-LTS
    DOMENECH
    PO BOX 1768
    CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 79 of 95
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                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
415 PAGAN CARABALLO,             06/28/18   Commonwealth of Puerto         57832              Undetermined* PAGAN CARABALLO,      06/29/18   Commonwealth of Puerto    136437       Undetermined*
    BENJAMIN                                Rico                                                            BENJAMIN                         Rico
    URB. TURABO GARDEN                      17 BK 03283-LTS                                                 URB TURABO GARDENS               17 BK 03283-LTS
    CALLE C-R 14-6                                                                                          CALLE C-R14-6
    CAGUAS, PR 00727                                                                                        CAGUAS, PR 00727

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
416 PAGAN CARABALLO,             06/28/18   Commonwealth of Puerto         63186              Undetermined* PAGAN CARABALLO,      06/29/18   Commonwealth of Puerto    138160       Undetermined*
    BENJAMIN                                Rico                                                            BENJAMIN                         Rico
    URB. TURABO GARDEN                      17 BK 03283-LTS                                                 URB. TURABO GARDEN               17 BK 03283-LTS
    CALLE C-R14-6                                                                                           CALLE C-R14-6
    CAGUAS, PR 00727                                                                                        CAGUAS, PR 00727

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
417 PAGAN CARABALLO,             06/28/18   Commonwealth of Puerto         64492              Undetermined* PAGAN CARABALLO,      06/29/18   Commonwealth of Puerto    154048       Undetermined*
    BENJAMIN                                Rico                                                            BENJAMIN                         Rico
    URB EL TURABO                           17 BK 03283-LTS                                                 URB. TURABO GARDEN               17 BK 03283-LTS
    GARDENS                                                                                                 CALLE C-R14-6
    CALLE C-R14-6                                                                                           CAGUAS, PR 00727
    CAGUAS, PR 00727

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
418 PAGAN CARABALLO,             06/28/18   Commonwealth of Puerto         67965              Undetermined* PAGAN CARABALLO,      06/29/18   Commonwealth of Puerto    165115       Undetermined*
    BENJAMIN                                Rico                                                            BENJAMIN                         Rico
    URB.TURABO GARDEN                       17 BK 03283-LTS                                                 URB. TURABO GARDENS              17 BK 03283-LTS
    CALLE C-R14-6                                                                                           CALLE C - R14 - 6
    CAGUAS, PR 00727                                                                                        CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
419 PAGAN CARRABALLO,            06/28/18   Commonwealth of Puerto         67066              Undetermined* PAGAN CARRABALLO,     06/29/18   Commonwealth of Puerto    114274       Undetermined*
    BENJAMIN                                Rico                                                            BENJAMIN                         Rico
    URB. TURABO GARDEN                      17 BK 03283-LTS                                                 URB. TURABO GARDEN               17 BK 03283-LTS
    CALLE C-R14-6                                                                                           CALLE C-R14-6
    CAGUAS, PR 00727                                                                                        CAGUAS, PR 00727

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 80 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
420 PAGAN DOMENECH,               07/06/18   Commonwealth of Puerto         156739             Undetermined* PAGAN DOMENECH,        07/06/18   Commonwealth of Puerto    160393       Undetermined*
    AUREA ENID                               Rico                                                            AUREA ENID                        Rico
    #11 CALLE VIDAL                          17 BK 03283-LTS                                                 #11 CALLE VIDAL                   17 BK 03283-LTS
    COLON                                                                                                    COLON
    SAN SABASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
421 PAGAN DOMENECH,               07/06/18   Commonwealth of Puerto         159525             Undetermined* PAGAN DOMENECH,        07/06/18   Commonwealth of Puerto    160393       Undetermined*
    AUREA ENID                               Rico                                                            AUREA ENID                        Rico
    #11 CALLE VIDAL                          17 BK 03283-LTS                                                 #11 CALLE VIDAL                   17 BK 03283-LTS
    COLOIN                                                                                                   COLON
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
422 PAGAN DOMENECH,               07/06/18   Commonwealth of Puerto         159568             Undetermined* PAGAN DOMENECH,        07/06/18   Commonwealth of Puerto    160393       Undetermined*
    AUREA ENID                               Rico                                                            AUREA ENID                        Rico
    11 CALLE VIDAL COLON                     17 BK 03283-LTS                                                 #11 CALLE VIDAL                   17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                        COLON
    00685                                                                                                    SAN SEBASTIAN, PR
                                                                                                             00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
423 PAGAN GONZALEZ,               06/25/18   Commonwealth of Puerto         88443              Undetermined* PAGAN GONZALEZ,        06/25/18   Commonwealth of Puerto    88875        Undetermined*
    OLGA                                     Rico                                                            OLGA                              Rico
    EL TUQUE CALLE                           17 BK 03283-LTS                                                 EL TUQUE                          17 BK 03283-LTS
    MARIO CANALES                                                                                            2116 CALLE MARIO
    #2116                                                                                                    CANALES
    PONCE, PR 00728-4816                                                                                     PONCE, PR 00728-4816

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
424 PAGAN MELENDEZ,               06/27/18   Commonwealth of Puerto         104758             Undetermined* PAGAN MELENDEZ,        06/27/18   Commonwealth of Puerto    140568       Undetermined*
    PEGGY                                    Rico                                                            PEGGY                             Rico
    URB. VILLA ANA B16                       17 BK 03283-LTS                                                 CALLE ROBERT MOJICA               17 BK 03283-LTS
    CALLE ROBERTO                                                                                            URB. VILLA ANA B 16
    MOJICA                                                                                                   JUNCOS, PR 00777
    JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 81 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
425 PAGAN MONTALVO,               06/29/18   Commonwealth of Puerto         140326             Undetermined* ORENGO CRUZ, DURBIN     06/29/18   Commonwealth of Puerto    142844       Undetermined*
    JAVIER                                   Rico                                                            HC 02 BOX 5667                     Rico
    HC 02 BOX 5667                           17 BK 03283-LTS                                                 PENUELAS, PR 00624                 17 BK 03283-LTS
    PENUELOS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
426 PAGAN PAGAN, JOEL             05/30/18   Commonwealth of Puerto         37514              Undetermined* PAGAN PAGAN, JOEL       05/30/18   Commonwealth of Puerto    38048        Undetermined*
    P O BOX 560 173                          Rico                                                            P O BOX 560 173                    Rico
    GUAYANILLA, PR 00656-                    17 BK 03283-LTS                                                 GUAYANILLA, PR 00656-              17 BK 03283-LTS
    0173                                                                                                     0173

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
427 PAGAN RUIZ, ROBERTO           06/29/18   Commonwealth of Puerto         70410              Undetermined* PAGAN RUIZ, ROBERTO     06/29/18   Commonwealth of Puerto    78103        Undetermined*
    EXT. SANTA TERESITA                      Rico                                                            EXT. SANTA TERESITA                Rico
    4201 CALLE SANTA                         17 BK 03283-LTS                                                 4201 CALLE SANTA                   17 BK 03283-LTS
    MÓNICA                                                                                                   MÓNICA
    PONCE, PR 00730                                                                                          PONCE, PR 00730

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
428 PAGAN SCHELMETTY,             05/26/18   Commonwealth of Puerto         23240                 $ 12,059.00 PAGAN SCHELMETTY,      05/26/18   Commonwealth of Puerto    23346           $ 12,059.00
    DOLORES M                                Rico                                                             DOLORES M                         Rico
    F3 URB JESUS M LAGO                      17 BK 03283-LTS                                                  F3 URB JESUS M LAGO               17 BK 03283-LTS
    UTUADO, PR 00641                                                                                          UTUADO, PR 00641

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
429 PAGAN TANTAO, PEDRO           06/12/18   Commonwealth of Puerto         98789              Undetermined* PAGAN TANTAO, PEDRO     06/12/18   Commonwealth of Puerto    99543           $ 7,200.00*
    V.                                       Rico                                                            V.                                 Rico
    2322 CALLE DANIELLA                      17 BK 03283-LTS                                                 URB SAN ANTONIO                    17 BK 03283-LTS
    PONCE, PR 00728-1706                                                                                     2322 CALLE DANIELA
                                                                                                             PONCE, PR 00728-1706

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
430 PAGAN TEXIDOR, ROSA           05/24/18   Commonwealth of Puerto         25593              Undetermined* PAGAN TEXIDOR, ROSA     05/24/18   Commonwealth of Puerto    29431        Undetermined*
    M                                        Rico                                                            M                                  Rico
    PUERTO REAL                              17 BK 03283-LTS                                                 PUERTO REAL                        17 BK 03283-LTS
    943 CALLE URAYOAN                                                                                        943 CALLE URAYOAN
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 82 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
431 PAGAN TEXIDOR, ROSA           05/24/18   Commonwealth of Puerto         27920              Undetermined* PAGAN TEXIDOR, ROSA    05/24/18   Commonwealth of Puerto    29431        Undetermined*
    M                                        Rico                                                            M                                 Rico
    PUERTO REAL                              17 BK 03283-LTS                                                 PUERTO REAL                       17 BK 03283-LTS
    CALLE URAYOAN CASA                                                                                       943 CALLE URAYOAN
    943 PTO REAL                                                                                             CABO ROJO, PR 00623
    CABO ROJO, PR 00623-
    5000

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
432 PAGAN VELAZQUEZ,              06/28/18   Commonwealth of Puerto         116294             Undetermined* PAGAN VELAZQUEZ,       06/28/18   Commonwealth of Puerto    118499       Undetermined*
    NAYDA                                    Rico                                                            NAYDA                             Rico
    BO OLIMPO 463                            17 BK 03283-LTS                                                 BO OLIMPO PAR                     17 BK 03283-LTS
    CALLE B PARCELAS                                                                                         NUEVAS
    NUEVAS                                                                                                   C/B_#463
    GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
433 PANZARDI OLIVERAS,            03/15/18   Commonwealth of Puerto          3020                   $ 1,794.00 PANZARDI OLIVERAS,   03/26/18   Commonwealth of Puerto    4755             $ 1,794.00
    MICHAEL                                  Rico                                                              MICHAEL                         Rico
    PO BOX 6464                              17 BK 03283-LTS                                                   PO BOX 6464                     17 BK 03283-LTS
    SAN JUAN, PR 00914                                                                                         SAN JUAN, PR 00914

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
434 PASTRANA, MAYRA               05/17/18   Commonwealth of Puerto         13595              Undetermined* PASTRANA, MAYRA        05/17/18   Commonwealth of Puerto    13961        Undetermined*
    PO BOX 1613                              Rico                                                            PO BOX 1613                       Rico
    TRUJILLO ALTO, PR                        17 BK 03283-LTS                                                 TRUJILLO ALTO, PR                 17 BK 03283-LTS
    00977                                                                                                    00977

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
435 PENA ALVARADO,                06/29/18   Commonwealth of Puerto         93517              Undetermined* PENA ALVARADO,         06/29/18   Commonwealth of Puerto    100902       Undetermined*
    NYDIA                                    Rico                                                            NYDIA                             Rico
    PO BOX 298                               17 BK 03283-LTS                                                 P.O. BOX 298                      17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                       OROCOVIS, PR 00720

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
436 PENA SOTO, ELVIN              06/29/18   Commonwealth of Puerto         73645              Undetermined* PENA SOTO, ELVIN       06/29/18   Commonwealth of Puerto    98945        Undetermined*
    PO BOX 1315                              Rico                                                            PO BOX 1315                       Rico
    OROCOVIS, PR 00720                       17 BK 03283-LTS                                                 OROCOVIS, PR 00720                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 83 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                          Desc:
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
437 PENA SOTO, ELVIN              06/29/18   Commonwealth of Puerto         74250              Undetermined* PENA SOTO, ELVIN     06/29/18   Commonwealth of Puerto    98945        Undetermined*
    PO BOX 1315                              Rico                                                            PO BOX 1315                     Rico
    OROCOVIS, PR 00720                       17 BK 03283-LTS                                                 OROCOVIS, PR 00720              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
438 PENA SOTO, ELVIN              06/29/18   Commonwealth of Puerto         74650              Undetermined* PENA SOTO, ELVIN     06/29/18   Commonwealth of Puerto    98945        Undetermined*
    PO BOX 1315                              Rico                                                            PO BOX 1315                     Rico
    OROCOVIS, PR 00720                       17 BK 03283-LTS                                                 OROCOVIS, PR 00720              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
439 PENA SOTO, ELVIN              06/29/18   Commonwealth of Puerto         77833              Undetermined* PENA SOTO, ELVIN     06/29/18   Commonwealth of Puerto    98945        Undetermined*
    PO BOX 1315                              Rico                                                            PO BOX 1315                     Rico
    OROCOVIS, PR 00720                       17 BK 03283-LTS                                                 OROCOVIS, PR 00720              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
440 PENA SOTO, ELVIN              06/29/18   Commonwealth of Puerto         89795              Undetermined* PENA SOTO, ELVIN     06/29/18   Commonwealth of Puerto    98945        Undetermined*
    PO BOX 1315                              Rico                                                            PO BOX 1315                     Rico
    OROCOVIS, PR 00720                       17 BK 03283-LTS                                                 OROCOVIS, PR 00720              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
441 PENA SOTO, ELVIN              06/29/18   Commonwealth of Puerto         97103              Undetermined* PENA SOTO, ELVIN     06/29/18   Commonwealth of Puerto    98945        Undetermined*
    PO BOX 1315                              Rico                                                            PO BOX 1315                     Rico
    OROCOVIS, PR 00720                       17 BK 03283-LTS                                                 OROCOVIS, PR 00720              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
442 PENA TORRES,                  07/06/18   Commonwealth of Puerto         103787             Undetermined* PENA TORRES,         07/06/18   Commonwealth of Puerto    162234       Undetermined*
    MARIELY                                  Rico                                                            MARIELY                         Rico
    PO BOX 5259                              17 BK 03283-LTS                                                 PO BOX 5259                     17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
443 PENA TORRES,                  07/06/18   Commonwealth of Puerto         153281             Undetermined* PENA TORRES,         07/06/18   Commonwealth of Puerto    162234       Undetermined*
    MARIELY                                  Rico                                                            MARIELY                         Rico
    PO BOX 5259                              17 BK 03283-LTS                                                 PO BOX 5259                     17 BK 03283-LTS
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 84 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
444 PERALES PERALES,              04/25/18   Commonwealth of Puerto          8828                $ 214,198.88 PERALES PERALES,        04/25/18   Commonwealth of Puerto    10037          $ 214,198.88
    MARIO E.                                 Rico                                                             MARIO E.                           Rico
    PO BOX 2017 PMB                          17 BK 03283-LTS                                                  PO BOX 2017                        17 BK 03283-LTS
    416                                                                                                       PMB 416
    LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
445 PEREZ AGOSTO, PEDRO           06/29/18   Commonwealth of Puerto         131524             Undetermined* PEREZ AGOSTO, PEDRO      06/29/18   Commonwealth of Puerto    135322       Undetermined*
    PO BOX 325                               Rico                                                            PO BOX 325                          Rico
    AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                    17 BK 03283-LTS
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
446 PEREZ ALBINO,                 06/05/18   Commonwealth of Puerto         60829              Undetermined* PEREZ ALBINO,            06/18/18   Commonwealth of Puerto    50537        Undetermined*
    JAMILETTE                                Rico                                                            JAMILETTE                           Rico
    BO. QUEBRADAS CALLE                      17 BK 03283-LTS                                                 BO QUEBRADOS CALLE                  17 BK 03283-LTS
    DEL RIO                                                                                                  DEL RIO #237
    #237                                                                                                     GUAYANILLA, PR 00656
    GUAYANILLA, PR 00656

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
447 PEREZ ALVARADO,               06/29/18   Commonwealth of Puerto         142351             Undetermined* PEREZ ALVARADO,          06/29/18   Commonwealth of Puerto    146051       Undetermined*
    VIVIAN                                   Rico                                                            VIVIAN                              Rico
    URB SANTIAGO                             17 BK 03283-LTS                                                 URB SANTIAGO                        17 BK 03283-LTS
    APOSTOL                                                                                                  APOSTOL G 20
    G 20 CALLE 4                                                                                             CALLE 4
    SANTA ISABEL, PR 00252                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
448 PEREZ BLANCO,                 06/19/18   Commonwealth of Puerto         73883              Undetermined* PEREZ BLANCO,            06/26/18   Commonwealth of Puerto    97772        Undetermined*
    BETHZAIDA                                Rico                                                            BETHZAIDA                           Rico
    31 CALLE B                               17 BK 03283-LTS                                                 URB BUENOS AIRES                    17 BK 03283-LTS
    SANTA ISABEL, PR 00757                                                                                   31 CALLE B
                                                                                                             SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 85 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
449 PEREZ BONILLA, MARIA          06/29/18   Commonwealth of Puerto         95369              Undetermined* PEREZ BONILLA, MARIA    07/06/18   Commonwealth of Puerto    152629       Undetermined*
    URB VILLAS DE SAN                        Rico                                                            CALLE CAOBA #390                   Rico
    CRISTOBAL II                             17 BK 03283-LTS                                                 VILLAS DE SAN                      17 BK 03283-LTS
    CALLE CAOBA                                                                                              CRISTOBAL II
    #390                                                                                                     LAS PIEDRAS, PR 00771
    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
450 PEREZ CAMACHO,                05/24/18   Commonwealth of Puerto         23629              Undetermined* PEREZ CAMACHO,          05/24/18   Commonwealth of Puerto    27509        Undetermined*
    NEREIDA                                  Rico                                                            NEREIDA                            Rico
    HC 08 BOX 42                             17 BK 03283-LTS                                                 HC 8 BOX 42                        17 BK 03283-LTS
    PONCE, PR 00731-9701                                                                                     PONCE, PR 00731-9701

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
451 PEREZ CAMACHO,                05/24/18   Commonwealth of Puerto         28203              Undetermined* PEREZ CAMACHO,          05/24/18   Commonwealth of Puerto    27509        Undetermined*
    NEREIDA                                  Rico                                                            NEREIDA                            Rico
    H.C-08 BOX 42                            17 BK 03283-LTS                                                 HC 8 BOX 42                        17 BK 03283-LTS
    PONCE, PR 00731                                                                                          PONCE, PR 00731-9701

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
452 PEREZ CARCADOR,               06/28/18   Commonwealth of Puerto         148170                $ 14,400.00 MOLINARY ROJAS,        07/06/18   Commonwealth of Puerto    158031         $ 14,400.00*
    BRENDA E                                 Rico                                                             GLORIA E                          Rico
    CALLE 17-A # 200 APT.                    17 BK 03283-LTS                                                  URB REXVILLE                      17 BK 03283-LTS
    S-238                                                                                                     ZB 5 CALLE 21
    COND. REXVILLE PARK                                                                                       BAYAMON, PR 00957-
    BAYAMON, PR 00957                                                                                         2507

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
453 PEREZ CORTES,                 06/28/18   Commonwealth of Puerto         68061                 $ 10,800.00 PEREZ CORTES,          07/06/18   Commonwealth of Puerto    138709          $ 10,800.00
    MADELINE                                 Rico                                                             MADELINE                          Rico
    HC 4 BOX 13660                           17 BK 03283-LTS                                                  HC 4 BOX 13660                    17 BK 03283-LTS
    MOCA, PR 00676                                                                                            MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 86 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
454 PEREZ DE JESUS,               06/11/18   Commonwealth of Puerto         71510              Undetermined* PEREZ DE JESUS,             06/11/18   Commonwealth of Puerto    82791          $ 20,000.00*
    MARCELINO                                Rico                                                            MARCELINO                              Rico
    HC 02 BOX 13196                          17 BK 03283-LTS                                                 HC 02 BOX 13196                        17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
455 PEREZ DELGADO,                06/29/18   Commonwealth of Puerto         85161                 $ 10,000.00 PEREZ DELGADO,             06/29/18   Commonwealth of Puerto    96842           $ 10,000.00
    CARLA                                    Rico                                                             CARLA                                 Rico
    PO BOX 1253                              17 BK 03283-LTS                                                  PO BOX 1253                           17 BK 03283-LTS
    CIDRA, PR 00739                                                                                           CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
456 PEREZ DELGADO,                06/29/18   Commonwealth of Puerto         93998                 $ 10,000.00 PEREZ DELGADO,             06/29/18   Commonwealth of Puerto    96842           $ 10,000.00
    CARLA                                    Rico                                                             CARLA                                 Rico
    PO BOX 1253                              17 BK 03283-LTS                                                  PO BOX 1253                           17 BK 03283-LTS
    CIDRA, PR 00739                                                                                           CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
457 PEREZ DIAZ, JOSE E            05/25/18   Commonwealth of Puerto         22128              Undetermined* PEREZ DIAZ, JOSE E          05/25/18   Commonwealth of Puerto    22366        Undetermined*
    COND. PONTEZUELA                         Rico                                                            COND. PONTEZUELA                       Rico
    EDIF. B-6 APTO 3-A                       17 BK 03283-LTS                                                 EDIF. B6 APTO 3-A                      17 BK 03283-LTS
    CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
458 PEREZ GARCIA,                 05/24/18   Commonwealth of Puerto         17732                       $ 663.22 PEREZ GARCIA,           05/24/18   Commonwealth of Puerto    21706             $ 663.22
    LOURDES                                  Rico                                                                LOURDES                            Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                     MILAGROS ACEVEDO                   17 BK 03283-LTS
    COLON                                                                                                        COLON
    COND COLINA REAL                                                                                             COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                        2000 AVE F RINCON BOX
    1405                                                                                                         1405
    SAN JUAN, PR 00926                                                                                           SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 87 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
459 PEREZ GIRAU, NAOMI            06/27/18   Commonwealth of Puerto         103747             Undetermined* PEREZ GIRAU, NAOMI     06/27/18   Commonwealth of Puerto    108072       Undetermined*
    UTUADO ST. 0161                          Rico                                                            UTUADO ST. 0161                   Rico
    FOREST VIEW                              17 BK 03283-LTS                                                 FOREST VIEW                       17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
460 PEREZ GONZALEZ,               05/02/18   Commonwealth of Puerto          8322              Undetermined* PEREZ GONZALEZ,        05/02/18   Commonwealth of Puerto    8744         Undetermined*
    ANGEL D                                  Rico                                                            ANGEL D                           Rico
    VILLA DE CASTRO                          17 BK 03283-LTS                                                 VILLAS DE CASTRO                  17 BK 03283-LTS
    K 9 CALLE 6                                                                                              CALLE 6 K-9
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
461 PEREZ GONZALEZ,               06/27/18   Commonwealth of Puerto         38292                 $ 75,000.00 PEREZ GONZALEZ,       07/03/18   Commonwealth of Puerto    89559          $ 75,000.00*
    VERONICA                                 Rico                                                             VERONICA                         Rico
    HC05 BOX 11213                           17 BK 03283-LTS                                                  HC05 BOX 11213                   17 BK 03283-LTS
    MOCA, PR 00676                                                                                            MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
462 PEREZ GONZALEZ,               06/27/18   Commonwealth of Puerto         54254                 $ 75,000.00 PEREZ GONZALEZ,       07/03/18   Commonwealth of Puerto    144521         $ 75,000.00*
    VERONICA                                 Rico                                                             VERONICA                         Rico
    HC 05 BOX 11213                          17 BK 03283-LTS                                                  HC 05 BOX 11213                  17 BK 03283-LTS
    MOCA, PR 00676                                                                                            MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
463 PEREZ GONZALEZ,               06/27/18   Commonwealth of Puerto         54366                 $ 75,000.00 PEREZ GONZALEZ,       07/02/18   Commonwealth of Puerto    105806         $ 75,000.00*
    VERONICA                                 Rico                                                             VERONICA                         Rico
    HC05 BOX 11213                           17 BK 03283-LTS                                                  HC 05 BOX 11213                  17 BK 03283-LTS
    MOCA, PR 00676                                                                                            MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
464 PEREZ JIMENEZ,                06/28/18   Commonwealth of Puerto         50062                 $ 20,000.00 PEREZ JIMENEZ,        07/03/18   Commonwealth of Puerto    144618          $ 20,000.00
    MELISSA                                  Rico                                                             MELISSA                          Rico
    URB. JARDINES DE LA                      17 BK 03283-LTS                                                  URB. JARDINES DE LA              17 BK 03283-LTS
    VIA CALLE PARAISO                                                                                         VIA CALLE PARAISO
    #103                                                                                                      #103
    NAGUABO, PR 00718                                                                                         NAGUABO, PR 00718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 88 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
465 PEREZ MARTINEZ,               07/20/18   Commonwealth of Puerto         129122             Undetermined* PEREZ MARTINEZ,           07/20/18   Commonwealth of Puerto    131304       Undetermined*
    MARIA I                                  Rico                                                            MARIA I                              Rico
    LAS BRISAS                               17 BK 03283-LTS                                                 LAS BRISAS                           17 BK 03283-LTS
    131 CALLE 3                                                                                              131 CALLE 3
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
466 PEREZ MARTINEZ,               07/09/18   Commonwealth of Puerto         153817             Undetermined* PEREZ MARTINEZ,           07/20/18   Commonwealth of Puerto    131304       Undetermined*
    MARIA I                                  Rico                                                            MARIA I                              Rico
    URB. LAS BRISAS                          17 BK 03283-LTS                                                 LAS BRISAS                           17 BK 03283-LTS
    131 CALLE 3                                                                                              131 CALLE 3
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
467 PEREZ MAYSONET,               06/05/18   Commonwealth of Puerto         33070                 $ 5,028.00* PEREZ MAYSONET,          06/05/18   Commonwealth of Puerto    28278           $ 5,028.00*
    MARIA                                    Rico                                                             MARIA                               Rico
    URB. VILLA FONTANA                       17 BK 03283-LTS                                                  URB. VILLA FONTANA                  17 BK 03283-LTS
    BR5 VIA 16                                                                                                BR5 VIA 16
    CAROLINA, PR 00983                                                                                        CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
468 PEREZ MUNOZ,                  07/09/18   Commonwealth of Puerto         135755             Undetermined* PEREZ MUNOZ,              07/09/18   Commonwealth of Puerto    143637       Undetermined*
    TATIANA M.                               Rico                                                            TATIANA M.                           Rico
    PO BOX 1486 RINCON                       17 BK 03283-LTS                                                 PO BOX 1486 RINCON                   17 BK 03283-LTS
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
469 PEREZ NIEVES, CARMEN          05/24/18   Commonwealth of Puerto         24975              Undetermined* PEREZ NIEVES, CARMEN      05/24/18   Commonwealth of Puerto    29401        Undetermined*
    LUZ                                      Rico                                                            LUZ                                  Rico
    PO BOX 9022516                           17 BK 03283-LTS                                                 PO BOX 9022516                       17 BK 03283-LTS
    SAN JUAN, PR 00902-2516                                                                                  SAN JUAN, PR 00902-2516

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
470 PEREZ PIZARRO, ELDA           06/29/18   Commonwealth of Puerto         132297             Undetermined* PEREZ PIZARRO, ELDA       06/29/18   Commonwealth of Puerto    152357       Undetermined*
    R.                                       Rico                                                            R.                                   Rico
    PO BOX 141                               17 BK 03283-LTS                                                 PO BOX 141                           17 BK 03283-LTS
    LOIZA, PR 00772                                                                                          LOIZA, PR 00772

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 89 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
471 PEREZ RAMIREZ, JOSE A         05/18/18   Commonwealth of Puerto         50804              Undetermined* PEREZ RAMIREZ, JOSE A   05/18/18   Commonwealth of Puerto    51630        Undetermined*
    URB VALLE VERDE                          Rico                                                            URB VALLE VERDE                    Rico
    C 9 CALLE 2                              17 BK 03283-LTS                                                 C 9 CALLE 2                        17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
472 PEREZ RAMIREZ, JOSE E         05/18/18   Commonwealth of Puerto         48258              Undetermined* PEREZ RAMIREZ, JOSE E   06/18/18   Commonwealth of Puerto    35482        Undetermined*
    URB VALLE VERDE                          Rico                                                            VALLE VERDE                        Rico
    C 9 CALLE 2                              17 BK 03283-LTS                                                 C9 CALLE 2                         17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                     SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
473 PEREZ RIVERA,                 05/28/18   Commonwealth of Puerto         24421                   $ 6,330.00 PEREZ RIVERA,         05/28/18   Commonwealth of Puerto    24245            $ 6,330.00
    GABRIEL                                  Rico                                                              GABRIEL                          Rico
    CMR 490 BOX 2416                         17 BK 03283-LTS                                                   CMR 490 BOX 2416                 17 BK 03283-LTS
    APO, AE 09708                                                                                              APO, AE 09708

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
474 PEREZ RIVERA, MERARI          07/02/18   Commonwealth of Puerto         101380             Undetermined* PEREZ RIVERA, MERARI    07/02/18   Commonwealth of Puerto    103645       Undetermined*
    URB RIO GRANDE                           Rico                                                            URB RIO GRANDE                     Rico
    ESTATES                                  17 BK 03283-LTS                                                 ESTATES                            17 BK 03283-LTS
    11523 CALLE PRINCESA                                                                                     11523 CALLE PRINCESA
    CAROLINA                                                                                                 CAROLINA
    RIO GRANDE, PR 00745                                                                                     RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
475 PEREZ RODRIGUEZ,              06/07/18   Commonwealth of Puerto         49350              Undetermined* PEREZ RODRIGUEZ,        06/07/18   Commonwealth of Puerto    65447        Undetermined*
    LOURDES J                                Rico                                                            LOURDES J                          Rico
    PO BOX 267                               17 BK 03283-LTS                                                 PO BOX 267                         17 BK 03283-LTS
    LAS MARIAS, PR 00670                                                                                     LAS MARIAS, PR 00670

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
476 PEREZ RODRIGUEZ,              06/28/18   Commonwealth of Puerto         123941             Undetermined* PEREZ RODRIGUEZ,        06/28/18   Commonwealth of Puerto    143143       Undetermined*
    MARIA ANTONIA                            Rico                                                            MARIA ANTONIA                      Rico
    3165 CALLE COFRESI                       17 BK 03283-LTS                                                 3165 CALLE COFRESI                 17 BK 03283-LTS
    URB. PUNTO ORO                                                                                           URB. PUNTO ORO
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 90 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
477 PEREZ TORRES, FELIX           06/26/18   Commonwealth of Puerto         96820              Undetermined* PEREZ TORRES, FELIX        06/26/18   Commonwealth of Puerto    122235       Undetermined*
    BO. QUEBRADA CEIBA                       Rico                                                            PO BOX 1162                           Rico
    PO BOX 1162                              17 BK 03283-LTS                                                 PE¥UELAS, PR 00624                    17 BK 03283-LTS
    PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
478 PEREZ URBINA, MELVIN          07/05/18   Commonwealth of Puerto         155125                $ 20,000.00 PEREZ URBINA, MELVIN      07/05/18   Commonwealth of Puerto    156116          $ 20,000.00
    G                                        Rico                                                             G                                    Rico
    PMB 1734                                 17 BK 03283-LTS                                                  PMB 1734                             17 BK 03283-LTS
    243 CALLE PARIS                                                                                           243 CALLE PARIS
    SAN JUAN, PR 00917-3632                                                                                   SAN JUAN, PR 00917-3632

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
479 PEREZ VALENTIN, LUZ           04/09/18   Commonwealth of Puerto          6816              Undetermined* PEREZ VALENTIN, LUZ        04/09/18   Commonwealth of Puerto    6841         Undetermined*
    C                                        Rico                                                            C                                     Rico
    REPTO                                    17 BK 03283-LTS                                                 URB REPTO                             17 BK 03283-LTS
    CONTEMPORANEO                                                                                            CONTEMPORANEO
    D15 CALLE E                                                                                              BLQ D15 CALLE E
    SAN JUAN, PR 00926                                                                                       SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
480 PEREZ VAZQUEZ, ANNA           07/12/18   Commonwealth of Puerto         160664              $ 351,360.00* PEREZ VAZQUEZ, ANNA       07/12/18   Commonwealth of Puerto    161218         $ 351,360.00
    8667 CALLE JON LOS                       Rico                                                             8667 CALLEJON LOS                    Rico
    GONZALES                                 17 BK 03283-LTS                                                  GONZALEZ                             17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
481 PEREZ VELEZ, SONIA M.         06/29/18   Commonwealth of Puerto         137405             Undetermined* PEREZ VELEZ, SONIA M.      06/29/18   Commonwealth of Puerto    145770       Undetermined*
    154 CALLE 6 URB SAN                      Rico                                                            154 CALLE 6                           Rico
    ANTONIO                                  17 BK 03283-LTS                                                 URB. SAN ANTONIO                      17 BK 03283-LTS
    SAN ANTONIO, PR 00690-                                                                                   SAN ANTONIO, PR 00690-
    1344                                                                                                     1344

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
482 PICO VIDAL, ARTURO            05/16/18   Commonwealth of Puerto         13059                $ 325,000.00 PICO VIDAL, ARTURO        05/17/18   Commonwealth of Puerto    12713          $ 325,000.00
    PO BOX 7545                              Rico                                                             P.O. BOX 7545                        Rico
    PONCE, PR 00732-7545                     17 BK 03283-LTS                                                  PONCE, PR 00732-7545                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 91 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
483 PINERO ROSARIO,               06/28/18   Commonwealth of Puerto         67941              Undetermined* PINERO ROSARIO,        07/05/18   Commonwealth of Puerto    52650        Undetermined*
    YOLANDA                                  Rico                                                            YOLANDA                           Rico
    URB VERDE MAR                            17 BK 03283-LTS                                                 URB VERDE MAR                     17 BK 03283-LTS
    595 CALLE 20                                                                                             595 CALLE 20
    HUMACAO, PR 00741                                                                                        HUMACAO, PR 00741

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
484 PINTO GONZALEZ,               06/28/18   Commonwealth of Puerto         132386             Undetermined* PINTO GONZALEZ,        06/28/18   Commonwealth of Puerto    140364       Undetermined*
    ALFREDO                                  Rico                                                            ALFREDO                           Rico
    303 CALLE VEREDA DEL                     17 BK 03283-LTS                                                 303 CALLE VEREDA DEL              17 BK 03283-LTS
    PRADO                                                                                                    PRADO
    URB. LOS ARBOLES                                                                                         URB. LOS ARBOLES
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
485 PIZARRO BARRETO,              06/19/18   Commonwealth of Puerto         62815              Undetermined* PIZARRO BARRETO,       06/19/18   Commonwealth of Puerto    68408        Undetermined*
    YOLANDA                                  Rico                                                            YOLANDA                           Rico
    PO BOX 1002                              17 BK 03283-LTS                                                 PO BOX 1002                       17 BK 03283-LTS
    PUEBLO STATION                                                                                           CAROLINA, PR 00986-
    CAROLINA, PR 00986                                                                                       0000

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
486 PIZARRO BARRETO,              06/19/18   Commonwealth of Puerto         65018              Undetermined* PIZARRO BARRETO,       06/19/18   Commonwealth of Puerto    68408        Undetermined*
    YOLANDA                                  Rico                                                            YOLANDA                           Rico
    P O BOX 1002                             17 BK 03283-LTS                                                 PO BOX 1002                       17 BK 03283-LTS
    PUEBLO STATION                                                                                           CAROLINA, PR 00986-
    CARR 851 KM 30CALLE                                                                                      0000
    BARRIDO
    CAROLINA, PR 00986

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
487 PIZARRO BARRETO,              06/05/18   Commonwealth of Puerto         34948              Undetermined* PIZARRO BARRETO,       06/05/18   Commonwealth of Puerto    46590        Undetermined*
    ZELIDETH                                 Rico                                                            ZELIDETH                          Rico
    PO BOX 715                               17 BK 03283-LTS                                                 PO BOX 715                        17 BK 03283-LTS
    CAROLINA, PR 00986                                                                                       CAROLINA, PR 00986-
                                                                                                             0715

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 92 of 95
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                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
488 PIZARRO BARRETO,              06/05/18   Commonwealth of Puerto         46351              Undetermined* PIZARRO BARRETO,       06/05/18   Commonwealth of Puerto    46590        Undetermined*
    ZELIDETH                                 Rico                                                            ZELIDETH                          Rico
    PO BOX 715                               17 BK 03283-LTS                                                 PO BOX 715                        17 BK 03283-LTS
    CAROLINA, PR 00986                                                                                       CAROLINA, PR 00986-
                                                                                                             0715

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
489 PLANADEBALL COLON,            05/02/18   Commonwealth of Puerto         10112              Undetermined* PLANADEBALL COLON,     05/02/18   Commonwealth of Puerto    10140        Undetermined*
    RICARDO                                  Rico                                                            RICARDO                           Rico
    BARRIADA NICOLIN                         17 BK 03283-LTS                                                 CALLE B # 5                       17 BK 03283-LTS
    PEREZ                                                                                                    BARRIADA NICOLIN
    CALLE B # 5                                                                                              PEREZ
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
490 PLANADEBALL COLON,            05/02/18   Commonwealth of Puerto         10138              Undetermined* PLANADEBALL COLON,     05/02/18   Commonwealth of Puerto    10140        Undetermined*
    RICARDO                                  Rico                                                            RICARDO                           Rico
    VILLA CANAAN                             17 BK 03283-LTS                                                 CALLE B # 5                       17 BK 03283-LTS
    B5                                                                                                       BARRIADA NICOLIN
    LAJAS, PR 00667                                                                                          PEREZ
                                                                                                             LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
491 PLANAS PENA, LYDIA            05/29/18   Commonwealth of Puerto         36859              Undetermined* PLANAS PENA, LYDIA     05/29/18   Commonwealth of Puerto    40716        Undetermined*
    B 2 L LOS CANTIZALES                     Rico                                                            B 2 L LOS CANTIZALES              Rico
    SAN JUAN, PR 00926                       17 BK 03283-LTS                                                 SAN JUAN, PR 00926                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
492 PLANAS PENA, LYDIA            05/29/18   Commonwealth of Puerto         38073              Undetermined* PLANAS PENA, LYDIA     05/29/18   Commonwealth of Puerto    40716        Undetermined*
    2 LOS CANTIZALES                         Rico                                                            B 2 L LOS CANTIZALES              Rico
    APT 2L                                   17 BK 03283-LTS                                                 SAN JUAN, PR 00926                17 BK 03283-LTS
    SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
493 PLANAS PENA, LYDIA            05/29/18   Commonwealth of Puerto         38522              Undetermined* PLANAS PENA, LYDIA     05/29/18   Commonwealth of Puerto    40716        Undetermined*
    2 LOS CANTIZALES                         Rico                                                            B 2 L LOS CANTIZALES              Rico
    APTO2L                                   17 BK 03283-LTS                                                 SAN JUAN, PR 00926                17 BK 03283-LTS
    SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 93 of 95
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                                                             Exhibit Exhibit A Page 95 of 96

                                                                             Twenty-Fifth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
494 PLAZA HERNANDEZ,             06/22/18   Commonwealth of Puerto         43723              Undetermined* PLAZA HERNANDEZ,        06/25/18   Commonwealth of Puerto    86503        Undetermined*
    MARGARITA                               Rico                                                            MARGARITA                          Rico
    HC 2 BOX 10500                          17 BK 03283-LTS                                                 HC 2 BOX 10500                     17 BK 03283-LTS
    YAUCO, PR 00698                                                                                         YAUCO, PR 00698

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
495 POLACO QUINONES,             06/28/18   Commonwealth of Puerto         107467               $ 30,000.00* POLACO QUINONES,       06/29/18   Commonwealth of Puerto    131664         $ 30,000.00*
    ANELLYS                                 Rico                                                             ANELLYS                           Rico
    CALLE SAN ANDRES #19                    17 BK 03283-LTS                                                  CALLE SAN ANDRES #19              17 BK 03283-LTS
    LOIZA, PR 00772                                                                                          LOIZA, PR 00772

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
496 POLANCO AGOSTINI,            05/24/18   Commonwealth of Puerto         30890              Undetermined* POLANCO AGOSTINI,       05/24/18   Commonwealth of Puerto    44549        Undetermined*
    SONIA                                   Rico                                                            SONIA                              Rico
    URB. DOS PINOS TOWN                     17 BK 03283-LTS                                                 DOS PINOS TOWN                     17 BK 03283-LTS
    HOUSES                                                                                                  HOUSES
    B12 CALLE 2                                                                                             B12 CALLE 2
    SAN JUAN, PR 00923                                                                                      SAN JUAN, PR 00923

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
497 PONCE HERNANDEZ,             06/28/18   Commonwealth of Puerto         120601             Undetermined* PONCE HERNANDEZ,        06/28/18   Commonwealth of Puerto    155596       Undetermined*
    MARIA DEL C.                            Rico                                                            MARIA DEL C.                       Rico
    PO BOX 392                              17 BK 03283-LTS                                                 PO BOX 392                         17 BK 03283-LTS
    MOCA, PR 00676                                                                                          MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
498 PORTALATIN AROCHO,           06/28/18   Commonwealth of Puerto         53186                $ 110,827.38 PORTALATIN AROCHO,     07/05/18   Commonwealth of Puerto    146457         $ 110,827.38
    GLORIA                                  Rico                                                             GLORIA                            Rico
    PO BOX 456                              17 BK 03283-LTS                                                  PO BOX 456                        17 BK 03283-LTS
    FLORIDA, PR 00650                                                                                        FLORIDA, PR 00650

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
499 POZO POZO, CARLOS A          04/13/18   Commonwealth of Puerto          4935              Undetermined* POZO POZO, CARLOS A     04/13/18   Commonwealth of Puerto    7175         Undetermined*
    LOMAS VERDES                            Rico                                                            LOMAS VERDE                        Rico
    CALLE DURAZNO 35 2 A                    17 BK 03283-LTS                                                 2A35 CALLE DURAZO                  17 BK 03283-LTS
    BAYAMON, PR 00956                                                                                       BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 94 of 95
                                       Case:17-03283-LTS Doc#:6274-1 Filed:04/15/19 Entered:04/15/19 20:41:15                                                Desc:
                                                              Exhibit Exhibit A Page 96 of 96

                                                                              Twenty-Fifth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
500 PR RETAIL STORES, INC.        05/27/18   Commonwealth of Puerto         26413                 $ 19,710.00 PR RETAIL STORES, INC.    05/27/18   Commonwealth of Puerto    27771          $ 19,710.00
    PO BOX 190858                            Rico                                                             PO BOX 190858                        Rico
    SAN JUAN, PR 00919-0858                  17 BK 03283-LTS                                                  SAN JUAN, PR 00919-0858              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 95 of 95
